3/25/2021                                                                    CM/ECF - NCED

                                                                                        2255,APPEAL,CLOSED,Exhibits,USMJ Gates

                                        U.S. District Court
                      EASTERN DISTRICT OF NORTH CAROLINA (Western Division)
                         CRIMINAL DOCKET FOR CASE #: 5:09-cr-00216-FL-8


 Case title: USA v. Boyd et al                                                           Date Filed: 07/22/2009
 Related Case: 5:15-cv-00523-FL                                                          Date Terminated: 01/13/2012


 Assigned to: District Judge Louise Wood
 Flanagan
 Appeals court case numbers: 12-4063 4th
 Circuit Court of Appeals, 19-6500 4CCA,
 20-7880 4CCA

 Defendant (8)
 Ziyad Yaghi                                                              represented by Charles Davidson Swift
 51771-056                                                                               Constitutional Law Center for Muslims in
 Ray Brook - F.C.I.                                                                      America (CLCMA)
 P.O. Box 300                                                                            833 E. Arapaho Road, Suite 102
 Ray Brook, NY 12977                                                                     Richardson, TX 75081
 TERMINATED: 01/13/2012                                                                  (972) 914-2507
                                                                                         Fax: (972) 692-7454
                                                                                         Email: cswift@clcma.org
                                                                                         TERMINATED: 02/08/2018
                                                                                         LEAD ATTORNEY
                                                                                         ATTORNEY TO BE NOTICED

                                                                                         James M. Ayers , II
                                                                                         Ayers & Haidt, P.A.
                                                                                         P. O. Box 1544
                                                                                         New Bern, NC 28563-1544
                                                                                         252-638-2955
                                                                                         Fax: 252-638-3293
                                                                                         Email: jimayers2@embarqmail.com
                                                                                         LEAD ATTORNEY
                                                                                         ATTORNEY TO BE NOTICED
                                                                                         Designation: CJA Appointment

                                                                                         Robert J. Boyle
                                                                                         Robert J. Boyle, Attorney At Law
                                                                                         277 Broadway
                                                                                         Suite 1501
                                                                                         New York, NY 10007
                                                                                         212-431-0229
                                                                                         Fax: 212-901-0949
                                                                                         Email: rjboyle55@gmail.com
                                                                                         LEAD ATTORNEY
                                                                                         ATTORNEY TO BE NOTICED
                                                                                         Designation: Retained

                         Case 5:09-cr-00216-FL Document 2364 Filed 03/25/21 Page 1 of 74
https://ecf.nced.uscourts.gov/cgi-bin/DktRpt.pl?138298681748329-L_1_0-1                                                             1/74
3/25/2021                                                                 CM/ECF - NCED

                                                                                      J. Douglas McCullough
                                                                                      Stubbs & Perdue, PA
                                                                                      310 Craven Street
                                                                                      New Bern, NC 28560
                                                                                      252-633-2700
                                                                                      Fax: 252-633-9600
                                                                                      Email: jmccullough@stubbsperdue.com
                                                                                      TERMINATED: 01/14/2011
                                                                                      Designation: CJA Appointment

                                                                                      R. Daniel Boyce
                                                                                      Nexsen Pruet, PLLC
                                                                                      4141 Parklake Ave., Suite 200
                                                                                      P. O. Box 30188
                                                                                      Raleigh, NC 27612
                                                                                      919-653-7825
                                                                                      Fax: 919-833-7536
                                                                                      Email: dboyce@nexsenpruet.com

                                                                                      Raymond C. Tarlton
                                                                                      Tarlton Polk, PLLC
                                                                                      209 Fayetteville St., Suite 105
                                                                                      Raleigh, NC 27601
                                                                                      919-948-6464
                                                                                      Fax: 919-400-4200
                                                                                      Email: rtarlton@tarltonpolk.com
                                                                                      ATTORNEY TO BE NOTICED
                                                                                      Designation: Retained

 Pending Counts                                                                       Disposition
                                                                                      Bureau of Prisons - 180 Months - Supervised
                                                                                      Release - 3 Years - Special Conditions on
                                                                                      supervised release imposed - Pay $200.00
 Conspiracy to provide material support to                                            special assessment - Pay $8000.00 ﬁne - No
 terrorists                                                                           interest - Recommendations include
 (1ss)                                                                                placement at the Federal Correctional
                                                                                      Institution at Butner, North Carolina -
                                                                                      Advised of appeal rights - Defendant
                                                                                      remanded to custody
 Conspiracy to murder, kidnap, maim, and
                                                                                      Dismissed by the courtDismissed by the
 injure persons in a foreign country
                                                                                      court
 (2)
                                                                                      Bureau of Prisons - 380 Months - to run
 Conspiracy to murder, kidnap, maim and
                                                                                      concurrently - Supervised Release - 5 years -
 injure persons in a foreign country
                                                                                      all such terms of supervised are to run
 (2ss)
                                                                                      concurrently

 Highest Offense Level (Opening)
 Felony

 Terminated Counts                                                                    Disposition
 Conspiracy to provide material support to                Dismissed by the courtDismissed by the
                  Case 5:09-cr-00216-FL Document 2364 Filed 03/25/21 Page 2 of 74
https://ecf.nced.uscourts.gov/cgi-bin/DktRpt.pl?138298681748329-L_1_0-1                                                          2/74
3/25/2021                                                                    CM/ECF - NCED

 terrorists                                                                              court
 (1)
 Conspiracy to provide material support to
 terrorists                                                                              Dismissed by the court
 (1s)
 Conspiracy to murder, kidnap, maim and
 injure persons                                                                          Dismissed by the court
 (2s)

 Highest Offense Level (Terminated)
 Felony

 Complaints                                                                              Disposition
 None



 Plaintiff
 USA                                                                      represented by Amy N. Okereke
                                                                                         United States Attorney's Ofﬁce - EDNC
                                                                                         150 Fayetteville Street, Suite 2100
                                                                                         Raleigh, NC 27601
                                                                                         919-856-4530
                                                                                         Fax: 919-856-4114
                                                                                         Email: amy.okereke@usdoj.gov
                                                                                         TERMINATED: 09/19/2019
                                                                                         LEAD ATTORNEY
                                                                                         Designation: Assistant US Attorney

                                                                                         Barbara D. Kocher
                                                                                         United States Attorney's Ofﬁce - EDNC
                                                                                         150 Fayetteville Street, Suite 2100
                                                                                         Raleigh, NC 27601
                                                                                         919-856-4530
                                                                                         Fax: 856-4487
                                                                                         Email: barb.kocher@usdoj.gov
                                                                                         LEAD ATTORNEY
                                                                                         ATTORNEY TO BE NOTICED
                                                                                         Designation: Assistant US Attorney

                                                                                         Dennis M. Duffy
                                                                                         United States Attorney's Ofﬁce - EDNC
                                                                                         150 Fayetteville Street, Suite 2100
                                                                                         Raleigh, NC 27601
                                                                                         919-856-4530
                                                                                         Fax: 856-4487
                                                                                         Email: dennis.duffy@usdoj.gov
                                                                                         LEAD ATTORNEY
                                                                                         ATTORNEY TO BE NOTICED
                                                                                         Designation: Assistant US Attorney

                                                                 Jason M. Kellhofer
                                                                 United States Attorney's Ofﬁce - EDNC
                         Case 5:09-cr-00216-FL Document 2364 Filed 03/25/21 Page 3 of 74
https://ecf.nced.uscourts.gov/cgi-bin/DktRpt.pl?138298681748329-L_1_0-1                                                          3/74
3/25/2021                                                                 CM/ECF - NCED

                                                                                      150 Fayetteville Street, Suite 2100
                                                                                      Raleigh, NC 27601
                                                                                      919-856-4874
                                                                                      Email: jason.kellhofer@usdoj.gov
                                                                                      LEAD ATTORNEY
                                                                                      ATTORNEY TO BE NOTICED
                                                                                      Designation: Assistant US Attorney

                                                                                      John Bowler
                                                                                      Dysart Willis
                                                                                      507 N. Blount Street
                                                                                      Raleigh, NC 27604
                                                                                      919-856-4530
                                                                                      Fax: 856-4487
                                                                                      Email: john.s.bowler@usdoj.gov
                                                                                      TERMINATED: 11/27/2018
                                                                                      LEAD ATTORNEY
                                                                                      Designation: Assistant US Attorney

                                                                                      Joshua B. Royster
                                                                                      United States Attorney's Ofﬁce - EDNC
                                                                                      150 Fayetteville Street, Suite 2100
                                                                                      Raleigh, NC 27601
                                                                                      919-856-4530
                                                                                      Fax: 919-645-5368
                                                                                      Email: joshua.royster@usdoj.gov
                                                                                      LEAD ATTORNEY
                                                                                      ATTORNEY TO BE NOTICED
                                                                                      Designation: Assistant US Attorney

                                                                                      Seth Morgan Wood
                                                                                      United States Attorney's Ofﬁce - EDNC
                                                                                      150 Fayetteville Street, Suite 2100
                                                                                      Raleigh, NC 27601
                                                                                      919-856-4530
                                                                                      Fax: 919 856-4821
                                                                                      Email: seth.wood@usdoj.gov
                                                                                      TERMINATED: 11/27/2018
                                                                                      LEAD ATTORNEY
                                                                                      Designation: Assistant US Attorney

                                                                                      Stephen A. West
                                                                                      United States Attorney's Ofﬁce
                                                                                      150 Fayetteville St, Suite 2100
                                                                                      Raleigh, NC 27601
                                                                                      919-856-4530
                                                                                      Fax: 919-856-4821
                                                                                      Email: steve.west@usdoj.gov
                                                                                      TERMINATED: 01/24/2018
                                                                                      LEAD ATTORNEY
                                                                                      Designation: Assistant US Attorney

                                                                 Eric D. Goulian
                                                                 United States Attorney's Ofﬁce - EDNC
                                                                 150 Fayetteville Street, Suite 2100
                         Case 5:09-cr-00216-FL Document 2364 Filed 03/25/21 Page 4 of 74
https://ecf.nced.uscourts.gov/cgi-bin/DktRpt.pl?138298681748329-L_1_0-1                                                       4/74
3/25/2021                                                                 CM/ECF - NCED

                                                                                      Raleigh, NC 27601
                                                                                      919-856-4356
                                                                                      Fax: 856-4006
                                                                                      Email: eric.goulian@usdoj.gov
                                                                                      ATTORNEY TO BE NOTICED
                                                                                      Designation: Assistant US Attorney

                                                                                      Jason Harris Cowley, AUSA
                                                                                      U.S. Attorney's Ofﬁce
                                                                                      310 New Bern Ave.
                                                                                      Suite 800
                                                                                      Raleigh, NC 27601
                                                                                      919-856-4008
                                                                                      Fax: 919-856-4487
                                                                                      Email: Jason.Cowley@usdoj.gov
                                                                                      TERMINATED: 11/27/2018
                                                                                      Designation: Assistant US Attorney

 Date Filed             #      Docket Text
 07/22/2009                 1 MOTION to Seal Indictment by USA as to Daniel Patrick Boyd, Hysen Sheriﬁ, Anes Subasic,
                              Zakariya Boyd, Dylan Boyd, Jude Kenan Mohammad, Mohammad Omar Aly Hassan, Ziyad
                              Yaghi. (Cress, L.) (Entered: 07/23/2009)
 07/22/2009                 2 ORDER granting 1 Motion to Seal Indictment as to Daniel Patrick Boyd (1), Hysen Sheriﬁ
                              (2), Anes Subasic (3), Zakariya Boyd (4), Dylan Boyd (5), Jude Kenan Mohammad (6),
                              Mohammad Omar Aly Hassan (7), Ziyad Yaghi (8). Signed by USMJ Robert Jones on
                              7/22/09. (Cress, L.) (Entered: 07/23/2009)
 07/22/2009                 3 INDICTMENT as to Daniel Patrick Boyd (1) counts 1, 2, 3, 4, 5, 6-7, Hysen Sheriﬁ (2)
                              counts 1, 2, 4, Anes Subasic (3) counts 1, 2, Zakariya Boyd (4) counts 1, 2, 4, Dylan Boyd (5)
                              counts 1, 2, 5, Jude Kenan Mohammad (6) counts 1, 2, Mohammad Omar Aly Hassan (7)
                              counts 1, 2, Ziyad Yaghi (8) counts 1, 2. (Cress, L.) (Entered: 07/23/2009)
 07/22/2009                 4 Warrant Requested by USA as to Daniel Patrick Boyd, Hysen Sheriﬁ, Anes Subasic, Zakariya
                              Boyd, Dylan Boyd, Jude Kenan Mohammad, Mohammad Omar Aly Hassan, Ziyad Yaghi
                              (Cress, L.) (Entered: 07/23/2009)
 07/23/2009              20 Arrest Warrant Issued by Clerk of Court in case as to Ziyad Yaghi. (Cress, L.) (Entered:
                            07/24/2009)
 07/27/2009                    Set Hearings as to Daniel Patrick Boyd, Hysen Sheriﬁ, Anes Subasic, Zakariya Boyd, Dylan
                               Boyd, Jude Kenan Mohammad, Mohammad Omar Aly Hassan, Ziyad Yaghi: Initial
                               Appearance set for 7/27/2009 02:30 PM in Raleigh - 6th Floor Courtroom before USMJ
                               William A. Webb. (Bunn, A.) (Entered: 07/27/2009)
 07/27/2009              29 Minute Entry for proceedings held before USMJ William A. Webb: Initial Appearance as to
                            Dylan Boyd, Mohammad Omar Aly Hassan, Ziyad Yaghi held on 7/27/2009 in Raleigh. Barb
                            Kocher for government. Diana Periera for Federal Public Defender. Defendants Dylan Boyd,
                            Hassan and Yaghi do not request court appointed counsel. Government moves to unseal the
                            indictment. Government provides court with a redacted copy. Defendant advised of charges,
                            rights and maximum penalties. Government moves for detention. Detention hearing set for
                            Thursday, July 30th at 10 a.m. Defendant remanded to custody of the U.S. Marshal. (Court
                            Reporter FTR.) (Bunn, A.) (Entered: 07/27/2009)
 07/27/2009                    Oral MOTION for Detention by USA as to Dylan Boyd, Mohammad Omar Aly Hassan,
                               Ziyad Yaghi. (Bunn, A.) (Entered: 07/27/2009)
                         Case 5:09-cr-00216-FL Document 2364 Filed 03/25/21 Page 5 of 74
https://ecf.nced.uscourts.gov/cgi-bin/DktRpt.pl?138298681748329-L_1_0-1                                                    5/74
3/25/2021                                                                 CM/ECF - NCED

 07/27/2009              32 ORDER OF TEMPORARY DETENTION as to Ziyad Yaghi. Detention Hearing set for
                            7/30/2009 10:00 AM in Raleigh - 6th Floor Courtroom before USMJ William A. Webb.
                            Signed by USMJ William A. Webb on 7/27/09. (Bunn, A.) (Entered: 07/27/2009)
 07/27/2009                    Oral MOTION to Unseal Case by USA as to Daniel Patrick Boyd, Hysen Sheriﬁ, Zakariya
                               Boyd, Dylan Boyd, Mohammad Omar Aly Hassan, Ziyad Yaghi. (Bunn, A.) (Entered:
                               07/27/2009)
 07/27/2009                    ORAL ORDER as to Daniel Patrick Boyd, Hysen Sheriﬁ, Anes Subasic, Zakariya Boyd,
                               Dylan Boyd, Mohammad Omar Aly Hassan, Ziyad Yaghi re MOTION to Unseal Case ﬁled
                               by USA. Entered by USMJ William A. Webb on 7/27/09. (Bunn, A.) (Entered: 07/27/2009)
 07/27/2009              33 Redacted Indictment as to Daniel Patrick Boyd, Hysen Sheriﬁ, Anes Subasic, Zakariya Boyd,
                            Dylan Boyd, Mohammad Omar Aly Hassan, Ziyad Yaghi. (Bunn, A.) (Entered: 07/27/2009)
 07/27/2009              40 NOTICE of intent to use foreign intelligence suerveillance act information. (Bunn, A.)
                            (Entered: 07/27/2009)
 07/27/2009                    ORAL ORDER as to Daniel Patrick Boyd, Hysen Sheriﬁ, Anes Subasic, Zakariya Boyd,
                               Dylan Boyd, Mohammad Omar Aly Hassan, Ziyad Yaghi, ( Detention Hearing set for
                               7/30/2009 02:00 PM in Raleigh - 6th Floor Courtroom before USMJ William A. Webb.).
                               Entered by USMJ William A. Webb on 7/27/09. (Bunn, A.) (Entered: 07/27/2009)
 07/28/2009                    Set Hearings as to Daniel Patrick Boyd, Hysen Sheriﬁ, Zakariya Boyd, Dylan Boyd,
                               Mohammad Omar Aly Hassan, Ziyad Yaghi: Detention Hearing set for 7/30/2009 01:00 PM
                               in Raleigh - 7th Floor - Courtroom 1 before USMJ William A. Webb. (Bunn, A.) (Entered:
                               07/28/2009)
 07/28/2009              44 NOTICE OF ATTORNEY APPEARANCE Jason Harris Cowley appearing for USA. (Co-
                            Counsel) (Cowley, Jason) (Entered: 07/28/2009)
 07/28/2009              45 CJA 23 Financial Afﬁdavit by Ziyad Yaghi. (Bunn, A.) (Entered: 07/28/2009)
 07/28/2009              54 ORDER APPOINTING FEDERAL PUBLIC DEFENDER as to Ziyad Yaghi. Signed by
                            USMJ William A. Webb on 7/28/09. (Bunn, A.) (Entered: 07/28/2009)
 07/28/2009              58 NOTICE OF ATTORNEY APPEARANCE: John D. McCullough appearing for Ziyad Yaghi.
                            (McCullough, John) (Entered: 07/28/2009)
 07/28/2009              59 AMENDED NOTICE OF ATTORNEY APPEARANCE: John D. McCullough appearing for
                            Ziyad Yaghi. (McCullough, John) (Entered: 07/28/2009)
 07/28/2009                    Set/Reset Hearings as to Ziyad Yaghi: Arraignment set for 10/5/2009 term AM in New Bern -
                               Courtroom before Chief Judge Louise Wood Flanagan. (Rudd, D.) (Entered: 07/28/2009)
 07/28/2009                    NOTICE OF CORRECTION by Ziyad Yaghi re: 59 Notice of Attorney Appearance -
                               Defendant - In FUTURE FILINGS when documents are amended please include in the ﬁnale
                               text block the word AMENDED to your document. The Clerks ofﬁce has made the necessary
                               correction to the entry. (Fogle, L.) (Entered: 07/30/2009)
 07/29/2009              60 MOTION to Continue Detention Hearing by Ziyad Yaghi. (McCullough, John) (Entered:
                            07/29/2009)
 07/29/2009              61 Proposed Order by Ziyad Yaghi re 60 MOTION to Continue Detention Hearing
                            (McCullough, John) (Entered: 07/29/2009)
 07/29/2009              76 Order Resetting Hearings ( Detention Hearing set for 8/4/2009 09:30 AM in Raleigh - 7th
                            Floor - Courtroom 2 before USMJ William A. Webb.) Motions terminated as to Daniel
                            Patrick Boyd, Hysen Sheriﬁ, Anes Subasic, Zakariya Boyd, Dylan Boyd, Mohammad Omar
                            Aly Hassan, Ziyad Yaghi. Signed by USMJ William A. Webb on 7/29/09. (Bunn, A.)
                            (Entered: 07/29/2009)
                         Case 5:09-cr-00216-FL Document 2364 Filed 03/25/21 Page 6 of 74
https://ecf.nced.uscourts.gov/cgi-bin/DktRpt.pl?138298681748329-L_1_0-1                                                 6/74
3/25/2021                                                                 CM/ECF - NCED

 07/29/2009              84 Arrest Warrant Returned Executed on 7/27/2009 as to Ziyad Yaghi. (Atkinson, J.) (Entered:
                            07/29/2009)
 07/30/2009              86 Request for discovery as to Ziyad Yaghi. (McCullough, John) (Entered: 07/30/2009)
 07/30/2009                    Set Hearings as to Daniel Patrick Boyd, Hysen Sheriﬁ, Anes Subasic, Zakariya Boyd, Dylan
                               Boyd, Mohammad Omar Aly Hassan, Ziyad Yaghi: Status Conference set for 8/4/2009 08:45
                               AM in Raleigh - Conference Room 7th Floor before USMJ William A. Webb. (Bunn, A.)
                               (Entered: 07/30/2009)
 07/31/2009              90 SCHEDULING ORDER as to Hysen Sheriﬁ, Zakariya Boyd, Dylan Boyd, Mohammad Omar
                            Aly Hassan, Ziyad Yaghi : The attorneys are ordered to conduct a pre-trial conference on or
                            before 8/14/2009. Arraignment set for 10/5/2009 term in New Bern - Courtroom before Chief
                            Judge Louise Wood Flanagan. Motions due by 8/26/2009. Response to Motion due by
                            9/10/2009. Signed by USMJ James E. Gates on 7/31/09. (Cress, L.) (Entered: 07/31/2009)
 08/03/2009              91 MOTION for hearing under C.I.P.A. Sec. 2 by USA as to Daniel Patrick Boyd, Hysen Sheriﬁ,
                            Anes Subasic, Zakariya Boyd, Dylan Boyd, Mohammad Omar Aly Hassan, Ziyad Yaghi.
                            (Attachments: # 1 Text of Proposed Order) (Kocher, Barbara) (Entered: 08/03/2009)
 08/03/2009              92 Memorandum in Support by USA as to Daniel Patrick Boyd, Hysen Sheriﬁ, Anes Subasic,
                            Zakariya Boyd, Dylan Boyd, Mohammad Omar Aly Hassan, Ziyad Yaghi re 91 MOTION for
                            hearing under C.I.P.A. Sec. 2 (Kocher, Barbara) (Entered: 08/03/2009)
 08/03/2009              95 ORDER upon motion of the United States (DE-88), it is hereby ordered that the Clerk unseal
                            and publish the captioned Indictment in its entirety. Signed by USMJ William A. Webb on
                            8/3/09. (Callihan, J.) (Entered: 08/03/2009)
 08/03/2009              96 ORDER granting 91 Motion for pretrial conference pursuant to Classiﬁed Information
                            Procedures Act ("CIPA") as to Daniel Patrick Boyd (1), Hysen Sheriﬁ (2), Anes Subasic (3),
                            Zakariya Boyd (4), Dylan Boyd (5), Mohammad Omar Aly Hassan (7), Ziyad Yaghi (8) -
                            Pretrial conference will be scheduled at a date and time certain before the undersigned, as
                            promptly as practicable, upon receipt and review of the magistrate judge's report as set forth
                            in this order. Status conference scheduled for Tuesday, August 4, 2009 in Raleigh before US
                            Magistrate Judge E. William Webb relating soley to motions for detention in this case. Pretrial
                            conference scheduled 8/14/09. Motions deadlines 8/25/09. (Additional instructions included
                            in this order.) Signed by Chief Judge Louise Wood Flanagan on 8/3/09. (Callihan, J.)
                            (Entered: 08/03/2009)
 08/04/2009              97 Minute Entry for proceedings held before USMJ William A. Webb:Status Conference as to
                            Daniel Patrick Boyd, Hysen Sheriﬁ, Anes Subasic, Zakariya Boyd, Dylan Boyd, Mohammad
                            Omar Aly Hassan, Ziyad Yaghi held on 8/4/2009 (Court Reporter FTR.) (Bunn, A.) (Entered:
                            08/04/2009)
 08/04/2009              98 Minute Entry for proceedings held before USMJ William A. Webb:Detention Hearing as to
                            Daniel Patrick Boyd, Hysen Sheriﬁ, Zakariya Boyd, Dylan Boyd, Mohammad Omar Aly
                            Hassan, Ziyad Yaghi held on 8/4/2009, ( Continuation of Detention Hearing set for 8/5/2009
                            09:00 AM in Raleigh - 7th Floor - Courtroom 2 before USMJ William A. Webb.) (Court
                            Reporter Donna Tomawski.) (Bunn, A.) (Entered: 08/04/2009)
 08/05/2009            102 Minute Entry for proceedings held before USMJ William A. Webb: Detention Hearing as to
                           Daniel Patrick Boyd, Hysen Sheriﬁ, Zakariya Boyd, Dylan Boyd, Mohammad Omar Aly
                           Hassan, Ziyad Yaghi held on 8/5/2009 in Raleigh. Court orders that the defendants are each a
                           risk of ﬂight and a danger to the community and hereby remands the defendants to the
                           custody of the US Marshal. Written order to follow from the court. (Court Reporter Donna
                           Tomawski.) (Bunn, A.) (Entered: 08/05/2009)
 08/05/2009            103 EXHIBIT LIST. (Bunn, A.) (Entered: 08/05/2009)
 08/05/2009            107 MOTION for status conference by USA as to Daniel Patrick Boyd, Hysen Sheriﬁ, Anes
                        Case 5:09-cr-00216-FL Document 2364 Filed 03/25/21 Page 7 of 74
https://ecf.nced.uscourts.gov/cgi-bin/DktRpt.pl?138298681748329-L_1_0-1                                                  7/74
3/25/2021                                                                 CM/ECF - NCED

                               Subasic, Zakariya Boyd, Dylan Boyd, Jude Kenan Mohammad, Mohammad Omar Aly
                               Hassan, Ziyad Yaghi. (Kocher, Barbara) (Entered: 08/05/2009)
 08/05/2009                    Motion Submission as to Daniel Patrick Boyd, Hysen Sheriﬁ, Anes Subasic, Zakariya Boyd,
                               Dylan Boyd, Jude Kenan Mohammad, Mohammad Omar Aly Hassan, Ziyad Yaghi re 107
                               MOTION for status conference submitted to Chief Judge Flanagan for consideration. (Rudd,
                               D.) (Entered: 08/05/2009)
 08/06/2009            108 Order Setting Hearings - Status Conference set for 8/27/2009 01:00 PM in Raleigh - 7th Floor
                           - Courtroom 2 before Chief Judge Louise Wood Flanagan. Signed by Chief Judge Louise
                           Wood Flanagan on 8/6/2009. Copies served electronically. (Rudd, D.) (Entered: 08/06/2009)
 08/10/2009            111 OFFICIAL TRANSCRIPT of Detention Hearing Proceedings as to Daniel Patrick Boyd,
                           Hysen Sheriﬁ, Anes Subasic, Zakariya Boyd, Dylan Boyd, Jude Kenan Mohammad,
                           Mohammad Omar Aly Hassan, Ziyad Yaghi held on August 4-5, 2009, before Judge Webb.
                           Court Reporter/Transcriber Donna J. Tomawski, Telephone number (919) 645-1700.
                           Transcript may be viewed at the court public terminal or purchased through the Court
                           Reporter/Transcriber before the deadline for Release of Transcript Restriction. After that date
                           it may be obtained through PACER. Please review Attorney obligations regarding the
                           redaction of electronic transcripts of court proceedings available on the court's website.
                           Redaction Request due 8/31/2009. Redacted Transcript Deadline set for 9/10/2009. Release of
                           Transcript Restriction set for 11/9/2009. (Tomawski, Donna) (Entered: 08/10/2009)
 08/11/2009            112 ORDER granting Oral Motion for Detention Pending Trial as to Daniel Patrick Boyd (1),
                           Hysen Sheriﬁ (2), Anes Subasic (3), Zakariya Boyd (4), Dylan Boyd (5), Mohammad Omar
                           Aly Hassan (7), Ziyad Yaghi (8). Signed by USMJ William A. Webb on 8/10/09. (Bunn, A.)
                           (Entered: 08/11/2009)
 08/12/2009            113 MOTION to Exclude or Redact Statement by Ziyad Yaghi. (McCullough, John) (Entered:
                           08/12/2009)
 08/12/2009            114 MOTION to Exclude Witness and Supporting Memorandum of Law by Ziyad Yaghi.
                           (McCullough, John) (Entered: 08/12/2009)
 08/13/2009                    NOTICE OF DEFICIENCY- Failure to File Proposed Order by Ziyad Yaghi re: 114 Motion to
                               Exclude 113 Motion to Exclude - Pursuant to Local Criminal Rule 47.1 or the judges practice
                               preferences on the court's website, counsel must submit a proposed order. The order must be
                               ﬁled electronically using the event PROPOSED ORDER located in the RESPONSES AND
                               REPLIES category. (Callihan, J.) (Entered: 08/13/2009)
 08/13/2009            115 Proposed Order by Ziyad Yaghi re 113 MOTION to Exclude or Redact Statement.
                           (McCullough, John) (Entered: 08/13/2009)
 08/13/2009            116 Proposed Order by Ziyad Yaghi re 114 MOTION to Exclude Witness and Supporting
                           Memorandum of Law. (McCullough, John) (Entered: 08/13/2009)
 08/25/2009            120 RESPONSE in Opposition by USA as to Ziyad Yaghi re 113 MOTION to Exclude or Redact
                           Statement (Attachments: # 1 Exhibit 1) (Cowley, Jason) (Entered: 08/25/2009)
 08/25/2009                    Motion Submission as to Ziyad Yaghi re 114 MOTION to Exclude Witness and Supporting
                               Memorandum of Law, 113 MOTION to Exclude or Redact Statement submitted to Chief
                               Judge Flanagan for consideration. (Rudd, D.) (Entered: 08/25/2009)
 08/26/2009            127 SEALED EX PARTE MOTION by Defendants Daniel Patrick Boyd, Hysen Sheriﬁ, Anes
                           Subasic, Zakariya Boyd, Dylan Boyd, Mohammad Omar Aly Hassan, Ziyad Yaghi.
                           (Attachments: # 1 Text of Proposed Order) (Rudd, D.) (Entered: 08/26/2009)
 08/27/2009            130 Minute Entry for proceedings held before Chief Judge Louise Wood Flanagan in Raleigh:
                           Status Conference as to Daniel Patrick Boyd, Hysen Sheriﬁ, Anes Subasic, Zakariya Boyd,
                           Dylan Boyd, Mohammad Omar Aly Hassan, Ziyad Yaghi held on 8/27/2009 - Defendants not
                        Case 5:09-cr-00216-FL Document 2364 Filed 03/25/21 Page 8 of 74
https://ecf.nced.uscourts.gov/cgi-bin/DktRpt.pl?138298681748329-L_1_0-1                                                 8/74
3/25/2021                                                                 CM/ECF - NCED

                               present in court with counsel - The government presents to the court a proposed protective
                               order for sensitive information - The parties are to submit within 10 days a modiﬁcation to the
                               protective order or a response if no agreement is reached - A Section 2 Hearing will be set for
                               12/17/09 -Defendant's counsel request that expert notice deadline and motions deadline be
                               taken out of the notice -Government does not object but does request that these deadlines be
                               put into place at some time in the future -Status Conference will be set for 2/18/10 and trial
                               date will be discussed at that time - All defendants except for Mohammad Hassan consent to
                               leaving open the arraignment and trial date at this time and to excluding the delay for speedy
                               trial purposes -Counsel Daniel Boyce is to meet with Mohammad Hassan and is to notify the
                               Court by Monday whether his client also consents to leaving open the arraignment/trial date
                               and excluding the delay for speedy trial purposes -As to Defendant Ziyad Yaghi Motion [DE
                               #113] Motion to Exclude or Redact Statement is DENIED without prejudice to renewal -
                               Motion to Exclude Witness [DE #114] is Held in Abeyance -On the Motions for Review of
                               Detention Orders the Government requests the normal response time of ten (10) days -The
                               Court Grants the request -The Defendants are to ﬁle their Motions to Review Detention Order
                               by 9/4/09 -The court invites the government to ﬁle an omnibus response, due by 9/14/09 -The
                               Court to have an Ex Parte Hearing in New Bern on 9/4/09 at 11 :00 a.m. and in camera review
                               with Government - Deft (Hassan) requests to make Argument at that time -Court Grants
                               request- Court adjourns 2:10 p.m. (Court Reporter Harry Hagopian.) (Rudd, D.) (Entered:
                               08/28/2009)
 08/27/2009            131 Government's Proposed Protective Order by USA. (Rudd, D.) (Entered: 08/28/2009)
 08/27/2009            132 SCHEDULING ORDER as to Daniel Patrick Boyd, Hysen Sheriﬁ, Anes Subasic, Zakariya
                           Boyd, Dylan Boyd, Mohammad Omar Aly Hassan, Ziyad Yaghi: Production of Unclassiﬁed
                           September 30, 2009 Discovery Concludes: 9/30/09; Declassiﬁcation Process and Production
                           of Sensitive Discovery Concludes: 12/17/09; CIPA Section 2 Hearing: 12/17/09; CIPA
                           Section 4 Hearing: 1/14/10; Production of Classiﬁed Discovery due by 2/11/10. Status
                           Conference set for 2/18/10. Speedy Trial times excluded. Signed by Chief Judge Louise Wood
                           Flanagan on 8/27/2009. Copies served electronically. (Rudd, D.) (Entered: 08/28/2009)
 08/27/2009                    ORAL ORDER as to Ziyad Yaghi DENIED without prejudice to renewal re 113 MOTION to
                               Exclude or Redact Statement ﬁled by Ziyad Yaghi. Entered by Chief Judge Louise Wood
                               Flanagan on 8/27/2009. (Rudd, D.) (Entered: 08/28/2009)
 08/27/2009                    Terminate Deadlines and Hearings as to Daniel Patrick Boyd, Hysen Sheriﬁ, Anes Subasic,
                               Zakariya Boyd, Dylan Boyd, Ziyad Yaghi: See Minute Entry as to the Parties except for
                               Mohammad Hassan leaving open the arraignment and trial date and excluding the speedy trial
                               time. (Rudd, D.) (Entered: 08/28/2009)
 08/27/2009                    SEALED EX PARTE ORAL ORDER as to Daniel Patrick Boyd, Hysen Sheriﬁ, Anes
                               Subasic, Zakariya Boyd, Dylan Boyd, Mohammad Omar Aly Hassan, Ziyad Yaghi
                               GRANTING Sealed Ex Parte Motion at [DE #127]. Entered by Chief Judge Louise Wood
                               Flanagan on 8/27/2009. (Rudd, D.) (Entered: 08/31/2009)
 09/03/2009            137 ORDER as to Daniel Patrick Boyd, Hysen Sheriﬁ, Anes Subasic, Zakariya Boyd, Dylan
                           Boyd, Mohammad Omar Aly Hassan, Ziyad Yaghi. Having reﬂected on the brieﬁng process
                           of or relating to decision on the four pending motions for review of detention order The court
                           does not now seek omnibus response as previously provided; rather, the government is
                           directed to ﬁle separate response to each such motion, within the time allowed. Signed by
                           Chief Judge Louise Wood Flanagan on 9/3/2009. Copies served electronically. (Rudd, D.)
                           (Entered: 09/03/2009)
 09/04/2009            138 MOTION for Extension of Time to ﬁle jointly proposed protective order until September 25,
                           2009. (Attachments: # 1 Text of Proposed Order) (Kocher, Barbara) (Entered: 09/04/2009)
 09/09/2009            139 ORDER granting 138 Motion for Extension of Time as to Daniel Patrick Boyd (1), Hysen
                           Sheriﬁ (2), Anes Subasic (3), Zakariya Boyd (4), Dylan Boyd (5), Mohammad Omar Aly
                        Case 5:09-cr-00216-FL Document 2364 Filed 03/25/21 Page 9 of 74
https://ecf.nced.uscourts.gov/cgi-bin/DktRpt.pl?138298681748329-L_1_0-1                                                     9/74
3/25/2021                                                                 CM/ECF - NCED

                               Hassan (7), Ziyad Yaghi (8). ORDERED the time for the parties to ﬁle a jointly proposed
                               protective order be extended to September 25, 2009. Signed by Chief Judge Louise Wood
                               Flanagan on 9/5/2009. Copies served electronically. (Rudd, D.) (Entered: 09/09/2009)
 09/24/2009            145 SUPERSEDING INDICTMENT as to Daniel Patrick Boyd (1) counts 1s, 2s, 3s, 4s, 5s, 6s-7s,
                           8s, 9s, 10s, 11s, Hysen Sheriﬁ (2) counts 1s, 2s, 4s, 8s, 11s, Anes Subasic (3) counts 1s, 2s,
                           Zakariya Boyd (4) counts 1s, 2s, 4s, 8s, Dylan Boyd (5) counts 1s, 2s, 5s, Jude Kenan
                           Mohammad (6) counts 1s, 2s, Mohammad Omar Aly Hassan (7) counts 1s, 2s, Ziyad Yaghi
                           (8) counts 1s, 2s. (Cress, L.) (Entered: 09/25/2009)
 09/25/2009            149 STATUS REPORT on Efforts to Provide Proposed Order, with Proposed Orders by USA as to
                           Daniel Patrick Boyd, Hysen Sheriﬁ, Anes Subasic, Zakariya Boyd, Dylan Boyd, Mohammad
                           Omar Aly Hassan, Ziyad Yaghi. (Attachments: # 1 Text of Proposed Order, # 2 Text of
                           Proposed Order) (Kocher, Barbara) (Entered: 09/25/2009)
 09/28/2009            156 NOTICE TO COUNSEL REGARDING WAIVER FOR INITIAL APPEARANCE ON
                           SUPERSEDING INDICTMENT. If a waiver for defendant Ziyad Yaghi is not ﬁled within 10
                           days, an initial appearance will be scheduled - Waiver of Initial Appearance on Superseding
                           Indictment due by 10/13/09. Waiver is attached. (Rudd, D.) (Entered: 09/28/2009)
 09/29/2009            158 WAIVER OF INITIAL APPEARANCE ON SUPERSEDING INDICTMENT by defendant
                           Ziyad Yaghi indicating that no initial appearance is requested on the superseding indictment.
                           (McCullough, John) (Entered: 09/29/2009)
 10/07/2009            161 ORDER as to Daniel Patrick Boyd, Hysen Sheriﬁ, Anes Subasic, Zakariya Boyd, Dylan
                           Boyd, Mohammad Omar Aly Hassan, Ziyad Yaghi. Signed by Chief Judge Louise Wood
                           Flanagan on 10/6/2009. Copies served electronically. (Rudd, D.) (Entered: 10/07/2009)
 10/20/2009            168 NOTICE of ﬁling memorandum in Support of Protective Order - re: 161 Order. (Kocher,
                           Barbara) (Entered: 10/20/2009)
 11/03/2009            170 NOTICE of Defendant's Joint Memorandum in Support of a Fair Protective Order. (Godwin,
                           Rosemary) (Entered: 11/03/2009)
 11/05/2009            171 SEALED EX PARTE MOTION by USA as to Defendants Daniel Patrick Boyd, Hysen
                           Sheriﬁ, Anes Subasic, Zakariya Boyd, Dylan Boyd, Mohammad Omar Aly Hassan, Ziyad
                           Yaghi. (Attachments: # 1 Text of Proposed Order) (Rudd, D.) (Entered: 11/05/2009)
 11/05/2009            172 SEALED EX PARTE ORDER as to Daniel Patrick Boyd, Hysen Sheriﬁ, Anes Subasic,
                           Zakariya Boyd, Dylan Boyd, Mohammad Omar Aly Hassan, Ziyad Yaghi. Signed by Chief
                           Judge Louise Wood Flanagan on 11/5/2009. Copies served. (Rudd, D.) (Entered: 11/05/2009)
 11/19/2009            174 ORDER as to Daniel Patrick Boyd, Hysen Sheriﬁ, Anes Subasic, Zakariya Boyd, Dylan
                           Boyd, Mohammad Omar Aly Hassan, Ziyad Yaghi - this case comes before the court of the
                           parties' proposed protective orders. The parties have seven days from date of entry of this
                           order to show cause why the court should not enter the proposed protective order in the form
                           shown in appendix "A". Signed by Chief Judge Louise Wood Flanagan on 11/18/2009. Copies
                           served electronically. (Rudd, D.) (Entered: 11/19/2009)
 11/19/2009            175 NOTICE (Order No. 174) (McCullough, John) (Entered: 11/19/2009)
 11/20/2009            178 SEALED EX PARTE ORDER as to Ziyad Yaghi. Signed by Chief Judge Louise Wood
                           Flanagan on 11/19/2009. Copy served on counsel by email. (Rudd, D.) (Entered: 11/20/2009)
 11/20/2009            180 NOTICE OF HEARING as to Daniel Patrick Boyd, Hysen Sheriﬁ, Anes Subasic, Zakariya
                           Boyd, Dylan Boyd, Mohammad Omar Aly Hassan, Ziyad Yaghi: CIPA Section 2 Hearing set
                           for 12/17/2009 10:30 AM in Raleigh - 7th Floor - Courtroom 2 before Chief Judge Louise
                           Wood Flanagan. (Rudd, D.) (Entered: 11/20/2009)
 11/24/2009            181 DEFENDANT'S JOINT REQUEST to Add Provision to Protective Order by Daniel Patrick
                        CaseBoyd as to Daniel Patrick
                             5:09-cr-00216-FL         Boyd, Hysen
                                                   Document   2364Sheriﬁ,
                                                                     FiledAnes Subasic,Page
                                                                           03/25/21     Zakariya Boyd,
                                                                                             10 of 74 Dylan Boyd,
https://ecf.nced.uscourts.gov/cgi-bin/DktRpt.pl?138298681748329-L_1_0-1                                                  10/74
3/25/2021                                                                 CM/ECF - NCED

                               Jude Kenan Mohammad, Mohammad Omar Aly Hassan, Ziyad Yaghi. (Graves, Debra)
                               (Entered: 11/24/2009)
 11/25/2009            182 ORDER as to Daniel Patrick Boyd, Hysen Sheriﬁ, Anes Subasic, Zakariya Boyd, Dylan
                           Boyd, Jude Kenan Mohammad, Mohammad Omar Aly Hassan, Ziyad Yaghi - re: 181 Request
                           ﬁled by Daniel Patrick Boyd. Signed by Chief Judge Louise Wood Flanagan on 11/25/09.
                           (Baker, C.) (Entered: 11/25/2009)
 12/01/2009            183 NOTICE of ﬁling response - re: 182 Order, 174 Order, (Attachments: # 1 Exhibit proposed
                           Memorandum Of Understanding) (Kocher, Barbara) (Entered: 12/01/2009)
 12/09/2009            186 MOTION for Extension of Time for disclosure of declassiﬁed information until January 14,
                           2010. (Attachments: # 1 Text of Proposed Order) (Kocher, Barbara) (Entered: 12/09/2009)
 12/09/2009                    Motion Submission as to Daniel Patrick Boyd, Hysen Sheriﬁ, Anes Subasic, Zakariya Boyd,
                               Dylan Boyd, Mohammad Omar Aly Hassan, Ziyad Yaghi re 186 MOTION for Extension of
                               Time for disclosure of declassiﬁed information until January 14, 2010 & Notice of
                               Substitution [DE #184] forwarded to Chief Judge Flanagan for consideration. (Rudd, D.)
                               (Entered: 12/09/2009)
 12/10/2009            187 ORDER granting 186 Motion for Extension of Time as to Daniel Patrick Boyd (1), Hysen
                           Sheriﬁ (2), Anes Subasic (3), Zakariya Boyd (4), Dylan Boyd (5), Mohammad Omar Aly
                           Hassan (7), Ziyad Yaghi (8). Signed by Chief Judge Louise Wood Flanagan on 12/10/2009.
                           Copies served electronically. (Rudd, D.) (Entered: 12/10/2009)
 12/10/2009            188 PROTECTIVE ORDER FOR SENSITIVE MATERIALS as to Daniel Patrick Boyd, Hysen
                           Sheriﬁ, Anes Subasic, Zakariya Boyd, Dylan Boyd, Mohammad Omar Aly Hassan, Ziyad
                           Yaghi. Signed by Chief Judge Louise Wood Flanagan on 12/10/2009. Copies served
                           electronically. (Rudd, D.) (Entered: 12/10/2009)
 12/10/2009            189 SEALED EX PARTE ORDER as to Daniel Patrick Boyd, Hysen Sheriﬁ, Anes Subasic,
                           Zakariya Boyd, Dylan Boyd, Mohammad Omar Aly Hassan, Ziyad Yaghi. Signed by Chief
                           Judge Louise Wood Flanagan on 12/10/2009. Copies served on defendant's counsel by email.
                           No other copies served. (Rudd, D.) (Entered: 12/10/2009)
 12/11/2009            190 MOTION for clariﬁcation as to which parties need be present for hearing re 180 Notice of
                           Hearing, by USA as to Daniel Patrick Boyd, Hysen Sheriﬁ, Anes Subasic, Zakariya Boyd,
                           Dylan Boyd, Mohammad Omar Aly Hassan, Ziyad Yaghi. (Kocher, Barbara) (Entered:
                           12/11/2009)
 12/11/2009            191 ORDER deferring ruling on 190 Motion for miscellaneous relief as to Daniel Patrick Boyd
                           (1), Hysen Sheriﬁ (2), Anes Subasic (3), Zakariya Boyd (4), Dylan Boyd (5), Mohammad
                           Omar Aly Hassan (7), Ziyad Yaghi (8). The court declines to speculate now on ordering of the
                           hearing but shall hear the parties further on this December 17, 2009. Signed by Chief Judge
                           Louise Wood Flanagan on 12/11/2009. (MC) (Entered: 12/11/2009)
 12/17/2009            197 Minute Entry for proceedings held before Chief Judge Louise Wood Flanagan in Raleigh:
                           Pretrial Conference - CIPA Section 2 Hearing as to Daniel Patrick Boyd, Hysen Sheriﬁ, Anes
                           Subasic, Zakariya Boyd, Dylan Boyd, Mohammad Omar Aly Hassan, Ziyad Yaghi held on
                           12/17/2009 - Defendant's present with counsel - Interpreter present for Anes Subasic: Walter
                           Stiglic (Afﬁrmed) - Introduction of counsel & defendants - Introduction of government's
                           counsel - Scheduling issues discussed - Initial Appearance on Superseding Indictment -
                           Defendant's advised of their rights - Charges & Punishment - Trial date discussed - The ﬁrst
                           draft of protective order for classiﬁed information due 1/2/10 - Court acceptance of Court
                           Security Ofﬁcer to serve over case - Defendant Anes Subasic request new counsel in open
                           court - The Court informs defendant & counsel that the appropriate motion needs to be ﬁled -
                           The Clerk is to provide the defendant with the Clerk's ofﬁce address - Defendant's remanded
                           to custody - The court goes forward with Sealed Ex Parte Matters (Court Reporter Harry
                           Hagopian.) (Rudd, D.) (Entered: 12/18/2009)
                        Case 5:09-cr-00216-FL Document 2364 Filed 03/25/21 Page 11 of 74
https://ecf.nced.uscourts.gov/cgi-bin/DktRpt.pl?138298681748329-L_1_0-1                                               11/74
3/25/2021                                                                 CM/ECF - NCED

 12/18/2009            199 ORDER as to Daniel Patrick Boyd, Hysen Sheriﬁ, Anes Subasic, Zakariya Boyd, Dylan
                           Boyd, Mohammad Omar Aly Hassan, Ziyad Yaghi: The undersigned shall hold a conference
                           with counsel regarding discovery procedures on Friday, January 8, 2010, at 2:30 p.m. in the
                           6th Floor Courtroom of the Terry Sanford Federal Building and Courthouse, 310 New Bern
                           Avenue, Raleigh, North Carolina. The following counsel shall attend: R. Daniel Boyce, as
                           representative of the Panel attorneys of record in the case; either of the Assistant Public
                           Defenders of record in the case; and either of the Assistant United States Attorneys of record
                           in the case. Other counsel of record may attend. Signed by USMJ James E. Gates on
                           12/18/2009. Copies served electronically. (Rudd, D.) (Entered: 12/18/2009)
 12/22/2009            200 NOTICE of Termination of Appearance. (Cowley, Jason) (Entered: 12/22/2009)
 12/23/2009            201 Order - The court sets trial to begin Monday, September 20, 2010. Said special trial setting
                           shall aid counsel now in conforming their schedules where trial reasonably may extend
                           through October 29, 2010. Proposed voir dire and jury instructions shall be ﬁled on or before
                           September 7, 2010. Pre-trial conference may be undertaken as necessary Friday, September
                           10, 2010. Signed by Chief Judge Louise Wood Flanagan on 12/23/09. Copies served
                           electronically. (Baker, C.) (Entered: 12/23/2009)
 12/23/2009            202 ORDER amendeding 188 Protective Order - Signed by Chief Judge Louise Wood Flanagan
                           on 12/23/09. Copies served electronically. (Baker, C.) (Entered: 12/23/2009)
 12/28/2009            208 NOTICE of Filing Transcript with the Clerk's Ofﬁce from Ex Parte hearing held on 12/17/09.
                           (Rudd, D.) (Entered: 01/12/2010)
 12/31/2009            204 MOTION for Protective Order for classiﬁed materials by USA as to Daniel Patrick Boyd,
                           Hysen Sheriﬁ, Anes Subasic, Zakariya Boyd, Dylan Boyd, Mohammad Omar Aly Hassan,
                           Ziyad Yaghi. (Attachments: # 1 Text of Proposed Order, # 2 Appendix proposed MOU)
                           (Kocher, Barbara) (Entered: 12/31/2009)
 01/04/2010                    Motion Submission as to Daniel Patrick Boyd, Hysen Sheriﬁ, Anes Subasic, Zakariya Boyd,
                               Dylan Boyd, Mohammad Omar Aly Hassan, Ziyad Yaghi re 204 MOTION for Protective
                               Order submitted to Chief Judge Flanagan for consideration. (Rudd, D.) (Entered: 01/04/2010)
 01/04/2010            205 NOTICE of ﬁling ex parte motion, in camera and under seal with CSO. (Kocher, Barbara)
                           (Entered: 01/04/2010)
 01/08/2010            206 Minute Entry for proceedings held before USMJ James E. Gates:Discovery Hearing as to
                           Daniel Patrick Boyd, Hysen Sheriﬁ, Anes Subasic, Zakariya Boyd, Dylan Boyd, Jude Kenan
                           Mohammad, Mohammad Omar Aly Hassan, Ziyad Yaghi held on 1/8/2010. Present at
                           Hearing: Barbara Kocher, Counsel for government - Debra Graves, Rosemary Godwin and
                           Daniel Boyce, Counsel for Defendants; - Matters regarding Discovery discussed at Hearing -
                           The Court enters an Oral Order - The Parties are to meet within the next 14 days regarding a
                           set of transcript recordings produced in discovery and technology issues - the parties are to
                           submit a report to the court within seven (7) days after their conference. Modiﬁed on 1/8/2010
                           (Rudd, D.). (Entered: 01/08/2010)
 01/08/2010                    ORAL ORDER as to Daniel Patrick Boyd, Hysen Sheriﬁ, Anes Subasic, Zakariya Boyd,
                               Dylan Boyd, Mohammad Omar Aly Hassan, Ziyad Yaghi - The Court enters an Oral Order -
                               The Parties are to meet within the next 14 days regarding a set of transcript recordings
                               produced in discovery and technology issues - the parties are to submit a report to the court
                               within seven (7) days after conference. Entered by USMJ James E. Gates on 1/8/2010. (Rudd,
                               D.) (Entered: 01/08/2010)
 01/08/2010            207 Minute Entry - Court initiated conference by telephone held on 1/8/2010 with Jason M.
                           Kellhofer, counsel for the government, concerning ex parte motion, ﬁled in camera and under
                           seal on 1-04-2010 (DE # 205). (Rudd, D.) (Entered: 01/12/2010)
 01/13/2010            209 NOTICE: The Court ﬁled an ex parte classiﬁed Order requesting supplementation and
                        Case 5:09-cr-00216-FL Document 2364 Filed 03/25/21 Page 12 of 74
https://ecf.nced.uscourts.gov/cgi-bin/DktRpt.pl?138298681748329-L_1_0-1                                                  12/74
3/25/2021                                                                 CM/ECF - NCED

                               noticing certain matters in response to the Government's ex parte motion (DE # 205), which
                               was provided to the Court Security Ofﬁcer on this date. Signed by Chief Judge Louise W.
                               Flanagan. Copies served electronically. (Rudd, D.) (Entered: 01/13/2010)
 01/13/2010            210 NOTICE of classiﬁed in camera, ex parte, under seal ﬁling with the CSO. (Kocher, Barbara)
                           (Entered: 01/13/2010)
 01/13/2010            231 EX PARTE (Redacted DE 209) ORDER requesting supplementation and noticing certain
                           matters in response to the Government's ex parte motion (DE # 205). Signed by Chief Judge
                           Louise Wood Flanagan on 1/13/2010. Copies served on government only. (Rudd, D.).
                           (Entered: 02/09/2010)
 01/15/2010            215 Order - Status conference previously set for February 18, 2010, before the undersigned is
                           discontinued. Status Conference reset for 3/12/2010 at 10:00 AM in Raleigh - 5th Floor
                           Courtroom before U.S. Magistrate Judge James E. Gates. Signed by Chief Judge Louise
                           Wood Flanagan on 01/15/2010. Copies served electronically. (Baker, C.) (Entered:
                           01/15/2010)
 01/20/2010            217 ORDER as to Daniel Patrick Boyd, Hysen Sheriﬁ, Anes Subasic, Zakariya Boyd, Dylan
                           Boyd, Mohammad Omar Aly Hassan, Ziyad Yaghi - The court having scheduled a status
                           conference in this case for 3/12/10 - IT IS HEREBY ORDERED: Only counsel of record are
                           required to attend - Counsel is to develop a joint agenda - Submit the joint agenda by 3/10/10.
                           Signed by USMJ James E. Gates on 1/20/2010. Copies served electronically. (Rudd, D.)
                           (Entered: 01/20/2010)
 01/27/2010            219 NOTICE of ﬁling classiﬁed, ex parte, under seal motion to strike and substitute. (Kocher,
                           Barbara) (Entered: 01/27/2010)
 01/27/2010            220 NOTICE of ﬁling classiﬁed, ex parte, under seal supplement with court security ofﬁcer
                           designee. (Kocher, Barbara) (Entered: 01/27/2010)
 01/28/2010            221 NOTICE: The Court ﬁled an ex parte classiﬁed Order granting the Government's Motion to
                           Strike and Substitute [DE #219], which was provided to the Court Security Ofﬁcer on this
                           date. Signed by Chief Judge Louise W. Flanagan. Copies served electronically. (Rudd, D.)
                           (Entered: 01/28/2010)
 01/28/2010            223 ORDER as to Daniel Patrick Boyd, Hysen Sheriﬁ, Anes Subasic, Zakariya Boyd, Dylan
                           Boyd, Mohammad Omar Aly Hassan, Ziyad Yaghi. This matter comes before the court on its
                           own initiative. The sensitive discovery remaining to be produced shall be produced by
                           2/12/10. Signed by Chief Judge Louise Wood Flanagan on 1/28/2010. Copies served
                           electronically. (Rudd, D.) (Entered: 01/28/2010)
 01/29/2010            226 ORDER as to 204 MOTION for Protective Order ﬁled by USA - The government shall tender
                           a revised proposed protective order to the court not later than February 8, 2010. Signed by
                           Chief Judge Louise Wood Flanagan on 01/28/2010. Copies served electronically. (Baker, C.)
                           (Entered: 01/29/2010)
 01/29/2010            227 MOTION for Extension of Time for Discovery until February 12, 2010. (Attachments: # 1
                           Text of Proposed Order) (Kocher, Barbara) (Entered: 01/29/2010)
 01/29/2010            228 NOTICE of ﬁling joint status report - re: 206 Discovery Hearing. (Kocher, Barbara) (Entered:
                           01/29/2010)
 01/30/2010            229 NOTICE of ﬁling amended proposed protective order - re: 226 Order. (Attachments: # 1 Text
                           of Proposed Order) (Kocher, Barbara) (Entered: 01/30/2010)
 02/01/2010                Motion Submission as to Daniel Patrick Boyd, Hysen Sheriﬁ, Anes Subasic, Zakariya Boyd,
                           Dylan Boyd, Mohammad Omar Aly Hassan, Ziyad Yaghi re 227 MOTION for Extension of
                           Time for Discovery until February 12, 2010 submitted to Chief Judge Flanagan for
                           consideration. (Rudd, D.) (Entered: 02/01/2010)
                        Case 5:09-cr-00216-FL Document 2364 Filed 03/25/21 Page 13 of 74
https://ecf.nced.uscourts.gov/cgi-bin/DktRpt.pl?138298681748329-L_1_0-1                                                 13/74
3/25/2021                                                                 CM/ECF - NCED

 02/02/2010            230 ORDER granting 227 Motion for Extension of Time. It ishereby ORDERED the time for the
                           United States to provide ﬁnal unclassiﬁed discovery material be extended to February 12,
                           2010. Signed by Chief Judge Louise Wood Flanagan on 02/02/2010. Copies served
                           electronically. (Baker, C.) (Entered: 02/02/2010)
 02/11/2010            233 Order Setting Hearings - Discovery conference set for 2/19/2010 01:30 PM in Raleigh - 5th
                           Floor Courtroom before USMJ James E. Gates. The following counsel shall attend: R. Daniel
                           Boyce, as representative of the Panel attorneys of record in the case; either of the Assistant
                           Public Defenders of record in the case; and either of the Assistant United States Attorneys of
                           record in the case. Other counsel of record may attend. Signed by USMJ James E. Gates on
                           2/10/2010. Copies served electronically. (Rudd, D.) (Entered: 02/11/2010)
 02/18/2010            236 NOTICE: The court has entered, ex parte and under seal, a classiﬁed order addressing the
                           government's motion (DE # 205), which was provided to the government on this date. Signed
                           by Chief Judge Louise W. Flanagan. Copies served electronically. (Rudd, D.). (Entered:
                           02/18/2010)
 02/18/2010            237 PROTECTIVE ORDER as to Daniel Patrick Boyd, Hysen Sheriﬁ, Anes Subasic, Zakariya
                           Boyd, Dylan Boyd, Mohammad Omar Aly Hassan, Ziyad Yaghi. Signed by Chief Judge
                           Louise Wood Flanagan on 2/18/2010. Copies served electronically. (Rudd, D.) (Entered:
                           02/18/2010)
 02/19/2010            240 Minute Entry for proceedings held before USMJ James E. Gates: Status Conference as to
                           Daniel Patrick Boyd, Hysen Sheriﬁ, Anes Subasic, Zakariya Boyd, Dylan Boyd, Jude Kenan
                           Mohammad, Mohammad Omar Aly Hassan, Ziyad Yaghi held on 2/19/2010. Present: USA-
                           Barb Kocher; Defendant's- Debra Graves, Daniel Boyce, Rosemary Godwin; The position as
                           to the joint preparation of transcripts discussed at conference. Court directs the parties to meet
                           prior to the March 12 status conference. A written order will follow. The court goes forward
                           with Sealed Ex Parte Matters. (Court Reporter FTR.) (Powers, S.) Modiﬁed on 2/19/2010
                           (Rudd, D.). Modiﬁed on 3/3/2010 to indicate that the recording of the hearing is temporarily
                           sealed. (Rudd, D.). (Entered: 02/19/2010)
 02/19/2010            241 NOTICE: The court has entered, ex parte and under seal, a classiﬁed order amending its prior
                           order entered at DE 236, to be provided to the Court Security Ofﬁcer on February 22, 2010.
                           Copies served electronically. (Rudd, D.) (Entered: 02/19/2010)
 02/19/2010                    Terminate Deadlines and Hearings as to Daniel Patrick Boyd, Hysen Sheriﬁ, Anes Subasic,
                               Zakariya Boyd, Dylan Boyd, Mohammad Omar Aly Hassan, Ziyad Yaghi: Discovery Hearing
                               (Status Conference) held on 2/19/10 before Judge Gates in Raleigh. (Rudd, D.) (Entered:
                               02/22/2010)
 02/25/2010            242 NOTICE of classiﬁed ﬁling. (Kocher, Barbara) (Entered: 02/25/2010)
 02/26/2010            243 NOTICE of classiﬁed, ex parte, in camera ﬁling. (Kocher, Barbara) (Entered: 02/26/2010)
 02/26/2010            244 NOTICE - The court has entered, ex parte and under seal, a classiﬁed order addressing the
                           government's ﬁling (DE # 242), which was provided to the government on this date. (Baker,
                           C.) (Entered: 02/26/2010)
 03/01/2010            246 ORDER as to Daniel Patrick Boyd, Hysen Sheriﬁ, Anes Subasic, Zakariya Boyd, Dylan
                           Boyd, Mohammad Omar Aly Hassan, Ziyad Yaghi. This case came before the court for a
                           discovery conference on 2/19/10 to address pending discovery issues. This order
                           memorializes rulings made and other decisions reached at the conference. Signed by USMJ
                           James E. Gates on 2/26/2010. Copies served electronically. (Rudd, D.) (Entered: 03/01/2010)
 03/01/2010            247 NOTICE of classiﬁed, ex parte, in camera ﬁling. (Kocher, Barbara) (Entered: 03/01/2010)
 03/01/2010            248 PROPOSED SEALED MOTION by Daniel Patrick Boyd, Hysen Sheriﬁ, Anes Subasic,
                           Zakariya Boyd, Dylan Boyd, Mohammad Omar Aly Hassan, Ziyad Yaghi (Attachments: # 1
                           Text of Proposed Order) (Boyce, R.) (Entered: 03/01/2010)
                        Case 5:09-cr-00216-FL Document 2364 Filed 03/25/21 Page 14 of 74
https://ecf.nced.uscourts.gov/cgi-bin/DktRpt.pl?138298681748329-L_1_0-1                                                   14/74
3/25/2021                                                                 CM/ECF - NCED

 03/01/2010                    Motion Submission as to Daniel Patrick Boyd, Hysen Sheriﬁ, Anes Subasic, Zakariya Boyd,
                               Dylan Boyd, Mohammad Omar Aly Hassan, Ziyad Yaghi re 248 PROPOSED SEALED
                               MOTION by Daniel Patrick Boyd, Hysen Sheriﬁ, Anes Subasic, Zakariya Boyd, Dylan Boyd,
                               Mohammad Omar Aly Hassan, Ziyad Yaghi submitted to Chief Judge Flanagan for
                               consideration. (Rudd, D.) (Entered: 03/01/2010)
 03/08/2010            253 NOTICE: The court has entered, ex parte and under seal, a classiﬁed order addressing the
                           government's ﬁlings at DE 243 and DE 247, to be provided to the Court Security Ofﬁcer on
                           March 9, 2010. (Rudd, D.) (Entered: 03/09/2010)
 03/11/2010            257 NOTICE of classiﬁed, ex parte, in camera ﬁling. (Kocher, Barbara) (Entered: 03/11/2010)
 03/12/2010            258 NOTICE: The court has entered, ex parte and under seal, a classiﬁed order addressing the
                           government's ﬁling at DE 257, to be provided to the Court Security Ofﬁcer on March 15,
                           2010. (Baker, C.) (Entered: 03/12/2010)
 03/12/2010            259 Minute Entry for proceedings held before USMJ James E. Gates:Status Conference as to
                           Daniel Patrick Boyd, Hysen Sheriﬁ, Anes Subasic, Zakariya Boyd, Dylan Boyd, Mohammad
                           Omar Aly Hassan, Ziyad Yaghi held on 3/12/2010 at 10:00 a.m. in the 5th Floor Courtroom,
                           Raleigh, NC. Counsel-present: Government- Barb Kocher, Jason Cowley, Jason Kellhofer;
                           Defendants- Debra Graves, Rosemary Godwin, Robert McAfee, John Keating Wiles, Myron
                           Hill, Jr., Joseph Zeszotarski, Jr, R. Daniel Boyce, Douglas McCullough. Written Order to
                           follow. Next status conference date is set for April 16, 2010 at 10:00 in Raleigh, NC. If parties
                           have a conﬂict they are instructed to inform Judge Gates' chambers as soon as possible. Court
                           goes forward with sealed discussions and ex parte matters. (Court Reporter FTR.) (Powers,
                           S.) (Entered: 03/12/2010)
 03/17/2010            260 CASE MANAGEMENT ORDER as to Daniel Patrick Boyd, Hysen Sheriﬁ, Anes Subasic,
                           Zakariya Boyd, Dylan Boyd, Mohammad Omar Aly Hassan, Ziyad Yaghi, Order Setting
                           Hearings - Status Conference set for 4/16/2010 10:00 AM in Raleigh - 7th Floor - Courtroom
                           2 before USMJ James E. Gates. Signed by USMJ James E. Gates on 3/16/2010. Copies served
                           electronically. Copy to US Marshal. (Rudd, D.) (Entered: 03/17/2010)
 03/17/2010            262 ORDER as to Daniel Patrick Boyd, Hysen Sheriﬁ, Anes Subasic, Zakariya Boyd, Dylan
                           Boyd, Mohammad Omar Aly Hassan, Ziyad Yaghi. Signed by Chief Judge Louise Wood
                           Flanagan on 3/16/2010. Copies served electronically. (Rudd, D.) (Entered: 03/17/2010)
 03/17/2010                    Set/Reset Hearings as to Daniel Patrick Boyd, Hysen Sheriﬁ, Anes Subasic, Zakariya Boyd,
                               Dylan Boyd, Mohammad Omar Aly Hassan, Ziyad Yaghi: Arraignment set for 9/10/2010
                               Time & Place To Be Determined before Chief Judge Louise Wood Flanagan. (Rudd, D.)
                               (Entered: 04/20/2010)
 03/18/2010            265 NOTICE of classiﬁed, ex parte ﬁling with court security ofﬁcer or designee. (Kocher,
                           Barbara) (Entered: 03/18/2010)
 03/19/2010            267 NOTICE: The court has entered, ex parte and under seal, a classiﬁed order addressing in part
                           the government's ﬁling at DE 265, to be provided to the Court Security Ofﬁcer on March 22,
                           2010. (Rudd, D.) (Entered: 03/19/2010)
 03/22/2010            268 ORDER as to Daniel Patrick Boyd, Hysen Sheriﬁ, Anes Subasic, Zakariya Boyd, Dylan
                           Boyd, Mohammad Omar Aly Hassan, Ziyad Yaghi. This case comes before the court sua
                           sponte in response to representations at the 3/12/10 discovery conference that their
                           preparation may require the taking of depositions in a foreign country. The parties shall
                           update the court at the 4/16/10 pretrial conference in identifying any foreign depositions.
                           Signed by USMJ James E. Gates on 3/19/2010. Copies served electronically. (Rudd, D.)
                           (Entered: 03/22/2010)
 03/26/2010            274 MOTION Exceed Financial Cap for Investigative Services by Ziyad Yaghi. (McCullough, J.)
                           (Entered: 03/26/2010)
                        Case 5:09-cr-00216-FL Document 2364 Filed 03/25/21 Page 15 of 74
https://ecf.nced.uscourts.gov/cgi-bin/DktRpt.pl?138298681748329-L_1_0-1                                                  15/74
3/25/2021                                                                 CM/ECF - NCED

 03/26/2010            275 Proposed Order by Ziyad Yaghi re 274 MOTION Exceed Financial Cap for Investigative
                           Services (McCullough, J.) (Entered: 03/26/2010)
 03/26/2010                    Motion Submission as to Ziyad Yaghi re 274 MOTION Exceed Financial Cap for
                               Investigative Services submitted to Chief Judge Flanagan for consideration. (Rudd, D.)
                               (Entered: 03/26/2010)
 03/26/2010            276 Minute Entry for proceedings held before USMJ James E. Gates: Motion Hearing held on
                           3/26/2010 - re: 273 MOTION Clariﬁcation of Order of March 16, 2010 ﬁled by Daniel Patrick
                           Boyd. Present: Barb Kocher represent the USA; Debra Graves and Thomas McNamara
                           representing the defendant. Taken Under Advisement, Written Order to Follow. (Court
                           Reporter FTR.) (Powers, S.) (Entered: 03/26/2010)
 04/01/2010            281 ORDER as to Daniel Patrick Boyd, Hysen Sheriﬁ, Anes Subasic, Zakariya Boyd, Dylan
                           Boyd, Mohammad Omar Aly Hassan, Ziyad Yaghi - in reference to [DE #277] and [DE
                           #279]. Any responses to these motions shall be ﬁled no later than 4/12/10. These motions
                           shall be heard at the status conference scheduled for 4/16/10 at 10:00 a.m. Signed by USMJ
                           James E. Gates on 3/31/2010. Copies served electronically. (Rudd, D.) (Entered: 04/01/2010)
 04/01/2010            282 NOTICE OF ATTORNEY APPEARANCE Jason M Kellhofer appearing for USA.
                           (Kellhofer, Jason) (Entered: 04/01/2010)
 04/02/2010            285 ORDER as to Daniel Patrick Boyd, Hysen Sheriﬁ, Anes Subasic, Zakariya Boyd, Dylan
                           Boyd, Mohammad Omar Aly Hassan, Ziyad Yaghi - This matter comes before the court on its
                           own initiative. The court now amends its prior order by setting trial to begin Monday,
                           September 27, 2010. Proposed voir dire and jury instructions shall be ﬁled on or before
                           September 14,2010. Absent further order from the court, except as herein amended, the case
                           schedule as previously set forth remains in force and effect. Signed by Chief Judge Louise
                           Wood Flanagan on 4/1/2010. Copies served electronically. (Rudd, D.) (Entered: 04/02/2010)
 04/02/2010                    Motion Submission as to Ziyad Yaghi re 283 Ex Parte MOTION for Investigative, Expert or
                               Other Services, by Ziyad Yaghi. (Rudd, D.) (Entered: 04/02/2010)
 04/02/2010                    Set/Reset Hearings as to Daniel Patrick Boyd, Hysen Sheriﬁ, Anes Subasic, Zakariya Boyd,
                               Dylan Boyd, Mohammad Omar Aly Hassan, Ziyad Yaghi: Jury Selection set for 9/27/2010
                               Place Be Determined before Chief Judge Louise Wood Flanagan. Jury Trial set for 9/27/2010
                               Place To Be Determined before Chief Judge Louise Wood Flanagan. (Rudd, D.) (Entered:
                               04/02/2010)
 04/02/2010            286 Minute Entry for proceedings held before USMJ James E. Gates: Telephone Conference held
                           on 1 April 2010. Barbara Kocher for government; Debra Graves and Thomas McNamara for
                           defendants; Melynda Broomﬁeld, law clerk. Court conferred with counsel concerning
                           transcript preparation process. Written order to follow. (CHAM, MB) (Entered: 04/02/2010)
 04/05/2010            288 NOTICE OF ATTORNEY APPEARANCE Jason Harris Cowley appearing for USA.
                           (Cowley, Jason) (Entered: 04/05/2010)
 04/06/2010            289 NOTICE: The Court has entered, ex parte and under seal, a classiﬁed order addressing the
                           government's ﬁling at (DE # 265), to be provided to the Court Security Ofﬁcer on April 7,
                           2010. (Rudd, D.) (Entered: 04/07/2010)
 04/07/2010            291 ORDER as to Daniel Patrick Boyd, Hysen Sheriﬁ, Anes Subasic, Zakariya Boyd, Dylan
                           Boyd, Mohammad Omar Aly Hassan, Ziyad Yaghi - Re: provisions and procedures for status
                           conference set for 4/16/10. Signed by USMJ James E. Gates on 4/7/2010. Copies served
                           electronically. (Rudd, D.) (Entered: 04/07/2010)
 04/12/2010            295 NOTICE classiﬁed ex parte ﬁling. (Kocher, Barbara) (Entered: 04/12/2010)
 04/12/2010            296 NOTICE of classiﬁed ex parte ﬁling. (Kocher, Barbara) (Entered: 04/12/2010)
 04/12/2010            297
                        CaseNOTICE   of classiﬁed ﬁling.
                             5:09-cr-00216-FL            (Kocher,
                                                   Document       Barbara)
                                                               2364   Filed(Entered:
                                                                             03/25/2104/12/2010)
                                                                                         Page 16 of 74
https://ecf.nced.uscourts.gov/cgi-bin/DktRpt.pl?138298681748329-L_1_0-1                                                 16/74
3/25/2021                                                                 CM/ECF - NCED

 04/13/2010            298 NOTICE of proposed agenda. (Kocher, Barbara) (Entered: 04/13/2010)
 04/16/2010            303 Minute Entry for proceedings held before USMJ James E. Gates:Status Conference as to
                           Daniel Patrick Boyd, Hysen Sheriﬁ, Anes Subasic, Zakariya Boyd, Dylan Boyd, Jude Kenan
                           Mohammad, Mohammad Omar Aly Hassan, Ziyad Yaghi held on 4/16/2010. Present for
                           USA: Barbara Kocher, Jason Kellhofer, Jason Cowley. Defendant's present with counsel:
                           Debra Graves, Rosemary Godwin for Daniel Boyd, Robert McAfee for Sheriﬁ, John Keating
                           Wiles for Subasic, Myron Hill, Jr For Zakariya Boyd, Joseph Zeszotarski, Jr. for Dylan Boyd,
                           R. Daniel Boyce for Hassan, J. Douglas McCullough for Yaghi. Written Order to Follow.
                           Court goes forward with sealed discussions and ex parte matters. (Court Reporter Donna
                           Tomawski.) (Powers, S.) (Entered: 04/16/2010)
 04/20/2010            306 NOTICE OF ATTORNEY APPEARANCE John Bowler appearing for USA. (Bowler, John)
                           (Entered: 04/20/2010)
 04/20/2010                    Minute Entry for proceedings held before USMJ James E. Gates: Telephone Conference held
                               on 20 April 2010. Barbara Kocher for government; Debra Graves, Rosemary Godwin, and
                               Thomas McNamara for defendants. Court conferred with counsel concerning transcript
                               preparation process. (CMF) (Entered: 04/23/2010)
 04/27/2010            315 ORDER as to Daniel Patrick Boyd, Hysen Sheriﬁ, Anes Subasic, Zakariya Boyd, Dylan
                           Boyd, Mohammad Omar Aly Hassan, Ziyad Yaghi; Re: This order memorializes rulings made
                           at and other decisions reached at the discovery conference held on 4/16/10. The next status
                           conference shall be held on 5/24/10 at 10:00 a.m. in Courtroom #2 on the Seventh Floor of the
                           Terry Sanford Federal Building and Courthouse, Raleigh, North Carolina. Signed by USMJ
                           James E. Gates on 4/26/2010. Copies served electronically. (Rudd, D.) (Entered: 04/27/2010)
 04/27/2010                    Set/Reset Hearings as to Daniel Patrick Boyd, Hysen Sheriﬁ, Anes Subasic, Zakariya Boyd,
                               Dylan Boyd, Mohammad Omar Aly Hassan, Ziyad Yaghi: Status Conference set for
                               5/24/2010 10:00 AM in Raleigh - 7th Floor - Courtroom 2 before USMJ James E. Gates.
                               (Rudd, D.) (Entered: 04/27/2010)
 04/27/2010            316 MOTION to Take Deposition in foreign country by Ziyad Yaghi. (Attachments: # 1 Exhibit
                           Waiver to Attend Deposition) (McCullough, J.) (Entered: 04/27/2010)
 04/27/2010            317 Proposed Order by Ziyad Yaghi - re: 316 MOTION to Take Deposition in foreign country.
                           (McCullough, J.) (Entered: 04/27/2010)
 04/27/2010                    Motion Submission as to Ziyad Yaghi re 316 MOTION to Take Deposition in foreign country
                               submitted to Chief Judge Flanagan for consideration. (Rudd, D.) (Entered: 04/27/2010)
 04/27/2010                    Minute Entry for proceedings held before USMJ James E. Gates: Ex Parte Telephone
                               Conference held on 27 April 2010 with Robert J. McAfee, defense counsel liaison for
                               computer discovery issues. Court conferred with counsel concerning review of computer hard
                               drives. (CMF) (Entered: 04/27/2010)
 04/29/2010            321 ORDER granting 114 Motion to Exclude as to Ziyad Yaghi (8). Signed by Chief Judge Louise
                           Wood Flanagan on 4/27/2010. Copies served electronically. (Rudd, D.) (Entered: 04/29/2010)
 04/29/2010            323 NOTICE of ex parte, under seal, classiﬁed ﬁling (Kocher, Barbara) (Entered: 04/29/2010)
 04/30/2010            324 NOTICE: The Court has entered, ex parte and under seal, a classiﬁed order addressing the
                           government's ﬁling at Docket Entry 295, to be provided to the Court Security Ofﬁcer or
                           designee on May 3, 2010. (Rudd, D.) (Entered: 04/30/2010)
 04/30/2010            325 NOTICE RE: EXPERTS. (Bowler, John) (Entered: 04/30/2010)
 05/06/2010            333 PROPOSED SEALED Document re 316 MOTION to Take Deposition in foreign country by
                           Ziyad Yaghi (McCullough, J.) (Entered: 05/06/2010)

                        Case 5:09-cr-00216-FL Document 2364 Filed 03/25/21 Page 17 of 74
https://ecf.nced.uscourts.gov/cgi-bin/DktRpt.pl?138298681748329-L_1_0-1                                               17/74
3/25/2021                                                                 CM/ECF - NCED

 05/11/2010            334 SEALED ORDER as to Daniel Patrick Boyd, Hysen Sheriﬁ, Anes Subasic, Zakariya Boyd,
                           Dylan Boyd, Mohammad Omar Aly Hassan, Ziyad Yaghi. Signed by USMJ James E. Gates
                           on 5/10/2010. Copies served on counsel. (Rudd, D.) (Entered: 05/11/2010)
 05/13/2010            337 ORDER in reference: [DE #279] as to Daniel Patrick Boyd, Hysen Sheriﬁ, Anes Subasic,
                           Zakariya Boyd, Dylan Boyd, Mohammad Omar Aly Hassan, Ziyad Yaghi - this order is in
                           reference to compel and for other relief that relate to unclassiﬁed matters. Signed by USMJ
                           James E. Gates on 5/13/2010. Copies served electronically. (Rudd, D.) (Entered: 05/13/2010)
 05/14/2010            338 NOTICE: The Court has entered an under seal classiﬁed order to be provided to the parties by
                           the Court Security Ofﬁcer or designee on May 14, 2010. (Powers, S.) (Entered: 05/14/2010)
 05/14/2010                    Minute Entry for proceedings held before USMJ James E. Gates: Telephone Conference held
                               on 14 May 2010. Barbara Kocher and John Bowler for government; Debra Graves and
                               Rosemary Godwin for defendants. Court conferred with counsel concerning transcript
                               preparation process. (CMF) (Entered: 05/17/2010)
 05/17/2010            339 NOTICE: The court has entered, ex parte and under seal, a classiﬁed order to be provided to
                           the Court Security Ofﬁcer or designee on May 18, 2010. (Rudd, D.) (Entered: 05/17/2010)
 05/17/2010            340 NOTICE: The court has entered an under seal classiﬁed order requiring supplemental brieﬁng
                           as to defense counsel's motion at DE 279, to be provided to the Court Security Ofﬁcer or
                           designee on May 18, 2010. (Rudd, D.) (Entered: 05/17/2010)
 05/17/2010                    Minute Entry for proceedings held before USMJ James E. Gates: Telephone Conference held
                               on 17 May 2010. Barbara Kocher and John Bowler for government; Debra Graves, Tom
                               McNamara, Elizabeth Luck for defendants. Court conferred with counsel concerning
                               transcript preparation process. (CMF) (Entered: 05/18/2010)
 05/17/2010            624 ORDER as to Daniel Patrick Boyd, Hysen Sheriﬁ, Anes Subasic, Zakariya Boyd, Dylan
                           Boyd, Mohammad Omar Aly Hassan, Ziyad Yaghi (Redacted DE 340). Signed by Chief
                           Judge Louise Wood Flanagan on 5/17/2010. Copies served electronically. (Rudd, D.)
                           (Entered: 10/26/2010)
 05/18/2010            346 ORDER as to Daniel Patrick Boyd, Hysen Sheriﬁ, Anes Subasic, Zakariya Boyd, Dylan
                           Boyd, Mohammad Omar Aly Hassan, Ziyad Yaghi; Re: Transcription matters - Counsel
                           should review the order in its entirety for critical deadlines and information. Signed by USMJ
                           James E. Gates on 5/18/2010. Copies served electronically. (Rudd, D.) (Entered: 05/18/2010)
 05/20/2010            349 MOTION for Extension of Time to Make Preliminary and Final Designations of Foreign
                           Depositions until June 22, 2010 and July 6, 2010. (McCullough, J.) (Entered: 05/20/2010)
 05/20/2010            350 Proposed Order by Ziyad Yaghi re 349 MOTION for Extension of Time to Make Preliminary
                           and Final Designations of Foreign Depositions until June 22, 2010 and July 6, 2010
                           (McCullough, J.) (Entered: 05/20/2010)
 05/20/2010            351 MOTION for Extension of Time to Designate Experts until June 30, 2010. (McCullough, J.)
                           (Entered: 05/20/2010)
 05/20/2010            352 Proposed Order by Ziyad Yaghi re 351 MOTION for Extension of Time to Designate Experts
                           until June 30, 2010 (McCullough, J.) (Entered: 05/20/2010)
 05/21/2010            357 PRETRIAL MEMORANDUM by USA in Supplement to OFPD Filing by Daniel Patrick
                           Boyd, Hysen Sheriﬁ, Anes Subasic, Zakariya Boyd, Dylan Boyd, Mohammad Omar Aly
                           Hassan, Ziyad Yaghi (Bowler, John) (Entered: 05/21/2010)
 05/21/2010            359 STATUS REPORT /Joint Agenda for May 24, 2010 hearing by USA as to Daniel Patrick
                           Boyd, Hysen Sheriﬁ, Anes Subasic, Zakariya Boyd, Dylan Boyd, Jude Kenan Mohammad,
                           Mohammad Omar Aly Hassan, Ziyad Yaghi (Kocher, Barbara) (Entered: 05/21/2010)
 05/24/2010            361 Minute Entry for proceedings held before USMJ James E. Gates:Status Conference as to
                        Case 5:09-cr-00216-FL Document 2364 Filed 03/25/21 Page 18 of 74
https://ecf.nced.uscourts.gov/cgi-bin/DktRpt.pl?138298681748329-L_1_0-1                                                18/74
3/25/2021                                                                 CM/ECF - NCED

                               Daniel Patrick Boyd, Hysen Sheriﬁ, Anes Subasic, Zakariya Boyd, Dylan Boyd, Jude Kenan
                               Mohammad, Mohammad Omar Aly Hassan, Ziyad Yaghi held on 5/24/2010. Present - USA:
                               Barb Kocher, Jason Kellhofer, John Bowler; DFT: Debra Graves, Rosemary Godwin, Thomas
                               McNamara, RobertMcAfee, John Wiles, Myron Hill, Jr., Joseph Zeszotarski, Daniel
                               Boyce,Douglas McCullough. Written Order to Follow. Court goes forward with sealed
                               discussions and ex parte matters. (Court Reporter Donna Tomawski.) (Powers, S.) (Entered:
                               05/24/2010)
 05/24/2010            362 NOTICE. Signed by Judge Louise W. Flanagan on 5/20/2010. Copies served electronically.
                           (Rudd, D.) (Entered: 05/24/2010)
 05/25/2010            366 ORDER setting deadlines re: 360 MOTION to Continue Arraignment and Trial ﬁled by
                           Hysen Sheriﬁ. Signed by USMJ James E. Gates on 5/25/10. (Cress, L.) (Entered: 05/25/2010)
 05/26/2010            368 ORDER as to Daniel Patrick Boyd, Hysen Sheriﬁ, Anes Subasic, Zakariya Boyd, Dylan
                           Boyd, Mohammad Omar Aly Hassan, Ziyad Yaghi re 360 MOTION to Continue Arraignment
                           and Trial ﬁled by Hysen Sheriﬁ, 367 MOTION to Continue Arraignment and Trial ﬁled by
                           Daniel Patrick Boyd. Signed by USMJ James E. Gates on 5/26/2010. Copies served
                           electronically. (Rudd, D.) (Entered: 05/26/2010)
 05/26/2010            369 NOTICE (Amended) of Classiﬁed Filing re 365 Notice (Other) (McAfee, Robert) (Entered:
                           05/26/2010)
 05/28/2010            372 NOTICE of ﬁling (Kocher, Barbara) (Entered: 05/28/2010)
 05/28/2010            381 ORDER granting in part 358 Motion for Extension of Time to ﬁle designations of witnesses
                           for foreign depositions as to Daniel Patrick Boyd (1); granting 371 Motion for Extension of
                           Time to File as to Anes Subasic (3); granting in part 349 Motion for Extension of Time to ﬁle
                           designations of witnesses for foreign depositions as to Ziyad Yaghi (8) 357 Governments
                           Motion for Extension of Time to designate Remaining portions of Audion Recordings;
                           Denying [DE #356] Motion to be Relieved as Defendant Transcription Liaison. The next
                           Status Conference shall be held on Wednesday, 6/30/2010 at 10:00 a.m. in Courtroom #2, of
                           the Terry Sanford Federal Building and Courthouse, 310 New Bern Avenue, Raleigh, North
                           Carolina. Signed by USMJ James E. Gates on 5/28/2010. Copies served electronically. (Rudd,
                           D.) (Entered: 05/28/2010)
 05/28/2010                    Set/Reset Hearings as to Daniel Patrick Boyd, Hysen Sheriﬁ, Anes Subasic, Zakariya Boyd,
                               Dylan Boyd, Mohammad Omar Aly Hassan, Ziyad Yaghi: Status Conference set for
                               6/30/2010 10:00 AM in Raleigh - 7th Floor - Courtroom 2 before USMJ James E. Gates.
                               (Rudd, D.) (Entered: 05/28/2010)
 06/01/2010            382 MOTION to Continue Arraignment and Trial by Ziyad Yaghi. (McCullough, J.) (Entered:
                           06/01/2010)
 06/01/2010            383 Proposed Order by Ziyad Yaghi re 382 MOTION to Continue Arraignment and Trial
                           (McCullough, J.) (Entered: 06/01/2010)
 06/01/2010            384 MOTION for Extension of Time Extend Deadline to File Motions Related to Classiﬁed
                           Discovery until 30 days. (McCullough, J.) (Entered: 06/01/2010)
 06/01/2010            385 Proposed Order by Ziyad Yaghi re 384 MOTION for Extension of Time Extend Deadline to
                           File Motions Related to Classiﬁed Discovery until 30 days (McCullough, J.) (Entered:
                           06/01/2010)
 06/01/2010            386 RESPONSE to Motion by Anes Subasic as to Daniel Patrick Boyd, Hysen Sheriﬁ, Anes
                           Subasic, Zakariya Boyd, Dylan Boyd, Jude Kenan Mohammad, Mohammad Omar Aly
                           Hassan, Ziyad Yaghi re 360 MOTION to Continue Arraignment and Trial, 367 MOTION to
                           Continue Arraignment and Trial (Wiles, John) (Entered: 06/01/2010)
 06/01/2010            388 SEALED MOTION by Ziyad Yaghi (Attachments: # 1 Exhibit Defendant's Waiver of
                        Case 5:09-cr-00216-FL Document 2364 Filed 03/25/21 Page 19 of 74
https://ecf.nced.uscourts.gov/cgi-bin/DktRpt.pl?138298681748329-L_1_0-1                                               19/74
3/25/2021                                                                 CM/ECF - NCED

                               Attendance at Depositions) (McCullough, J.) Modiﬁed on 7/23/2010 to reﬂect that document
                               is no longer "proposed sealed" per 520 Order sealing. (Cress, L.) (Entered: 06/01/2010)
 06/01/2010            389 Proposed Order by Ziyad Yaghi re 388 PROPOSED SEALED MOTION by Ziyad Yaghi
                           (McCullough, J.) (Entered: 06/01/2010)
 06/01/2010            390 MOTION to Seal 388 PROPOSED SEALED MOTION by Ziyad Yaghi by Ziyad Yaghi.
                           (Attachments: # 1 Text of Proposed Order Order on Motion to Seal) (McCullough, J.)
                           (Entered: 06/01/2010)
 06/01/2010            399 RESPONSE to Motion by USA as to Daniel Patrick Boyd, Hysen Sheriﬁ, Anes Subasic,
                           Zakariya Boyd, Dylan Boyd, Jude Kenan Mohammad, Mohammad Omar Aly Hassan, Ziyad
                           Yaghi re 373 MOTION to Continue Arraignment and Trial; and Adoption of Motion to
                           Continue Arraignment and Trial of Daniel Patrick Boyd (doc 367) MOTION to Continue
                           Arraignment and Trial; and Adoption of Motion to Continue Arraignment and Trial of Daniel
                           Patrick Boyd (doc 367), 360 MOTION to Continue Arraignment and Trial, 387 MOTION to
                           Continue Trial and Incorporated Memorandum of Law, 382 MOTION to Continue
                           Arraignment and Trial, 367 MOTION to Continue Arraignment and Trial Response to
                           Motions to Continue (Bowler, John) (Entered: 06/01/2010)
 06/01/2010            401 RESPONSE to Motion by Mohammad Omar Aly Hassan as to Daniel Patrick Boyd, Hysen
                           Sheriﬁ, Anes Subasic, Zakariya Boyd, Dylan Boyd, Jude Kenan Mohammad, Mohammad
                           Omar Aly Hassan, Ziyad Yaghi re 373 MOTION to Continue Arraignment and Trial; and
                           Adoption of Motion to Continue Arraignment and Trial of Daniel Patrick Boyd (doc 367)
                           MOTION to Continue Arraignment and Trial; and Adoption of Motion to Continue
                           Arraignment and Trial of Daniel Patrick Boyd (doc 367), 360 MOTION to Continue
                           Arraignment and Trial, 387 MOTION to Continue Trial and Incorporated Memorandum of
                           Law, 382 MOTION to Continue Arraignment and Trial, 367 MOTION to Continue
                           Arraignment and Trial (Attachments: # 1 Exhibit A - Portions of Detention Hearing
                           Transcript) (Boyce, R.) (Entered: 06/01/2010)
 06/02/2010            404 NOTICE of ﬁling (Bowler, John) (Entered: 06/02/2010)
 06/03/2010            405 REPLY TO RESPONSE to Motion by USA as to Daniel Patrick Boyd, Hysen Sheriﬁ, Anes
                           Subasic, Zakariya Boyd, Dylan Boyd, Jude Kenan Mohammad, Mohammad Omar Aly
                           Hassan, Ziyad Yaghi re 373 MOTION to Continue Arraignment and Trial; and Adoption of
                           Motion to Continue Arraignment and Trial of Daniel Patrick Boyd (doc 367) MOTION to
                           Continue Arraignment and Trial; and Adoption of Motion to Continue Arraignment and Trial
                           of Daniel Patrick Boyd (doc 367), 360 MOTION to Continue Arraignment and Trial, 387
                           MOTION to Continue Trial and Incorporated Memorandum of Law, 382 MOTION to
                           Continue Arraignment and Trial, 367 MOTION to Continue Arraignment and Trial and DE
                           401 (Bowler, John) (Entered: 06/03/2010)
 06/03/2010            406 ORDER as to Daniel Patrick Boyd, Hysen Sheriﬁ, Anes Subasic, Zakariya Boyd, Dylan
                           Boyd, Mohammad Omar Aly Hassan, Ziyad Yaghi re 404 Notice (Other). The governments
                           request is ALLOWED. Defendant Sheriﬁ shall have seven days from service of the response
                           to ﬁle any reply. Signed by Chief Judge Louise Wood Flanagan on 6/3/2010. Copies served
                           electronically. (Rudd, D.) (Entered: 06/03/2010)
 06/07/2010            407 NOTICE of ﬁling a classiﬁed response (Kocher, Barbara) (Entered: 06/07/2010)
 06/09/2010            409 ORDER as to Daniel Patrick Boyd, Hysen Sheriﬁ, Anes Subasic, Zakariya Boyd, Dylan
                           Boyd, Mohammad Omar Aly Hassan, Ziyad Yaghi; Re: Defense Motions for continuance of
                           trial - Please pay close attention to the deadlines given in the order. Signed by USMJ James E.
                           Gates on 6/9/2010. Copies served electronically. (Rudd, D.) (Entered: 06/09/2010)
 06/09/2010            410 ORDER as to Daniel Patrick Boyd, Hysen Sheriﬁ, Anes Subasic, Zakariya Boyd, Dylan
                           Boyd, Mohammad Omar Aly Hassan, Ziyad Yaghi - The government is directed to serve on
                           defendants its proposed changes to the existing transcripts no later than 6/21/10. Signed by
                        Case 5:09-cr-00216-FL Document 2364 Filed 03/25/21 Page 20 of 74
https://ecf.nced.uscourts.gov/cgi-bin/DktRpt.pl?138298681748329-L_1_0-1                                                20/74
3/25/2021                                                                 CM/ECF - NCED

                               USMJ James E. Gates on 6/9/2010. Copies served electronically. (Rudd, D.) (Entered:
                               06/09/2010)
 06/11/2010            412 ORDER granting 367 Motion to Continue as to Daniel Patrick Boyd (1); denying as moot 378
                           Motion for Extension of Time as to Daniel Patrick Boyd (1); denying as moot 379 Motion for
                           Extension of Time as to Daniel Patrick Boyd (1); granting 360 Motion to Continue as to
                           Hysen Sheriﬁ (2); denying as moot 397 Motion for Extension of Time as to Hysen Sheriﬁ (2);
                           denying as moot 398 Motion for Extension of Time as to Hysen Sheriﬁ (2); denying as moot
                           375 Motion for Extension of Time to File as to Anes Subasic (3); granting 373 Motion to
                           Continue as to Zakariya Boyd (4); granting 387 Motion to Continue as to Dylan Boyd (5);
                           denying as moot 396 Motion for Extension of Time as to Dylan Boyd (5); denying as moot
                           400 Motion for Extension of Time as to Mohammad Omar Aly Hassan (7); denying as moot
                           351 Motion for Extension of Time as to Ziyad Yaghi (8); granting 382 Motion to Continue as
                           to Ziyad Yaghi (8). Arraignment is continued for 8/15/2011. Trial is continued to 9/19/2011.
                           Proposed jury questionnaires shall be ﬁled no later than 7/15/11. Proposed jury instruction are
                           due by 9/5/11. Speedy trial time is excluded. Signed by Chief Judge Louise Wood Flanagan
                           on 6/11/2010. Copies served electronically. (Rudd, D.) (Entered: 06/11/2010)
 06/11/2010                    Set/Reset Hearings as to Daniel Patrick Boyd, Hysen Sheriﬁ, Anes Subasic, Zakariya Boyd,
                               Dylan Boyd, Mohammad Omar Aly Hassan, Ziyad Yaghi: Arraignment set for 8/15/2011 in
                               To Be Determined before Chief Judge Louise Wood Flanagan. Jury Trial set for 9/19/2011 in
                               To Be Determined before Chief Judge Louise Wood Flanagan. (Rudd, D.) (Entered:
                               06/11/2010)
 06/11/2010            413 PRETRIAL MEMORANDUM Pursuant to Order 409 by Ziyad Yaghi (McCullough, J.)
                           (Entered: 06/11/2010)
 06/14/2010            418 NOTICE of disclosure of designations (Kocher, Barbara) (Entered: 06/14/2010)
 06/14/2010            419 MOTION for Extension of Time for the Production Deadline as to Consensual recordings
                           until August 23, 2010. (Attachments: # 1 Text of Proposed Order) (Bowler, John) (Entered:
                           06/14/2010)
 06/15/2010                    Motion Submission as to Daniel Patrick Boyd, Hysen Sheriﬁ, Anes Subasic, Zakariya Boyd,
                               Dylan Boyd, Mohammad Omar Aly Hassan, Ziyad Yaghi re 419 MOTION for Extension of
                               Time for the Production Deadline as to Consensual recordings until August 23, 2010
                               submitted to Chief Judge Flanagan for consideration. (Rudd, D.) (Entered: 06/15/2010)
 06/15/2010                    MOTIONS as to Daniel Patrick Boyd, Hysen Sheriﬁ, Anes Subasic, Zakariya Boyd, Dylan
                               Boyd, Mohammad Omar Aly Hassan, Ziyad Yaghi REFERRED to Magistrate Judge: 419
                               MOTION for Extension of Time for the Production Deadline as to Consensual recordings
                               until August 23, 2010, 417 MOTION for Extension of Time Filing of Motions Relating to
                               Depositions of Foreign Witness until August 14, 2010 Motions referred to James E. Gates.
                               (Rudd, D.) (Entered: 06/15/2010)
 06/15/2010            420 NOTICE Regarding Expert Testimony Pursuant to Rule 16(a)(1)(G) (McCullough, J.)
                           (Entered: 06/15/2010)
 06/18/2010            434 ORDER GRANTING IN PART 419 Government's Motion for Extension of Time for the
                           production deadline as to consensual recordings. Signed by USMJ James E. Gates on 6/18/10.
                           (Cress, L.) (Entered: 06/18/2010)
 06/25/2010            440 MOTION to Amend/Correct 388 PROPOSED SEALED MOTION by Ziyad Yaghi ﬁled by
                           Ziyad Yaghi by Ziyad Yaghi. (McCullough, J.) (Entered: 06/25/2010)
 06/25/2010            441 MOTION to Produce Defendant for Hearing by Ziyad Yaghi. (McCullough, J.) (Entered:
                           06/25/2010)
 06/25/2010            442 Proposed Order by Ziyad Yaghi re 441 MOTION to Produce Defendant for Hearing
                           (McCullough, J.) (Entered: 06/25/2010)
                        Case 5:09-cr-00216-FL Document 2364 Filed 03/25/21 Page 21 of 74
https://ecf.nced.uscourts.gov/cgi-bin/DktRpt.pl?138298681748329-L_1_0-1                                                   21/74
3/25/2021                                                                 CM/ECF - NCED

 06/25/2010                    MOTION as to Ziyad Yaghi REFERRED to Magistrate Judge: 441 MOTION to Produce
                               Defendant for Hearing Motions referred to James E. Gates. (Castania, Marsha) (Entered:
                               06/25/2010)
 06/25/2010            445 ORDER GRANTING 441 Motion to Produce as to Ziyad Yaghi (8). Signed by USMJ James
                           E. Gates on 6/25/10. Copy to US Marshal. (Cress, L.) (Entered: 06/25/2010)
 06/25/2010            446 NOTICE of ﬁling jointly proposed scheduling order and conference agenda (Kocher, Barbara)
                           (Entered: 06/25/2010)
 06/25/2010            447 MOTION for Extension of Time to File Response/Reply as to 388 PROPOSED SEALED
                           MOTION by Ziyad Yaghi by USA as to Ziyad Yaghi. (Attachments: # 1 Text of Proposed
                           Order) (Kocher, Barbara) (Entered: 06/25/2010)
 06/27/2010                    MOTIONS as to Ziyad Yaghi REFERRED to Magistrate Judge: 447 MOTION for Extension
                               of Time to File Response/Reply as to 388 PROPOSED SEALED MOTION by Ziyad Yaghi
                               Motions referred to James E. Gates. (Rudd, D.) (Entered: 06/27/2010)
 06/29/2010            449 ORDER granting 447 Motion for Extension of Time to File Response/Reply as to Ziyad
                           Yaghi (8). The government shall ﬁle its response to the proposed sealed motion by defendant
                           Ziyad Yaghi at D.E. 388. by 2 July 2010. Signed by USMJ James E. Gates on 06/29/2010.
                           Copies served electronically. (Baker, C.) (Entered: 06/29/2010)
 06/30/2010            450 Minute Entry for proceedings held before USMJ James E. Gates:Status Conference as to
                           Daniel Patrick Boyd, Hysen Sheriﬁ, Anes Subasic, Zakariya Boyd, Dylan Boyd, Jude Kenan
                           Mohammad, Mohammad Omar Aly Hassan, Ziyad Yaghi held on 6/30/2010. Present - USA:
                           Barb Kocher, Jason Kellhofer, John Bowler; Defendant: Debra Graves, Rosemary Godwin,
                           Thomas McNamara, Robert McAfee,, Myron Hill, Jr., Joseph Zeszotarski, Daniel Boyce,
                           Douglas McCullough. Written Order to Follow. Court goes forward with sealed discussions
                           and ex parte matters. (Court Reporter Harry Hagopian) (Powers, S.) (Entered: 06/30/2010)
 07/01/2010            451 ORDER as to Daniel Patrick Boyd, Hysen Sheriﬁ, Anes Subasic, Zakariya Boyd, Dylan
                           Boyd, Mohammad Omar Aly Hassan, Ziyad Yaghi re: Memorandum of Understanding with
                           attachment. Signed by Chief Judge Louise Wood Flanagan on 6/30/2010. Copies served
                           electronically. (Rudd, D.) (Entered: 07/01/2010)
 07/02/2010            453 RESPONSE in Opposition by USA as to Ziyad Yaghi re 388 PROPOSED SEALED
                           MOTION by Ziyad Yaghi, 440 MOTION to Amend/Correct 388 PROPOSED SEALED
                           MOTION by Ziyad Yaghi ﬁled by Ziyad Yaghi (Kocher, Barbara) (Entered: 07/02/2010)
 07/02/2010                    MOTIONS as to Ziyad Yaghi REFERRED to Magistrate Judge: 388 PROPOSED SEALED
                               MOTION by Ziyad Yaghi, 440 MOTION to Amend/Correct 388 PROPOSED SEALED
                               MOTION by Ziyad Yaghi ﬁled by Ziyad Yaghi, 390 MOTION to Seal 388 PROPOSED
                               SEALED MOTION by Ziyad Yaghi Motions referred to James E. Gates. (Rudd, D.) (Entered:
                               07/02/2010)
 07/06/2010            458 Second MOTION to Produce Defendant for Hearing by Ziyad Yaghi. (McCullough, J.)
                           (Entered: 07/06/2010)
 07/06/2010            459 Proposed Order by Ziyad Yaghi re 458 Second MOTION to Produce Defendant for Hearing
                           (McCullough, J.) (Entered: 07/06/2010)
 07/06/2010            460 SEALED MOTION by Ziyad Yaghi (McCullough, J.) Modiﬁed on 7/23/2010 to reﬂect that
                           motion is no longer "proposed sealed" per 520 Order sealing. (Cress, L.) (Entered:
                           07/06/2010)
 07/06/2010            461 Proposed Order by Ziyad Yaghi re 460 PROPOSED SEALED MOTION by Ziyad Yaghi
                           (McCullough, J.) (Entered: 07/06/2010)
 07/06/2010            463 SEALED Document re 451 Order, by Ziyad Yaghi (McCullough, J.). (Entered: 07/06/2010)
                        Case 5:09-cr-00216-FL Document 2364 Filed 03/25/21 Page 22 of 74
https://ecf.nced.uscourts.gov/cgi-bin/DktRpt.pl?138298681748329-L_1_0-1                                                 22/74
3/25/2021                                                                 CM/ECF - NCED

 07/06/2010            464 SEALED Document re 451 Order, by Ziyad Yaghi (McCullough, J.). (Entered: 07/06/2010)
 07/13/2010            470 Third MOTION to Produce Defendant for Hearing by Ziyad Yaghi. (McCullough, J.)
                           (Entered: 07/13/2010)
 07/13/2010            471 Proposed Order by Ziyad Yaghi re 470 Third MOTION to Produce Defendant for Hearing
                           (McCullough, J.) (Entered: 07/13/2010)
 07/14/2010            476 ORDER granting 470 Motion to Produce defendant for administrative conference on 7/29/10
                           as to Ziyad Yaghi (8). Signed by Chief Judge Louise Wood Flanagan on 7/14/10. Copy to US
                           Marshal Service. (Cress, L.) (Entered: 07/14/2010)
 07/14/2010            478 ORDER Setting Discovery Conference - Hearing Set for Tuesday, August 17, 2010 at 10:00
                           AM in Raleigh - 5th Floor Courtroom before US Magistrate Judge James E. Gates. Counsel
                           should review the order in its entirety for critical deadlines and information. Signed by US
                           Magistrate Judge James E. Gates on 7/14/2010. (Callihan, J.) (Entered: 07/15/2010)
 07/14/2010            479 ORDER ADOPTING the amended pretrial schedule in the table appended hereto in light of
                           the court's 11 June 2010 order (Docket Entry 412) continuing the trial of this matter as to
                           Daniel Patrick Boyd, Hysen Sheriﬁ, Anes Subasic, Zakariya Boyd, Dylan Boyd, Mohammad
                           Omar Aly Hassan, Ziyad Yaghi. Counsel should review the order and amended pretrial
                           schedule in the table appended hereto in its entirety for critical deadlines and information.
                           Signed by US Magistrate Judge James E. Gates on 7/14/2010. (Callihan, J.) (Entered:
                           07/15/2010)
 07/14/2010            480 ORDER on the motion (Docket Entry 390) by defendant Ziyad Yaghi to seal his proposed
                           sealed motion (Docket Entry 388) ﬁled June 1, 2010. Counsel should review the order in its
                           entirety for critical deadlines and information. Signed by US Magistrate Judge James E. Gates
                           on 6/14/2010. (Callihan, J.) (Entered: 07/15/2010)
 07/14/2010            481 ORDER as to Ziyad Yaghi (8) - [DE440] Motion to Amended Second Motion is Denied
                           Without Prejudice to defendant's right to ﬁle a renewed motion at a later date. The Clerk is
                           further Directed to terminate [DE388] Sealed Motion. Defendant's motion (DE460) is Denied
                           as Moot. Signed by US Magistrate Judge James E. Gates on 6/14/2010. (Callihan, J.)
                           (Entered: 07/15/2010)
 07/14/2010            482 ORDER granting 458 Motion to Produce defendant to attend the status conference set for
                           Tuesday, August 17, 2010 at 10:00 a.m. in the 5th Floor Courtroom - Raleigh, NC. The US
                           Marshal is DIRECTED to produce defendant for the conference as to Ziyad Yaghi (8). Signed
                           by US Magistrate James E. Gates on 6/14/2010. Served US Marshal. (Callihan, J.) (Entered:
                           07/15/2010)
 07/15/2010            485 ORDER as to Daniel Patrick Boyd, Hysen Sheriﬁ, Anes Subasic, Zakariya Boyd, Dylan
                           Boyd, Mohammad Omar Aly Hassan, Ziyad Yaghi. This Order memorializes certain rulings
                           made at and other decisions reached based on the status conference held June 30,2010.
                           Counsel should review the order in its entirety for critical information. Signed by US
                           Magistrate Judge James E. Gates on 7/15/2010. (Callihan, J.) (Entered: 07/16/2010)
 07/16/2010            487 Memorandum in Support by Ziyad Yaghi re 388 PROPOSED SEALED MOTION by Ziyad
                           Yaghi, 440 MOTION to Amend/Correct 388 PROPOSED SEALED MOTION by Ziyad
                           Yaghi ﬁled by Ziyad Yaghi (McCullough, J.) (Entered: 07/16/2010)
 07/16/2010                    Terminate Deadlines as to Daniel Patrick Boyd, Hysen Sheriﬁ, Anes Subasic, Zakariya Boyd,
                               Dylan Boyd, Jude Kenan Mohammad, Mohammad Omar Aly Hassan, Ziyad Yaghi:
                               09/27/2010 Jury Selection deadline terminated. No longer a valid deadline. (Baker, C.)
                               (Entered: 07/16/2010)
 07/19/2010            508 ORDER granting 499 Motion to Produce defendant at the July 29, 2010 conference as to
                           Mohammad Omar Aly Hassan (7). Counsel for all defendants should review the order in its
                        Case 5:09-cr-00216-FL Document 2364 Filed 03/25/21 Page 23 of 74
https://ecf.nced.uscourts.gov/cgi-bin/DktRpt.pl?138298681748329-L_1_0-1                                               23/74
3/25/2021                                                                 CM/ECF - NCED

                               entirety for critical deadlines and information. Signed by Chief Judge Louise Wood Flanagan
                               on 7/19/10. (Cress, L.) (Entered: 07/20/2010)
 07/21/2010            515 NOTICE of ﬁling (Kocher, Barbara) (Entered: 07/21/2010)
 07/27/2010            524 SEALED MOTION by Ziyad Yaghi (Attachments: # 1 Exhibit Letter, # 2 Exhibit Letter, # 3
                           Text of Proposed Order Proposed Order) (McCullough, J.). (Entered: 07/27/2010)
 07/27/2010            526 SEALED Memorandum in support by Ziyad Yaghi re 525 Ex Parte Motion to Seal 524
                           PROPOSED SEALED MOTION by Ziyad Yaghi (McCullough, J.). (Entered: 07/27/2010)
 08/02/2010            532 ORDER as to Daniel Patrick Boyd, Hysen Sheriﬁ, Anes Subasic, Zakariya Boyd, Dylan
                           Boyd, Mohammad Omar Aly Hassan, Ziyad Yaghi; re: Court's protective order at [DE #188,
                           as amended by DE #202] - Counsel should review the order in its entirety for critical
                           deadlines and information. Signed by USMJ James E. Gates on 7/30/2010. Copies served
                           electronically. (Rudd, D.) (Entered: 08/02/2010)
 08/05/2010            534 SEALED RESPONSE by USA re 524 PROPOSED SEALED MOTION as to Ziyad Yaghi
                           (Bowler, John). Modiﬁed on 8/26/2010 to reﬂect correct ﬁler. (Rudd, D.). (Entered:
                           08/05/2010)
 08/12/2010            538 Minute Entry for proceedings held before USMJ James E. Gates:Telephone Conference with
                           R. Daniel Boyce, counsel for Mohammad Omar Aly Hassan, held on 11 August 2010
                           regarding ex parte motion at D.E. 536. (CHAM, MB) (Entered: 08/12/2010)
 08/12/2010            540 NOTICE NOTICE OF PROPOSED AGENDA FOR STATUS CONFERENCE (Bowler, John)
                           (Entered: 08/12/2010)
 08/16/2010            544 Proposed Order by Ziyad Yaghi re 543 Ex Parte MOTION for Investigative, Expert or Other
                           Services, by Ziyad Yaghi. (McCullough, J.) (Entered: 08/16/2010)
 08/17/2010                    Reset Hearings as to Daniel Patrick Boyd, Hysen Sheriﬁ, Anes Subasic, Zakariya Boyd,
                               Dylan Boyd, Jude Kenan Mohammad, Mohammad Omar Aly Hassan, Ziyad Yaghi: Status
                               Conference reset for 8/17/2010 10:00 AM in Raleigh - 6th Floor Courtroom before USMJ
                               James E. Gates. This changes the courtroom only, everything else remains the same. (Powers,
                               S.) (Entered: 08/17/2010)
 08/17/2010            547 Minute Entry for proceedings held before USMJ James E. Gates:Status Conference as to
                           Daniel Patrick Boyd, Hysen Sheriﬁ, Anes Subasic, Zakariya Boyd, Dylan Boyd, Jude Kenan
                           Mohammad, Mohammad Omar Aly Hassan, Ziyad Yaghi held on 8/17/2010. Defendant Yaghi
                           present with counsel. Written Order to follow. Next status conference date is set for October
                           5th at 10:00 in Raleigh, NC. Court goes forward with sealed discussions and ex parte matters
                           (Court Reporter Harry Hagopian.) (Powers, S.) Modiﬁed on 8/19/2010 to correct the date for
                           the next status conference(Powers, S.). (Additional attachment(s) added on 8/24/2010: # 1
                           Joint Proposed Order Regarding SBU Issues) (Powers, S.). (Entered: 08/17/2010)
 08/19/2010            548 Fourth MOTION to Produce Defendant for Hearing by Ziyad Yaghi. (McCullough, J.)
                           (Entered: 08/19/2010)
 08/19/2010            549 Proposed Order by Ziyad Yaghi re 548 Fourth MOTION to Produce Defendant for Hearing
                           (McCullough, J.) (Entered: 08/19/2010)
 08/20/2010            553 MOTION to Sever Defendant and/or Dismiss by Ziyad Yaghi. (McCullough, J.) (Entered:
                           08/20/2010)
 08/20/2010            554 Memorandum in Support by Ziyad Yaghi re 553 MOTION to Sever Defendant and/or
                           Dismiss (McCullough, J.) (Entered: 08/20/2010)
 08/20/2010            555 Proposed Order by Ziyad Yaghi re 553 MOTION to Sever Defendant and/or Dismiss
                           (McCullough, J.) (Entered: 08/20/2010)
                        Case 5:09-cr-00216-FL Document 2364 Filed 03/25/21 Page 24 of 74
https://ecf.nced.uscourts.gov/cgi-bin/DktRpt.pl?138298681748329-L_1_0-1                                                 24/74
3/25/2021                                                                 CM/ECF - NCED

 08/20/2010            556 Order Setting Discovery Conference - Hearing set for Tuesday, October 5, 2010 at 10:00 AM
                           in Raleigh - 5th Floor Courtroom before USMJ James E. Gates. Counsel should review the
                           order in its entirety for critical deadlines and information. Signed by USMJ James E. Gates on
                           8/20/2010. Copies served electronically. (Rudd, D.) (Entered: 08/20/2010)
 08/20/2010            557 SEALED ORDER as to Daniel Patrick Boyd, Hysen Sheriﬁ, Anes Subasic, Zakariya Boyd,
                           Dylan Boyd, Mohammad Omar Aly Hassan, Ziyad Yaghi; Re: "SBU" materials. Signed by
                           USMJ James E. Gates on 8/20/2010. Copies served on counsel. (Rudd, D.) (Entered:
                           08/20/2010)
 08/23/2010                    Motion Submission as to Ziyad Yaghi re 548 Fourth MOTION to Produce Defendant for
                               Hearing submitted to Chief Judge Flanagan for consideration. (Rudd, D.) (Entered:
                               08/23/2010)
 08/24/2010                    MOTIONS as to Ziyad Yaghi REFERRED to Magistrate Judge: 548 Fourth MOTION to
                               Produce Defendant for Hearing Motions referred to James E. Gates. (Rudd, D.) (Entered:
                               08/24/2010)
 08/25/2010            561 SEALED ORDER as to Ziyad Yaghi. Signed by USMJ James E. Gates on 8/24/2010. Copies
                           served. (Rudd, D.) (Entered: 08/25/2010)
 09/03/2010            567 RESPONSE in Opposition by USA as to Ziyad Yaghi re 553 MOTION to Sever Defendant
                           and/or Dismiss (Bowler, John) (Entered: 09/03/2010)
 09/07/2010                    Motion Submission as to Ziyad Yaghi re 553 MOTION to Sever Defendant and/or Dismiss
                               submitted to Chief Judge Flanagan for consideration. (Rudd, D.) (Entered: 09/07/2010)
 09/15/2010            578 MOTION to Produce by Ziyad Yaghi. (McCullough, J.) (Entered: 09/15/2010)
 09/15/2010            579 Proposed Order by Ziyad Yaghi re 578 MOTION to Produce (McCullough, J.) (Entered:
                           09/15/2010)
 09/21/2010            582 Proposed Order by Ziyad Yaghi re 581 Ex Parte MOTION for Investigative, Expert or Other
                           Services, by Ziyad Yaghi. (McCullough, J.) (Entered: 09/21/2010)
 09/29/2010            594 PROPOSED SEALED RESPONSE by Ziyad Yaghi re 578 MOTION to Produce (Bowler,
                           John) (Entered: 09/29/2010)
 09/30/2010            595 NOTICE of ﬁling Joint Agenda for 10/5/10 Status Conference. (Bowler, John) (Entered:
                           09/30/2010)
 10/01/2010            596 NOTICE of Filing Expert Reports (Bowler, John) (Entered: 10/01/2010)
 10/05/2010            598 Minute Entry for proceedings held before US Magistrate Judge James E. Gates in Raleigh:
                           Status Conference as to Daniel Patrick Boyd, Hysen Sheriﬁ, Anes Subasic, Zakariya Boyd,
                           Dylan Boyd, Mohammad Omar Aly Hassan, Ziyad Yaghi held on 10/5/2010. Present - US
                           Attorney: Barb Kocher, John Bowler; Defendant: Debra Graves, Rosemary Godwin, Thomas
                           McNamara, Robert McAfee, Myron Hill, Jr., Joseph Zeszotarski, Daniel Boyce, Douglas
                           McCullough. Defendant Subasic present with counsel. Interpreter afﬁrmed. The next status
                           conference is scheduled for November 16, 2010. Written Order to Follow. Court goes forward
                           with sealed discussions and ex parte matters. (Court Reporter Harry Hagopian/FTR.) (Powers,
                           S.). (Entered: 10/05/2010)
 10/12/2010            601 Order Setting Hearings - Status Conference set for 11/16/2010 10:00 AM in Raleigh - 7th
                           Floor - Courtroom 2 before US Magistrate Judge James E. Gates. Counsel should review the
                           order in its entirety for critical deadlines and information. Signed by US Magistrate Judge
                           James E. Gates on 10/12/2010. Copies served electronically. (Rudd, D.). (Entered:
                           10/12/2010)
 10/13/2010            605 Notice: The Court has entered under seal a classiﬁed order denying in part and denying as
                           moot in part the motion to compel and for a protective order (DE 279). The order will be
                        Case 5:09-cr-00216-FL Document 2364 Filed 03/25/21 Page 25 of 74
https://ecf.nced.uscourts.gov/cgi-bin/DktRpt.pl?138298681748329-L_1_0-1                                                 25/74
3/25/2021                                                                 CM/ECF - NCED

                               served on all parties by the Court Security Ofﬁcer or designee on October 14, 2010. Notice
                               served electronically. (Rudd, D.) (Entered: 10/13/2010)
 10/27/2010            625 OFFICIAL TRANSCRIPT OF SCHEDULING CONFERENCE as to Daniel Patrick Boyd,
                           Hysen Sheriﬁ, Anes Subasic, Zakariya Boyd, Dylan Boyd, Jude Kenan Mohammad,
                           Mohammad Omar Aly Hassan, Ziyad Yaghi held on 10/5/10, before Judge Gates. Court
                           Reporter Harry Hagopian, Telephone number (252) 637-1200; e-mail: hhagopian@aol.com.
                           Transcript may be purchased through the Court Reporter or viewed at the court public
                           terminal before the deadline for Release of Transcript Restriction. After that date it may be
                           obtained through PACER. Please review Attorney obligations regarding the redaction of
                           electronic transcripts of court proceedings available on the court's website. Redaction Request
                           due 11/17/2010. Redacted Transcript Deadline set for 11/27/2010. Release of Transcript
                           Restriction set for 1/25/2011. (Hagopian, Harry) (Entered: 10/27/2010)
 10/27/2010            626 SEALED OFFICIAL TRANSCRIPT OF EX PARTE HEARING WITH ALL
                           DEFENDANTS as to Daniel Patrick Boyd, Hysen Sheriﬁ, Anes Subasic, Zakariya Boyd,
                           Dylan Boyd, Jude Kenan Mohammad, Mohammad Omar Aly Hassan, Ziyad Yaghi held on
                           10-5-10, before Magistrate Judge Gates. Court Reporter Harry Hagopian, Telephone number
                           (252) 637-1200; e-mail: hhagopian@aol.com. Please review Attorney obligations regarding
                           the redaction of electronic transcripts of court proceedings available at
                           http://www.nced.uscourts.gov/PDF_Files/AttorneyTranscriptRedactionRequirements.pdf
                           (Hagopian, Harry) (Entered: 10/27/2010)
 10/27/2010                    NOTICE of Filing of Ofﬁcial Transcript 626 SEALED Transcript, 625 Transcript, 628
                               SEALED Transcript, 627 Transcript. The parties have seven calendar days from the ﬁling of
                               the transcript to ﬁle a Notice of Intent to Request Redaction. The parties must also serve a
                               copy on the court reporter or transcriber. After ﬁling the Notice of Intent to Request
                               Redaction, a party must submit to the court reporter or transcriber, within 21 calendar days of
                               the ﬁling of the transcript, a written statement indicating where the personal data identiﬁers to
                               be redacted appear in the transcript. (Hagopian, Harry) (Entered: 10/27/2010)
 11/02/2010            635 PROPOSED SEALED MOTION by Ziyad Yaghi (Attachments: # 1 Exhibit A, Order, # 2
                           Exhibit B, Order, # 3 Text of Proposed Order) (McCullough, J.) (Entered: 11/02/2010)
 11/02/2010            636 MOTION to Seal 635 PROPOSED SEALED MOTION by Ziyad Yaghi. (Attachments: # 1
                           Text of Proposed Order) (McCullough, J.) (Entered: 11/02/2010)
 11/02/2010                    Motion Submission as to Ziyad Yaghi re 635 PROPOSED SEALED MOTION by Ziyad
                               Yaghi, 636 MOTION to Seal 635 PROPOSED SEALED MOTION by Ziyad Yaghi submitted
                               to Chief Judge Flanagan for consideration. (Rudd, D.) (Entered: 11/02/2010)
 11/02/2010                    MOTIONS as to Ziyad Yaghi REFERRED to Magistrate Judge: 635 PROPOSED SEALED
                               MOTION by Ziyad Yaghi, 636 MOTION to Seal 635 PROPOSED SEALED MOTION by
                               Ziyad Yaghi Motions referred to James E. Gates. (Rudd, D.) (Entered: 11/02/2010)
 11/02/2010            637 TEXT ORDER SETTING TELEPHONE CONFERENCE as to 635 Proposed Sealed Motion:
                           The court shall hold a telephone conference on this motion on Wednesday, November 3, 2010,
                           at 10:00 a.m. Counsel for Ziyad Yaghi and counsel for the government shall attend. Counsel
                           for the government shall call counsel for Ziyad Yaghi, and once counsel for all parties are on
                           the line, government counsel shall call Judge Gates' chambers at (919) 645-1790 to begin the
                           telephone conference. The government is DIRECTED to ﬁle a written response to the motion
                           by 8:30 a.m on November 3, 2010. Entered by US Magistrate Judge James E. Gates on
                           11/2/2010. (Rudd, D.) (Entered: 11/02/2010)
 11/02/2010            638 RESPONSE in Opposition to Take Deposition Response in Opposition to Emergency Motion
                            by US Attorney as to Daniel Patrick Boyd, Hysen Sheriﬁ, Anes Subasic, Zakariya Boyd,
                            Dylan Boyd, Jude Kenan Mohammad, Mohammad Omar Aly Hassan, Ziyad Yaghi. (Bowler,
                            John) Modiﬁed on 11/3/2010 to modify the docket text to reﬂect the correct event. (Rudd, D.).
                        Case(Entered: 11/02/2010) Document 2364 Filed 03/25/21 Page 26 of 74
                             5:09-cr-00216-FL
https://ecf.nced.uscourts.gov/cgi-bin/DktRpt.pl?138298681748329-L_1_0-1                                                      26/74
3/25/2021                                                                 CM/ECF - NCED

 11/03/2010                    NOTICE OF DEFICIENCY by US Attorney as to Ziyad Yaghi re: 638 Motion to Take
                               Deposition - This is not a "Motion" - This is a Response - In the future please use the event
                               designated under "Responses and Replies". (Rudd, D.) (Entered: 11/03/2010)
 11/03/2010            639 PROPOSED SEALED Exhibit by Ziyad Yaghi (Attachments: # 1 Exhibit A, Host Country
                           Clearance Travel of US Government Ofﬁcials) (McCullough, J.) (Entered: 11/03/2010)
 11/03/2010            640 MOTION to Seal 639 PROPOSED SEALED Document by Ziyad Yaghi. (Attachments: # 1
                           Text of Proposed Order) (McCullough, J.) (Entered: 11/03/2010)
 11/03/2010            641 PROPOSED SEALED Document re 639 PROPOSED SEALED Document by US Attorney
                           as to Ziyad Yaghi (Kocher, Barbara) (Entered: 11/03/2010)
 11/03/2010            642 MOTION to Seal 641 PROPOSED SEALED Document by USA as to Ziyad Yaghi.
                           (Attachments: # 1 Text of Proposed Order) (Kocher, Barbara) (Entered: 11/03/2010)
 11/03/2010                    MOTIONS as to Ziyad Yaghi REFERRED to Magistrate Judge: 642 MOTION to Seal 641
                               PROPOSED SEALED Document, 640 and 641 Motions referred to James E. Gates. (Rudd,
                               D.) (Entered: 11/03/2010)
 11/04/2010                    Minute Entry for proceedings held before US Magistrate Judge James E. Gates: Telephone
                               conference held on 11/3/10 as to Proposed Sealed Motion by Ziyad Yaghi (D.E. 635).
                               Attending for Government: Barb Kocher, John Bowler, for Defendant Ziyad Yaghi: Douglas
                               McCullough. 25 Minutes. (Entered: 11/04/2010)
 11/04/2010                    Minute Entry for proceedings held before US Magistrate Judge James E. Gates: Ex parte
                               telephone conference held on 11/3/10 regarding attorney time and costs for conducting
                               foreign depositions. Attending for Defendant Ziyad Yaghi: Douglas McCullough. 5 Minutes.
                               (Entered: 11/04/2010)
 11/04/2010            643 PROPOSED SEALED Document by Ziyad Yaghi (Attachments: # 1 Exhibit A, Waiver)
                           (McCullough, J.) (Entered: 11/04/2010)
 11/04/2010            644 MOTION to Seal 643 PROPOSED SEALED Document by Ziyad Yaghi. (Attachments: # 1
                           Text of Proposed Order proposed order) (McCullough, J.) (Entered: 11/04/2010)
 11/05/2010                    MOTIONS as to Ziyad Yaghi REFERRED to Magistrate Judge: 644 MOTION to Seal 643
                               PROPOSED SEALED Document 643 Motions referred to James E. Gates. (Rudd, D.)
                               (Entered: 11/05/2010)
 11/09/2010            648 ORDER denying without prejudice 636 Motion to Seal as to Ziyad Yaghi (8); denying
                           without prejudice 640 Motion to Seal as to Ziyad Yaghi (8); denying without prejudice 644
                           Motion to Seal as to Ziyad Yaghi (8). Defendnat shall ﬁle any renewed motions to seal and the
                           requisite supporting memoranda, or a single consolidated memorandum, no later than
                           11/19/10. Signed by US Magistrate Judge James E. Gates on 11/5/2010. Copies served
                           electronically. (Rudd, D.) (Entered: 11/09/2010)
 11/09/2010            650 ORDER denying 553 Motion to Sever Defendant as to Ziyad Yaghi (8). Signed by Chief
                           Judge Louise Wood Flanagan on 11/8/2010. Copies served electronically. (Rudd, D.)
                           (Entered: 11/09/2010)
 11/09/2010                    MOTIONS as to Ziyad Yaghi REFERRED to Magistrate Judge: 647 PROPOSED SEALED
                               MOTION [DE #646] Motions referred to James E. Gates. (Rudd, D.) (Entered: 11/09/2010)
 11/12/2010            653 NOTICE of ﬁling proposed agenda (Kocher, Barbara) (Entered: 11/12/2010)
 11/16/2010            655 Minute Entry for proceedings held before US Magistrate Judge James E. Gates: Status
                            Conference as to Daniel Patrick Boyd, Hysen Sheriﬁ, Anes Subasic, Zakariya Boyd, Dylan
                            Boyd, Mohammad Omar Aly Hassan, Ziyad Yaghi held on 11/16/2010. US Attorney: Barb
                            Kocher, John Bowler; Defendant: Debra Graves, Rosemary Godwin, Paul Sun, John Wiles,
                        CaseRobert McAfee, MyronDocument
                             5:09-cr-00216-FL      Hill, Jr., Joseph
                                                                2364Zeszotarski, Daniel Boyce,
                                                                      Filed 03/25/21     Page Douglas
                                                                                               27 of 74McCullough.
https://ecf.nced.uscourts.gov/cgi-bin/DktRpt.pl?138298681748329-L_1_0-1                                                        27/74
3/25/2021                                                                 CM/ECF - NCED

                               Defendant Subasic present with counsel. Interpreter afﬁrmed. The next status conference is
                               scheduled for January 11, 2011 at 10:00 am. Written Order to Follow. Court goes forward
                               with sealed discussions and ex parte matters (Court Reporter: Rebecca Crunk/FTR.) (Powers,
                               S.) (Entered: 11/16/2010)
 11/16/2010            656 MOTION for Extension of Time for provision of proposed transcripts until December 22,
                           2010 by US Attorney as to Daniel Patrick Boyd, Hysen Sheriﬁ, Anes Subasic, Zakariya Boyd,
                           Dylan Boyd, Jude Kenan Mohammad, Mohammad Omar Aly Hassan, Ziyad Yaghi.
                           (Attachments: # 1 Text of Proposed Order) (Kocher, Barbara) (Entered: 11/16/2010)
 11/17/2010                    Motion Submission as to Daniel Patrick Boyd, Hysen Sheriﬁ, Anes Subasic, Zakariya Boyd,
                               Dylan Boyd, Jude Kenan Mohammad, Mohammad Omar Aly Hassan, Ziyad Yaghi re 656
                               MOTION for Extension of Time for provision of proposed transcripts until December 22,
                               2010 submitted to Chief Judge Flanagan for consideration. (Rudd, D.) (Entered: 11/17/2010)
 11/17/2010                    MOTIONS as to Daniel Patrick Boyd, Hysen Sheriﬁ, Anes Subasic, Zakariya Boyd, Dylan
                               Boyd, Mohammad Omar Aly Hassan, Ziyad Yaghi REFERRED to Magistrate Judge: 656
                               MOTION for Extension of Time for provision of proposed transcripts until December 22,
                               2010 Motions referred to James E. Gates. (Rudd, D.) (Entered: 11/17/2010)
 11/17/2010            658 Memorandum in Support by Ziyad Yaghi re 644 MOTION to Seal 643 PROPOSED SEALED
                           Document, 640 MOTION to Seal 639 PROPOSED SEALED Document (McCullough, J.)
                           (Entered: 11/17/2010)
 11/18/2010            660 Order Setting Discovery Conference - Hearings set for January 11, 2011 10:00 AM in Raleigh
                           - 5th Floor Courtroom before US Magistrate Judge James E. Gates. Counsel should review
                           the order in its entirety for critical deadlines and information. Signed by US Magistrate Judge
                           James E. Gates on 11/16/2010. Copies served electronically. (Rudd, D.) (Entered: 11/18/2010)
 11/18/2010            662 SEALED ORDER as to Ziyad Yaghi. Signed by Chief Judge Louise Wood Flanagan on
                           11/17/2010. Copies served on counsel. (Rudd, D.) (Entered: 11/18/2010)
 11/19/2010            663 ORDER granting 656 Motion for Extension of Time as to Daniel Patrick Boyd (1), Hysen
                           Sheriﬁ (2), Anes Subasic (3), Zakariya Boyd (4), Dylan Boyd (5), Mohammad Omar Aly
                           Hassan (7), Ziyad Yaghi (8) - The government shall have until 12/15/10 to complete it
                           production of the transcripts of the remaining government-designated audio. Signed by US
                           Magistrate Judge James E. Gates on 11/19/2010. Copies served electronically. (Rudd, D.)
                           (Entered: 11/19/2010)
 11/23/2010                    NOTICE OF DEFICIENCY by Ziyad Yaghi re: 658 Memorandum in Support of Motion - Per
                               the instructions in the order at DE #648, counsel should ﬁle a renewed motion to seal. (Rudd,
                               D.) (Entered: 11/23/2010)
 11/23/2010            664 MOTION to Seal 635 PROPOSED SEALED MOTION by Ziyad Yaghi, 639 PROPOSED
                           SEALED Document, 643 PROPOSED SEALED Document by Ziyad Yaghi. (Attachments: #
                           1 Text of Proposed Order) (McCullough, J.) (Entered: 11/23/2010)
 11/23/2010                    MOTIONS as to Ziyad Yaghi REFERRED to Magistrate Judge: 664 MOTION to Seal 635
                               PROPOSED SEALED MOTION by Ziyad Yaghi, 639 PROPOSED SEALED Document, 643
                               PROPOSED SEALED Document Motions referred to James E. Gates. (Rudd, D.) (Entered:
                               11/23/2010)
 11/24/2010            665 SEALED ORDER as to Ziyad Yaghi. Signed by US Magistrate Judge James E. Gates on
                           11/23/2010. Copies served on counsel. (Rudd, D.) (Entered: 11/24/2010)
 11/24/2010            670 SECOND SUPERSEDING INDICTMENT as to Daniel Patrick Boyd (1) count(s) 1ss, 2ss,
                           3ss, 4ss, 5ss, 6ss-7ss, 8ss, 9ss, 10ss, 11ss, Hysen Sheriﬁ (2) count(s) 1ss, 2ss, 4ss, 8ss, 11ss,
                           Anes Subasic (3) count(s) 1ss, 2ss, 12ss-13ss, Zakariya Boyd (4) count(s) 1ss, 2ss, 4ss, 8ss,
                           Dylan Boyd (5) count(s) 1ss, 2ss, 5ss, Jude Kenan Mohammad (6) count(s) 1ss, 2ss,
                        Case 5:09-cr-00216-FL Document 2364 Filed 03/25/21 Page 28 of 74
https://ecf.nced.uscourts.gov/cgi-bin/DktRpt.pl?138298681748329-L_1_0-1                                                        28/74
3/25/2021                                                                 CM/ECF - NCED

                               Mohammad Omar Aly Hassan (7) count(s) 1ss, 2ss and Ziyad Yaghi (8) count(s) 1ss, 2ss.
                               (Marsh, K) (Entered: 12/01/2010)
 11/29/2010            667 SEALED MOTION by Ziyad Yaghi (Attachments: # 1 Text of Proposed Order, # 2 Exhibit
                           11.2.10 Letter from USA to American Embassy, # 3 Exhibit Sworn Statement) (McCullough,
                           J.). (Entered: 11/29/2010)
 11/29/2010            668 MOTION to Seal 667 PROPOSED SEALED MOTION by Ziyad Yaghi. (Attachments: # 1
                           Text of Proposed Order) (McCullough, J.) (Entered: 11/29/2010)
 11/29/2010            669 PROPOSED SEALED Memorandum in support by Ziyad Yaghi re 668 MOTION to Seal 667
                           PROPOSED SEALED MOTION by Ziyad Yaghi, 667 PROPOSED SEALED MOTION by
                           Ziyad Yaghi (McCullough, J.) (Entered: 11/29/2010)
 11/30/2010                    Motion Submission as to Ziyad Yaghi re 668 MOTION to Seal 667 PROPOSED SEALED
                               MOTION by Ziyad Yaghi submitted to Chief Judge Flanagan for consideration. (Rudd, D.)
                               (Entered: 11/30/2010)
 11/30/2010                    MOTIONS as to Ziyad Yaghi REFERRED to Magistrate Judge: 668 MOTION to Seal 667
                               PROPOSED SEALED MOTION by Ziyad Yaghi Motions referred to James E. Gates. (Rudd,
                               D.) (Entered: 11/30/2010)
 12/07/2010            678 ORDER as to Daniel Patrick Boyd, Hysen Sheriﬁ, Anes Subasic, Zakariya Boyd, Dylan
                           Boyd, Mohammad Omar Aly Hassan, Ziyad Yaghi - This matter comes before the court upon
                           its review of the docket and notice of the protective order regarding sensitive but unclassiﬁed
                           materials entered December 10,2009 [DE #188], and amended December23, 2009 [DE #202].
                           Defendants are DIRECTED to provide by January 10, 2011, a list of all individuals in the
                           above categories to whom sensitive but unclassiﬁed material has or is anticipated to be
                           disclosed. Signed by Chief Judge Louise Wood Flanagan on 12/7/2010. Copies served
                           electronically. (Rudd, D.) (Entered: 12/07/2010)
 12/10/2010            680 SEALED MOTION by Ziyad Yaghi (Attachments: # 1 Text of Proposed Order) (McCullough,
                           J.) Modiﬁed on 12/14/2010 to take off proposed per order at DE #685. (Rudd, D.). (Entered:
                           12/10/2010)
 12/10/2010            681 MOTION to Seal 680 PROPOSED SEALED MOTION by Ziyad Yaghi by Ziyad Yaghi.
                           (Attachments: # 1 Text of Proposed Order) (McCullough, J.) (Entered: 12/10/2010)
 12/10/2010            682 Memorandum in Support by Ziyad Yaghi re 681 MOTION to Seal 680 PROPOSED SEALED
                           MOTION by Ziyad Yaghi (McCullough, J.) (Entered: 12/10/2010)
 12/10/2010                    Motion Submission as to Ziyad Yaghi re 681 MOTION to Seal 680 PROPOSED SEALED
                               MOTION by Ziyad Yaghi submitted to Chief Judge Flanagan for consideration. (Rudd, D.)
                               (Entered: 12/10/2010)
 12/13/2010            683 PROPOSED SEALED RESPONSE by Ziyad Yaghi re 667 PROPOSED SEALED MOTION
                           by Ziyad Yaghi (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5
                           Exhibit 5, # 6 Exhibit 6, # 7 Exhibit 7, # 8 Exhibit 8) (Kocher, Barbara) (Entered: 12/13/2010)
 12/13/2010            684 MOTION to Seal 683 PROPOSED SEALED Response, by USA as to Ziyad Yaghi.
                           (Attachments: # 1 Text of Proposed Order) (Kocher, Barbara) (Entered: 12/13/2010)
 12/14/2010            685 ORDER granting 681 Motion to Seal as to Ziyad Yaghi (8). Signed by Chief Judge Louise
                           Wood Flanagan on 12/13/2010. Copies served electronically. (Rudd, D.) (Entered:
                           12/14/2010)
 12/15/2010                    MOTIONS as to Ziyad Yaghi REFERRED to Magistrate Judge: 684 MOTION to Seal 683
                               PROPOSED SEALED Response,, 667 PROPOSED SEALED MOTION by Ziyad Yaghi
                               Motions referred to James E. Gates. (Rudd, D.) (Entered: 12/15/2010)
 12/15/2010            686 NOTICE of completion of disclosure of SBU transcripts (Kocher, Barbara) (Entered:
                        Case 5:09-cr-00216-FL Document 2364 Filed 03/25/21 Page 29 of 74
https://ecf.nced.uscourts.gov/cgi-bin/DktRpt.pl?138298681748329-L_1_0-1                                                29/74
3/25/2021                                                                 CM/ECF - NCED

                               12/15/2010)
 12/20/2010            687 MOTION to Withdraw as Attorney by J. Douglas McCullough. by Ziyad Yaghi.
                           (Attachments: # 1 Text of Proposed Order) (McCullough, J.) (Entered: 12/20/2010)
 12/21/2010            688 ORDER granting 687 Motion to Withdraw as Attorney J. Douglas McCullough withdrawn
                           from case. as to Ziyad Yaghi (8). Signed by US Magistrate Judge James E. Gates on
                           12/20/2010. Copies served electronically. Copy to Federal Public Defender and US Marshal
                           for service. (Rudd, D.) (Entered: 12/21/2010)
 12/21/2010            689 NOTICE OF ATTORNEY APPEARANCE: James M. Ayers, II appearing for Ziyad Yaghi
                           (Ayers, James) (Entered: 12/21/2010)
 12/21/2010            690 Request for discovery as to Ziyad Yaghi. (Ayers, James) (Entered: 12/21/2010)
 12/23/2010            691 PROPOSED SEALED Document re 680 PROPOSED SEALED MOTION by Ziyad Yaghi by
                           USA as to Ziyad Yaghi (Kocher, Barbara) (Entered: 12/23/2010)
 12/29/2010                    NOTICE OF DEFICIENCY by US Attorney as to Ziyad Yaghi reference: 642 Motion to Seal.
                               The certiﬁcate of service does not reﬂect that service of this document was made on all parties
                               in accordance with Rule 49 of the Federal Rules of Criminal Procedure. Counsel has through
                               Wednesday, January 5, 2011 to comply with this rule and electronically ﬁle an amended
                               certiﬁcate of service. The amended certiﬁcate of service must identify the document being
                               served, the date of service, the names of the individuals being served and the manner of
                               delivery. Counsel is reminded that service of a criminal sealed document cannot be made
                               through CM/ECF as the document cannot be accessed through the Notice of Electronic Filing
                               (NEF). The CM/ECF event 'certiﬁcate of service' must be used and linked to the docket entry
                               cited in this notice. (Callihan, J.) (Entered: 12/29/2010) (Entered: 12/29/2010)
 12/29/2010                    NOTICE OF DEFICIENCY by Ziyad Yaghi reference: 643 PROPOSED SEALED
                               Document. The certiﬁcate of service does not reﬂect that service of this document was made
                               on all parties in accordance with Rule 49 of the Federal Rules of Criminal Procedure. Counsel
                               has through Wednesday, January 5, 2011 to comply with this rule and electronically ﬁle an
                               amended certiﬁcate of service. The amended certiﬁcate of service must identify the document
                               being served, the date of service, the names of the individuals being served and the manner of
                               delivery. Counsel is reminded that service of a criminal sealed document cannot be made
                               through CM/ECF as the document cannot be accessed through the Notice of Electronic Filing
                               (NEF). The CM/ECF event 'certiﬁcate of service' must be used and linked to the docket entry
                               cited in this notice. (Callihan, J.) (Entered: 12/29/2010)
 12/29/2010                    NOTICE OF DEFICIENCY by US Attorney as to Ziyad Yaghi reference: 647 PROPOSED
                               SEALED Motion. The certiﬁcate of service does not reﬂect that service of this document was
                               made on all parties in accordance with Rule 49 of the Federal Rules of Criminal Procedure.
                               Counsel has through Wednesday, January 5, 2011 to comply with this rule and electronically
                               ﬁle an amended certiﬁcate of service. The amended certiﬁcate of service must identify the
                               document being served, the date of service, the names of the individuals being served and the
                               manner of delivery. Counsel is reminded that service of a criminal sealed document cannot be
                               made through CM/ECF as the document cannot be accessed through the Notice of Electronic
                               Filing (NEF). The CM/ECF event 'certiﬁcate of service' must be used and linked to the docket
                               entry cited in this notice. (Callihan, J.) (Entered: 12/29/2010)
 12/29/2010                    NOTICE OF DEFICIENCY by US Attorney as to Ziyad Yaghi reference: 647 PROPOSED
                               SEALED Motion. Counsel must re-ﬁle (DE 647) reﬂecting the correct event using a generic
                               'Motion to Seal" with attached proposed order to seal (DE646) Proposed Sealed Document by
                               US Attorney as to Ziyad Yaghi. (Callihan, J.) (Entered: 12/29/2010)
 12/29/2010                NOTICE OF DEFICIENCY by Ziyad Yaghi reference: 664 Motion to Seal (DE635) Proposed
                           Sealed Motion. The certiﬁcate of service does not reﬂect that service of this document was
                           made on all parties in accordance with Rule 49 of the Federal Rules of Criminal Procedure.
                        Case 5:09-cr-00216-FL Document 2364 Filed 03/25/21 Page 30 of 74
https://ecf.nced.uscourts.gov/cgi-bin/DktRpt.pl?138298681748329-L_1_0-1                                                    30/74
3/25/2021                                                                 CM/ECF - NCED

                               Counsel has through Wednesday, January 5, 2011 to comply with this rule and electronically
                               ﬁle an amended certiﬁcate of service. The amended certiﬁcate of service must identify the
                               document being served, the date of service, the names of the individuals being served and the
                               manner of delivery. Counsel is reminded that service of a criminal sealed document cannot be
                               made through CM/ECF as the document cannot be accessed through the Notice of Electronic
                               Filing (NEF). The CM/ECF event 'certiﬁcate of service' must be used and linked to the docket
                               entry cited in this notice. (Callihan, J.) (Entered: 12/29/2010)
 12/29/2010                    NOTICE OF DEFICIENCY by Ziyad Yaghi re: 667 PROPOSED SEALED Motion. The
                               certiﬁcate of service does not reﬂect that service of this document was made on all parties in
                               accordance with Rule 49 of the Federal Rules of Criminal Procedure. Counsel has through
                               Wednesday, January 5, 2011 to comply with this rule and electronically ﬁle an amended
                               certiﬁcate of service. The amended certiﬁcate of service must identify the document being
                               served, the date of service, the names of the individuals being served and the manner of
                               delivery. Counsel is reminded that service of a criminal sealed document cannot be made
                               through CM/ECF as the document cannot be accessed through the Notice of Electronic Filing
                               (NEF). The CM/ECF event 'certiﬁcate of service' must be used and linked to the docket entry
                               cited in this notice. (Callihan, J.) (Entered: 12/29/2010)
 12/29/2010                    NOTICE OF DEFICIENCY by Ziyad Yaghi reference: 668 Motion to Seal (667) Proposed
                               Sealed Motion by Ziyad Yaghi. The certiﬁcate of service does not reﬂect that service of this
                               document was made on all parties in accordance with Rule 49 of the Federal Rules of
                               Criminal Procedure. Counsel has through Wednesday, January 5, 2011 to comply with this
                               rule and electronically ﬁle an amended certiﬁcate of service. The amended certiﬁcate of
                               service must identify the document being served, the date of service, the names of the
                               individuals being served and the manner of delivery. Counsel is reminded that service of a
                               criminal sealed document cannot be made through CM/ECF as the document cannot be
                               accessed through the Notice of Electronic Filing (NEF). The CM/ECF event 'certiﬁcate of
                               service' must be used and linked to the docket entry cited in this notice. (Callihan, J.)
                               (Entered: 12/29/2010)
 12/29/2010                    NOTICE OF DEFICIENCY by Ziyad Yaghi reference: 669 PROPOSED SEALED
                               Memorandum in Support. The certiﬁcate of service does not reﬂect that service of this
                               document was made on all parties in accordance with Rule 49 of the Federal Rules of
                               Criminal Procedure. Counsel has through Wednesday, January 5, 2011 to comply with this
                               rule and electronically ﬁle an amended certiﬁcate of service. The amended certiﬁcate of
                               service must identify the document being served, the date of service, the names of the
                               individuals being served and the manner of delivery. Counsel is reminded that service of a
                               criminal sealed document cannot be made through CM/ECF as the document cannot be
                               accessed through the Notice of Electronic Filing (NEF). The CM/ECF event 'certiﬁcate of
                               service' must be used and linked to the docket entry cited in this notice. (Callihan, J.)
                               (Entered: 12/29/2010)
 12/29/2010                    NOTICE OF DEFICIENCY by Ziyad Yaghi reference: 680 SEALED Motion. The certiﬁcate
                               of service does not reﬂect that service of this document was made on all parties in accordance
                               with Rule 49 of the Federal Rules of Criminal Procedure. Counsel has through Wednesday,
                               January 5, 2011 to comply with this rule and electronically ﬁle an amended certiﬁcate of
                               service. The amended certiﬁcate of service must identify the document being served, the date
                               of service, the names of the individuals being served and the manner of delivery. Counsel is
                               reminded that service of a criminal sealed document cannot be made through CM/ECF as the
                               document cannot be accessed through the Notice of Electronic Filing (NEF). The CM/ECF
                               event 'certiﬁcate of service' must be used and linked to the docket entry cited in this notice.
                               (Callihan, J.) (Entered: 12/29/2010)
 12/29/2010                NOTICE OF DEFICIENCY by Ziyad Yaghi re: 683 PROPOSED SEALED Response by
                           Ziyad Yaghi reference (667) Proposed Sealed Motion. The certiﬁcate of service does not
                           reﬂect that service of this document was made on all parties in accordance with Rule 49 of the
                        Case 5:09-cr-00216-FL Document 2364 Filed 03/25/21 Page 31 of 74
https://ecf.nced.uscourts.gov/cgi-bin/DktRpt.pl?138298681748329-L_1_0-1                                                       31/74
3/25/2021                                                                 CM/ECF - NCED

                               Federal Rules of Criminal Procedure. Counsel has through Wednesday, January 5, 2011 to
                               comply with this rule and electronically ﬁle an amended certiﬁcate of service. The amended
                               certiﬁcate of service must identify the document being served, the date of service, the names
                               of the individuals being served and the manner of delivery. Counsel is reminded that service
                               of a criminal sealed document cannot be made through CM/ECF as the document cannot be
                               accessed through the Notice of Electronic Filing (NEF). The CM/ECF event 'certiﬁcate of
                               service' must be used and linked to the docket entry cited in this notice. (Callihan, J.)
                               (Entered: 12/29/2010)
 12/29/2010                    NOTICE OF DEFICIENCY by US Attorney as to Ziyad Yaghi reference: 684 Motion to Seal
                               (DE683) Proposed Sealed Response. The certiﬁcate of service does not reﬂect that service of
                               this document was made on all parties in accordance with Rule 49 of the Federal Rules of
                               Criminal Procedure. Counsel has through Wednesday, January 5, 2011 to comply with this
                               rule and electronically ﬁle an amended certiﬁcate of service. The amended certiﬁcate of
                               service must identify the document being served, the date of service, the names of the
                               individuals being served and the manner of delivery. Counsel is reminded that service of a
                               criminal sealed document cannot be made through CM/ECF as the document cannot be
                               accessed through the Notice of Electronic Filing (NEF). The CM/ECF event 'certiﬁcate of
                               service' must be used and linked to the docket entry cited in this notice. (Callihan, J.)
                               (Entered: 12/29/2010)
 12/29/2010                    NOTICE OF DEFICIENCY by Ziyad Yaghi reference: 689 Notice of Attorney Appearance
                               by James M. Ayers, II appearing for Ziyad Yaghi. The certiﬁcate of service does not reﬂect
                               that service of this document was made on all parties in accordance with Rule 49 of the
                               Federal Rules of Criminal Procedure. Counsel has through Wednesday, January 5, 2011 to
                               comply with this rule and electronically ﬁle an amended certiﬁcate of service. The amended
                               certiﬁcate of service must identify the document being served, the date of service, the names
                               of the individuals being served and the manner of delivery. Counsel is reminded that service
                               of a criminal sealed document cannot be made through CM/ECF as the document cannot be
                               accessed through the Notice of Electronic Filing (NEF). The CM/ECF event 'certiﬁcate of
                               service' must be used and linked to the docket entry cited in this notice. (Callihan, J.)
                               (Entered: 12/29/2010)
 12/29/2010                    NOTICE OF DEFICIENCY by Ziyad Yaghi reference: 690 Request for Discovery as to Ziyad
                               Yaghi. The certiﬁcate of service does not reﬂect that service of this document was made on all
                               parties in accordance with Rule 49 of the Federal Rules of Criminal Procedure. Counsel has
                               through Wednesday, January 5, 2011 to comply with this rule and electronically ﬁle an
                               amended certiﬁcate of service. The amended certiﬁcate of service must identify the document
                               being served, the date of service, the names of the individuals being served and the manner of
                               delivery. Counsel is reminded that service of a criminal sealed document cannot be made
                               through CM/ECF as the document cannot be accessed through the Notice of Electronic Filing
                               (NEF). The CM/ECF event 'certiﬁcate of service' must be used and linked to the docket entry
                               cited in this notice. (Callihan, J.) (Entered: 12/29/2010)
 12/29/2010                    NOTICE OF DEFICIENCY by US Attorney as to Ziyad Yaghi reference: 691 PROPOSED
                               SEALED Document reference (DE680) Proposed Sealed Motion. The certiﬁcate of service
                               does not reﬂect that service of this document was made on all parties in accordance with Rule
                               49 of the Federal Rules of Criminal Procedure. Counsel has through Wednesday, January 5,
                               2011 to comply with this rule and electronically ﬁle an amended certiﬁcate of service. The
                               amended certiﬁcate of service must identify the document being served, the date of service,
                               the names of the individuals being served and the manner of delivery. Counsel is reminded
                               that service of a criminal sealed document cannot be made through CM/ECF as the document
                               cannot be accessed through the Notice of Electronic Filing (NEF). The CM/ECF event
                               'certiﬁcate of service' must be used and linked to the docket entry cited in this notice.
                               (Callihan, J.) (Entered: 12/29/2010)
 12/30/2010            693 ORDER in furtherance of clariﬁcation of docketing procedures and protocols - Signed by
                        Case 5:09-cr-00216-FL Document 2364 Filed 03/25/21 Page 32 of 74
https://ecf.nced.uscourts.gov/cgi-bin/DktRpt.pl?138298681748329-L_1_0-1                                                    32/74
3/25/2021                                                                 CM/ECF - NCED

                               Chief Judge Louise Wood Flanagan on 12/30/2010. Copies served electronically. (Baker, C.)
                               (Entered: 12/30/2010)
 01/04/2011            697 Certiﬁcate of Service by Ziyad Yaghi re Motions Referred, Notice of Deﬁciency, Notice of
                           Deﬁciency, Notice of Deﬁciency, Notice of Deﬁciency, 664 MOTION to Seal 635
                           PROPOSED SEALED MOTION by Ziyad Yaghi, 639 PROPOSED SEALED Document, 643
                           PROPOSED SEALED Document, 667 PROPOSED SEALED MOTION by Ziyad Yaghi,
                           Notice of Deﬁciency, 680 PROPOSED SEALED MOTION by Ziyad Yaghi, Notice of
                           Deﬁciency, 668 MOTION to Seal 667 PROPOSED SEALED MOTION by Ziyad Yaghi, 669
                           PROPOSED SEALED Memorandum in Support, Notice of Deﬁciency, 643 PROPOSED
                           SEALED Document (Attachments: # 1 Exhibit DE 642 Motion to Seal, # 2 Exhibit DE 643
                           Notice of Proposed Sealed Doc, # 3 Exhibit DE664 Renewed Motions to Seal, # 4 Exhibit DE
                           667 Proposed Sealed Motion, # 5 Exhibit DE 668 Motion to Seal, # 6 Exhibit DE 669
                           Proposed Sealed Memorandum, # 7 Exhibit DE 680 Motion to Suppress) (McCullough, J.)
                           (Entered: 01/04/2011)
 01/05/2011            698 Corrected MOTION to Seal 646 PROPOSED SEALED Document by USA as to Ziyad
                           Yaghi. (Attachments: # 1 Text of Proposed Order) (Kocher, Barbara) (Entered: 01/05/2011)
 01/05/2011            699 Certiﬁcate of Service by USA as to Ziyad Yaghi re 683 PROPOSED SEALED Response,
                           Amended (Kocher, Barbara) (Entered: 01/05/2011)
 01/05/2011            700 Certiﬁcate of Service by USA as to Ziyad Yaghi re 684 MOTION to Seal 683 PROPOSED
                           SEALED Response, (Kocher, Barbara) (Entered: 01/05/2011)
 01/05/2011            701 Certiﬁcate of Service by USA as to Ziyad Yaghi re 691 PROPOSED SEALED Document ,
                           Amended (Kocher, Barbara) (Entered: 01/05/2011)
 01/05/2011            702 Certiﬁcate of Service by USA as to Ziyad Yaghi re 642 MOTION to Seal 641 PROPOSED
                           SEALED Document , Amended (Kocher, Barbara) (Entered: 01/05/2011)
 01/05/2011            703 Certiﬁcate of Service by Ziyad Yaghi re 689 Notice of Attorney Appearance - Defendant, 690
                           Request for Discovery Amended (Ayers, James) (Entered: 01/05/2011)
 01/06/2011            710 NOTICE of ﬁling of proposed agenda; no items (Kocher, Barbara) (Entered: 01/06/2011)
 01/07/2011            711 Second MOTION to Sever Defendant Anes Sebasic by Ziyad Yaghi. (Ayers, James) (Entered:
                           01/07/2011)
 01/10/2011            715 TEXT ORDER CONTINUING STATUS CONFERENCE: The status conference in this
                           matter set for Tuesday, January 11, 2011, at 10:00 a.m. is CONTINUED until Thursday,
                           January 13, 2011, at 10:00 a.m. The status conference will be held in Courtroom 2.
                           Attendance requirements speciﬁed by previous orders remain in effect. Signed by US
                           Magistrate Judge James E. Gates on 1/10/2011. Copies served electronically. Copy to US
                           Marshal for service. (Rudd, D.) (Entered: 01/10/2011)
 01/10/2011                    Reset Hearings as to Daniel Patrick Boyd, Hysen Sheriﬁ, Anes Subasic, Zakariya Boyd,
                               Dylan Boyd, Mohammad Omar Aly Hassan, Ziyad Yaghi: Status Conference set for
                               1/13/2011 10:00 AM in Raleigh - 7th Floor - Courtroom 2 before USMJ James E. Gates.
                               (Rudd, D.) (Entered: 01/10/2011)
 01/13/2011            719 Minute Entry for proceedings held before US Magistrate Judge James E. Gates: Status
                           Conference as to Daniel Patrick Boyd, Hysen Sheriﬁ, Anes Subasic, Zakariya Boyd, Dylan
                           Boyd, Mohammad Omar Aly Hassan, Ziyad Yaghi held on 1/13/2011. US Attorney: Barb
                           Kocher, John Bowler; Defendant: Debra Graves, Rosemary Godwin, Paul Sun, Robert
                           McAfee, Myron Hill, Jr., Joseph Zeszotarski, Daniel Boyce, Douglas McCullough, James
                           Ayers, II. Defendants Subasic and Yaghi present with counsel. Interpreter afﬁrmed. The next
                           status conference is scheduled for February 22, 2011 at 10:00 am. Written Order to Follow.
                           Court goes forward with sealed discussions and ex parte matters (Court Reporter Rebecca
                           Crunk/FTR.) (Powers, S.) (Entered: 01/13/2011)
                        Case 5:09-cr-00216-FL Document 2364 Filed 03/25/21 Page 33 of 74
https://ecf.nced.uscourts.gov/cgi-bin/DktRpt.pl?138298681748329-L_1_0-1                                                33/74
3/25/2021                                                                 CM/ECF - NCED

 01/14/2011            722 SEALED ORDER as to Ziyad Yaghi. Signed by US Magistrate Judge James E. Gates on
                           1/13/2011. Copies served on counsel by email. (Rudd, D.) (Entered: 01/14/2011)
 01/18/2011            724 ORDER - This case came before the court on 13 January 2011 for a status conference. This
                           order memorializes rulings made at and other decisions reached based on the conference. The
                           next conference shall be held on Tuesday, 22 February 2011, at 10:00 a.m. in Courtroom 2 of
                           the Terry Sanford Federal Building and Courthouse, 310 New Bern Avenue, Raleigh, North
                           Carolina. All counsel of record shall attend. The presence of defendants is not required.
                           Signed by U.S. Magistrate Judge James E. Gates on 01/18/2011. Copies served electronically.
                           (Baker, C.) (Entered: 01/18/2011)
 01/18/2011                    Set Hearings as to all defendants: Status Conference set for 2/22/2011 at 10:00 AM in Raleigh
                               - 7th Floor - Courtroom 2 before USMJ James E. Gates. (Baker, C.) (Entered: 01/18/2011)
 01/19/2011            725 ORDER as to Anes Subasic, Mohammad Omar Aly Hassan, Ziyad Yaghi - This matter is
                           before the court upon its regular review of the docket. In order entered December 7, 2010 (DE
                           # 678), the court directed each defendant to provide by January 10, 2011, a list of all
                           individuals to whom sensitive but unclassiﬁed material has been or is anticipated to be
                           disclosed. If Memorandum of Understanding (MOU) had not yet been executed and ﬁled with
                           regard to any individual, the same was to be ﬁled by this deadline. The court notes that
                           defendants Subasic, Hassan, and Yaghi have not brought themselves into compliance with
                           said order. The court, on its own initiative, ALLOWS an additional seven days within which
                           these defendants may undertake the required action(s). Signed by Chief Judge Louise Wood
                           Flanagan on 01/19/2011. Copies served electronically. (Baker, C.) (Entered: 01/19/2011)
 01/19/2011            726 RESPONSE in Opposition by USA as to Hysen Sheriﬁ, Dylan Boyd, Ziyad Yaghi re 711
                           Second MOTION to Sever Defendant Anes Sebasic, 704 MOTION to Sever Defendant Trial
                           from Trial of Co-Defendant Anes Subasic, Or, In the Alternative, to Sever Counts 12 and 13,
                           and Incorporated Memorandum of Law, 707 MOTION to Sever Defendant (Kocher, Barbara)
                           (Entered: 01/19/2011)
 01/19/2011                    Motion Submission as to Hysen Sheriﬁ, Dylan Boyd, Ziyad Yaghi re 711 Second MOTION to
                               Sever Defendant Anes Sebasic, 704 MOTION to Sever Defendant Trial from Trial of Co-
                               Defendant Anes Subasic, Or, In the Alternative, to Sever Counts 12 and 13, and Incorporated
                               Memorandum of Law, 707 MOTION to Sever Defendant submitted to Chief Judge Flanagan
                               for consideration. (Rudd, D.) (Entered: 01/19/2011)
 01/24/2011            732 MOTION for Extension of Time to File by Ziyad Yaghi. (Ayers, James) (Entered: 01/24/2011)
 01/24/2011                    NOTICE OF DEFICIENCY- Failure to File Proposed Order by Ziyad Yaghi re: 732 Motion
                               for Extension of Time to File ; Pursuant to Local Criminal Rule 47.1, or the judges practice
                               preferences on the court's website, counsel must submit a proposed order. The order must be
                               ﬁled electronically using the event PROPOSED ORDER located in the RESPONSES AND
                               REPLIES category. Additionally, the judge's practice preferences MAY require counsel to
                               email the proposed order in a word processing format. (Rudd, D.) (Entered: 01/24/2011)
 01/25/2011                    MOTIONS as to Ziyad Yaghi REFERRED to Magistrate Judge: 732 MOTION for Extension
                               of Time to File Motions referred to James E. Gates. (Rudd, D.) (Entered: 01/25/2011)
 01/25/2011            736 OFFICIAL TRANSCRIPT of STATUS CONFERENCE Proceedings as to Daniel Patrick
                           Boyd, Hysen Sheriﬁ, Anes Subasic, Zakariya Boyd, Dylan Boyd, Ziyad Yaghi held on
                           1/13/2011, before Judge Gates. Court Reporter Rebecca Crunk. Transcript may be viewed at
                           the court public terminal or purchased through the Court Reporter/Transcriber before the
                           deadline for Release of Transcript Restriction. After that date it may be obtained through
                           PACER. Please review Attorney obligations regarding the redaction of electronic transcripts
                           of court proceedings available on the court's website. Redaction Request due 2/15/2011.
                           Redacted Transcript Deadline set for 2/25/2011. Release of Transcript Restriction set for
                           4/25/2011. (Steele, F.) (Entered: 01/25/2011)
                        Case 5:09-cr-00216-FL Document 2364 Filed 03/25/21 Page 34 of 74
https://ecf.nced.uscourts.gov/cgi-bin/DktRpt.pl?138298681748329-L_1_0-1                                                   34/74
3/25/2021                                                                 CM/ECF - NCED

 01/25/2011                    NOTICE of Filing of Ofﬁcial Transcript - DE 736 - Transcript. The parties have seven
                               calendar days from the ﬁling of the transcript to ﬁle a Notice of Intent to Request Redaction.
                               The parties must also serve a copy on the court reporter or transcriber. After ﬁling the Notice
                               of Intent to Request Redaction, a party must submit to the court reporter or transcriber, within
                               21 calendar days of the ﬁling of the transcript, a written statement indicating where the
                               personal data identiﬁers to be redacted appear in the transcript. (Steele, F.) (Entered:
                               01/25/2011)
 01/25/2011            739 Proposed Order by Ziyad Yaghi re 732 MOTION for Extension of Time to File (Ayers,
                           James) (Entered: 01/25/2011)
 01/25/2011                    NOTICE OF CORRECTION re: 736 Transcript. Incorrect transcript format used. Reporter
                               has been directed to correct and reﬁle. (Thuemmel Proctor, S.) (Entered: 02/03/2011)
 01/26/2011            740 NOTICE Regarding Foreign Depositions (Ayers, James) (Entered: 01/26/2011)
 01/28/2011            750 ORDER granting 707 Motion to Sever Defendant as to Hysen Sheriﬁ (2); granting 709
                           Motion to Seal Document as to Hysen Sheriﬁ (2); granting 704 Motion to Sever Defendant as
                           to Dylan Boyd (5); granting 706 Motion to Seal Exhibit as to Dylan Boyd (5); granting 711
                           Motion to Sever Defendant as to Ziyad Yaghi (8). Signed by Chief Judge Louise Wood
                           Flanagan on 1/28/2011. Copies served electronically. (Rudd, D.) (Entered: 01/28/2011)
 01/28/2011            752 ORDER as to Daniel Patrick Boyd, Hysen Sheriﬁ, Anes Subasic, Zakariya Boyd, Mohammad
                           Omar Aly Hassan, Ziyad Yaghi - As to all defendant's, it is ORDERED that the deadline for
                           defendants to make designations from the SBU recordings is hereby extended to 2/28/11.
                           Signed by US Magistrate Judge James E. Gates on 1/28/2011. Copies served electronically.
                           (Rudd, D.) (Entered: 01/28/2011)
 01/31/2011            753 ORDER granting in part and denying in part 732 Motion for Extension of Time to File as to
                           Ziyad Yaghi (8). Each of the four deadlines for defendant listed above (Events nos. 6-9) is
                           extended to 28 February 2011. Two corresponding deadlines for the government are extended
                           to 14 March 2011: the deadline for its response to any motion by defendant related to general
                           and SBU discovery (Event no. 12) and the deadline for its response to any motion by
                           defendant regarding foreign depositions (Event no. 11). Signed by US Magistrate Judge James
                           E. Gates on 1/28/2011. Copies served electronically. (Rudd, D.) (Entered: 01/31/2011)
 01/31/2011            767 Fourth MOTION to Take Deposition in a Foreign Country by Ziyad Yaghi. (Ayers, James)
                           (Entered: 01/31/2011)
 01/31/2011            768 Proposed Order by Ziyad Yaghi re 767 Fourth MOTION to Take Deposition in a Foreign
                           Country (Ayers, James) (Entered: 01/31/2011)
 01/31/2011            770 ORDER granting 642 Motion to Seal as to Ziyad Yaghi (8); granting 647 PROPOSED Sealed
                           Motion as to Ziyad Yaghi (8); granting 664 Motion to Seal as to Ziyad Yaghi (8); granting 668
                           Motion to Seal as to Ziyad Yaghi (8); granting 684 Motion to Seal as to Ziyad Yaghi (8).
                           Signed by US Magistrate Judge James E. Gates on 1/31/2011. Copies served electronically.
                           (Rudd, D.) (Entered: 01/31/2011)
 02/03/2011            794 CORRECTED OFFICIAL TRANSCRIPT of STATUS CONFERENCE (Corrected as to
                           format.) Proceedings as to Daniel Patrick Boyd, Hysen Sheriﬁ, Anes Subasic, Zakariya Boyd,
                           Dylan Boyd, Mohammad Omar Aly Hassan, Ziyad Yaghi held on 1/13/2011, before Judge
                           Gates. Court Reporter Rebecca Crunk. Transcript may be viewed at the court public terminal
                           or purchased through the Court Reporter/Transcriber before the deadline for Release of
                           Transcript Restriction. After that date it may be obtained through PACER. Please review
                           Attorney obligations regarding the redaction of electronic transcripts of court proceedings
                           available on the court's website. Redaction Request due 2/24/2011. Redacted Transcript
                           Deadline set for 3/6/2011. Release of Transcript Restriction set for 5/4/2011. (Steele, F.)
                           (Entered: 02/07/2011)

                        Case 5:09-cr-00216-FL Document 2364 Filed 03/25/21 Page 35 of 74
https://ecf.nced.uscourts.gov/cgi-bin/DktRpt.pl?138298681748329-L_1_0-1                                                     35/74
3/25/2021                                                                 CM/ECF - NCED

 02/03/2011                    NOTICE of Filing of Ofﬁcial Transcript - DE 794 - Transcript. The parties have seven
                               calendar days from the ﬁling of the transcript to ﬁle a Notice of Intent to Request Redaction.
                               The parties must also serve a copy on the court reporter or transcriber. After ﬁling the Notice
                               of Intent to Request Redaction, a party must submit to the court reporter or transcriber, within
                               21 calendar days of the ﬁling of the transcript, a written statement indicating where the
                               personal data identiﬁers to be redacted appear in the transcript. (Steele, F.) (Entered:
                               02/07/2011)
 02/15/2011                    MOTIONS as to Ziyad Yaghi REFERRED to Magistrate Judge: 698 Corrected MOTION to
                               Seal 646 PROPOSED SEALED Document Motions referred to James E. Gates. (Rudd, D.)
                               (Entered: 02/15/2011)
 02/17/2011            819 NOTICE of ﬁling of joint agenda for status conference of Feb 22, 2011 (Kocher, Barbara)
                           (Entered: 02/17/2011)
 02/18/2011            820 ORDER granting 698 Motion to Seal as to Ziyad Yaghi (8). Signed by US Magistrate Judge
                           James E. Gates on 2/17/2011. Copies served electronically. (Rudd, D.) (Entered: 02/18/2011)
 02/21/2011            821 RESPONSE to Motion by USA as to Ziyad Yaghi re 767 Fourth MOTION to Take Deposition
                           in a Foreign Country (Kocher, Barbara) (Entered: 02/21/2011)
 02/22/2011                    Motion Submission as to Ziyad Yaghi re 767 Fourth MOTION to Take Deposition in a
                               Foreign Country submitted to Chief Judge Flanagan for consideration. (Rudd, D.) (Entered:
                               02/22/2011)
 02/22/2011                    MOTIONS as to Ziyad Yaghi REFERRED to Magistrate Judge: 767 Fourth MOTION to Take
                               Deposition in a Foreign Country Motions referred to James E. Gates. (Rudd, D.) (Entered:
                               02/22/2011)
 02/22/2011            822 Minute Entry for proceedings held before US Magistrate Judge James E. Gates:Status
                           Conference as to Daniel Patrick Boyd, Hysen Sheriﬁ, Anes Subasic, Zakariya Boyd, Dylan
                           Boyd, Jude Kenan Mohammad, Mohammad Omar Aly Hassan, Ziyad Yaghi held on
                           2/22/2011. US Attorney: Barb Kocher, John Bowler; Defendant: Debra Graves, Rosemary
                           Godwin, Paul Sun, Robert McAfee, Myron Hill, Jr., Joseph Zeszotarski, Michael McEnery,
                           James Ayers, II. The next status conference is scheduled for April 4, 2011 at 1:00 pm. Written
                           Order to Follow. Court goes forward with sealed discussions and ex parte matters. (Court
                           Reporter Harry Hagopian.) (Powers, S.) (Entered: 02/22/2011)
 02/23/2011            823 ORDER as to Daniel Patrick Boyd, Hysen Sheriﬁ, Anes Subasic, Zakariya Boyd, Dylan
                           Boyd, Mohammad Omar Aly Hassan, Ziyad Yaghi. Signed by US Magistrate Judge James E.
                           Gates on 2/22/2011. (Rudd, D.) MODIFIED on 3/9/2011 to UNSEAL per instruction of order.
                           (Rudd, D.). (Entered: 02/23/2011)
 02/24/2011            829 Order Setting Hearings - Status Conference set for 4/4/2011 01:00 PM in Raleigh - 5th Floor
                           Courtroom before US Magistrate Judge James E. Gates. Counsel should review the order in
                           its entirety for critical deadlines and information. Signed by US Magistrate Judge James E.
                           Gates on 2/23/2011. Copies served electronically. (Rudd, D.) (Entered: 02/24/2011)
 02/24/2011            830 MOTION to Produce 404b by Ziyad Yaghi. (Attachments: # 1 Text of Proposed Order 404b)
                           (Ayers, James) (Entered: 02/24/2011)
 02/24/2011            831 MOTION to Compel Expert Witness Reports by Ziyad Yaghi. (Attachments: # 1 Text of
                           Proposed Order) (Ayers, James) (Entered: 02/24/2011)
 02/24/2011            832 Memorandum in Support by Ziyad Yaghi re 831 MOTION to Compel Expert Witness Reports
                           (Ayers, James) (Entered: 02/24/2011)
 02/24/2011            833 MOTION to Compel Identity of Witnesses by Ziyad Yaghi. (Attachments: # 1 Text of
                           Proposed Order) (Ayers, James) (Entered: 02/24/2011)
 02/24/2011            834
                        CaseMemorandum  in Support
                             5:09-cr-00216-FL      by Ziyad Yaghi
                                                Document    2364 reFiled
                                                                    833 MOTION
                                                                         03/25/21to Page
                                                                                    Compel
                                                                                         36Identity
                                                                                            of 74 of Witnesses
https://ecf.nced.uscourts.gov/cgi-bin/DktRpt.pl?138298681748329-L_1_0-1                                                     36/74
3/25/2021                                                                 CM/ECF - NCED

                               (Ayers, James) (Entered: 02/24/2011)
 02/24/2011            835 MOTION to Compel Discovery re Violent Jihad by Ziyad Yaghi. (Attachments: # 1 Text of
                           Proposed Order) (Ayers, James) (Entered: 02/24/2011)
 02/24/2011            836 Memorandum in Support by Ziyad Yaghi re 835 MOTION to Compel Discovery re Violent
                           Jihad (Ayers, James) (Entered: 02/24/2011)
 02/24/2011            837 MOTION to Compel Recorded Statements by Ziyad Yaghi. (Attachments: # 1 Text of
                           Proposed Order) (Ayers, James) (Entered: 02/24/2011)
 02/24/2011            838 MOTION to Compel Exculpatory Information by Ziyad Yaghi. (Attachments: # 1 Text of
                           Proposed Order) (Ayers, James) (Entered: 02/24/2011)
 02/24/2011            839 NOTICE RE Deadline re 479 Order,, (Ayers, James) (Entered: 02/24/2011)
 02/24/2011            840 MOTION to Compel Identiﬁcation of Informants by Ziyad Yaghi. (Attachments: # 1 Text of
                           Proposed Order) (Ayers, James) (Entered: 02/24/2011)
 02/24/2011            841 MOTION to Suppress FISA Derived Evidence by Ziyad Yaghi. (Attachments: # 1 Text of
                           Proposed Order) (Ayers, James) (Entered: 02/24/2011)
 02/24/2011            842 Memorandum in Support by Ziyad Yaghi re 841 MOTION to Suppress FISA Derived
                           Evidence (Ayers, James) (Entered: 02/24/2011)
 02/24/2011            843 MOTION for Disclosure of FISA Derived evidence by Ziyad Yaghi. (Attachments: # 1 Text of
                           Proposed Order) (Ayers, James) (Entered: 02/24/2011)
 02/24/2011            844 MOTION for Extension of Time to File by Ziyad Yaghi. (Attachments: # 1 Text of Proposed
                           Order) (Ayers, James) (Entered: 02/24/2011)
 02/24/2011            845 Motion re 823 Order by USA as to Daniel Patrick Boyd, Hysen Sheriﬁ, Anes Subasic,
                           Zakariya Boyd, Dylan Boyd, Mohammad Omar Aly Hassan, Ziyad Yaghi (Kocher, Barbara)
                           Modiﬁed on 3/7/2011 as to event naming convention only. (Callihan, J.) Modiﬁed on 3/9/2011
                           to UNSEAL per order at DE #877. (Rudd, D.). Modiﬁed on 3/9/2011 (Rudd, D.). (Entered:
                           02/24/2011)
 02/24/2011            846 MOTION to Seal Motion 845 Motion Objections and Request re: DE 823 by USA as to
                           Daniel Patrick Boyd, Hysen Sheriﬁ, Anes Subasic, Zakariya Boyd, Dylan Boyd, Mohammad
                           Omar Aly Hassan, Ziyad Yaghi. (Attachments: # 1 Text of Proposed Order) (Kocher, Barbara)
                           Modiﬁed on 3/7/2011 as to event naming convention only. (Callihan, J.) Modiﬁed on 3/9/2011
                           to correct language. (Rudd, D.). (Entered: 02/24/2011)
 02/25/2011            849 MOTION for Bill of Particulars by Ziyad Yaghi. (Attachments: # 1 Text of Proposed Order)
                           (Ayers, James) (Entered: 02/25/2011)
 02/25/2011            850 Motion to Reveal by Ziyad Yaghi. (Attachments: # 1 Text of Proposed Order) (Ayers, James)
                           (Entered: 02/25/2011)
 02/25/2011            851 MOTION Order to Preserve Rough Notes by Ziyad Yaghi. (Attachments: # 1 Text of
                           Proposed Order) (Ayers, James) (Entered: 02/25/2011)
 02/28/2011            858 OFFICIAL TRANSCRIPT of STATUS CONFERENCE Proceedings as to Daniel Patrick
                           Boyd, Hysen Sheriﬁ, Anes Subasic, Zakariya Boyd, Dylan Boyd, Mohammad Omar Aly
                           Hassan and Ziyad Yaghi held on November 16, 2010, before Judge James E. Gates. Court
                           Reporter: Rebecca Crunk. Transcript may be viewed at the court public terminal or purchased
                           through the Court Reporter/Transcriber before the deadline for Release of Transcript
                           Restriction. After that date it may be obtained through PACER. Please review Attorney
                           obligations regarding the redaction of electronic transcripts of court proceedings available on
                           the court's website. Redaction Request due 3/21/2011. Redacted Transcript Deadline set for

                        Case 5:09-cr-00216-FL Document 2364 Filed 03/25/21 Page 37 of 74
https://ecf.nced.uscourts.gov/cgi-bin/DktRpt.pl?138298681748329-L_1_0-1                                                37/74
3/25/2021                                                                 CM/ECF - NCED

                               3/31/2011. Release of Transcript Restriction set for 5/29/2011. (Thuemmel Proctor, S.)
                               (Entered: 02/28/2011)
 02/28/2011                    NOTICE of Filing of Ofﬁcial Transcript 858 Transcript. The parties have seven calendar days
                               from the ﬁling of the transcript to ﬁle a Notice of Intent to Request Redaction. The parties
                               must also serve a copy on the court reporter or transcriber. After ﬁling the Notice of Intent to
                               Request Redaction, a party must submit to the court reporter or transcriber, within 21 calendar
                               days of the ﬁling of the transcript, a written statement indicating where the personal data
                               identiﬁers to be redacted appear in the transcript. (Thuemmel Proctor, S.) (Entered:
                               02/28/2011)
 03/01/2011                    MOTIONS as to Ziyad Yaghi REFERRED to Magistrate Judge: 844 MOTION for Extension
                               of Time to File Motions referred to James E. Gates. (Rudd, D.) (Entered: 03/01/2011)
 03/07/2011            877 ORDER as to Daniel Patrick Boyd, Hysen Sheriﬁ, Anes Subasic, Zakariya Boyd, Dylan
                           Boyd, Mohammad Omar Aly Hassan, Ziyad Yaghi - This matter comes now before the court
                           upon the government's recent ﬁling reference (DE845) denominated "Statement of Objection
                           to and Request to Set Aside Order of Magistrate Judge." Any defendant wishing to be heard
                           in response shall have up to and until 3/11/11. Should the deadline given in the order at issue
                           expire tomorrow with no motion and supporting memorandum being ﬁled seeking permanent
                           sealing of that order, any response shall, as a matter of course, be lodged directly on the
                           docket. Signed by Chief Judge Louise Wood Flanagan on 3/7/2011. Copies served
                           electronically. (Rudd, D.) (Entered: 03/07/2011)
 03/08/2011            879 ORDER granting 767 Motion to Take Deposition in a Foreign Country as to Ziyad Yaghi (8).
                           Counsel should review the order in its entirety for critical deadlines and information. Signed
                           by US Magistrate Judge James E. Gates on 3/8/2011. Copies served electronically. (Cress, L.)
                           (Entered: 03/08/2011)
 03/10/2011                    Minute Entry for proceedings held before United States Magistrate Judge James E. Gates:
                               Telephone conference held on 3/10/11 regarding Ziyad Yaghis motion for extension of time
                               (D.E. 844). Assistant US Attorney Barb Kocher present for Government. James M. Ayers II
                               present for defendant. 10 Minutes. (Murphy-Farmer, C.) Modiﬁed on 3/11/2011 to correct
                               abbreviations. (Rudd, D.) (Entered: 03/10/2011)
 03/11/2011            882 ORDER granting 844 Motion for Extension of Time to File as to Ziyad Yaghi (8). Counsel
                           should review the order in its entirety for critical deadlines and information. Signed by United
                           States Magistrate Judge James E. Gates on 3/10/2011. (Rudd, D.) (Entered: 03/11/2011)
 03/11/2011            884 RESPONSE in Opposition by USA as to Ziyad Yaghi re 830 MOTION to Produce 404b.
                           (Kocher, Barbara) (Entered: 03/11/2011)
 03/11/2011            885 RESPONSE in Opposition by USA as to Ziyad Yaghi re 838 MOTION to Compel
                           Exculpatory Information. (Kocher, Barbara) (Entered: 03/11/2011)
 03/11/2011            886 RESPONSE in Opposition by USA as to Ziyad Yaghi re 840 MOTION to Compel
                           Identiﬁcation of Informants, 833 MOTION to Compel Identity of Witnesses. (Kocher,
                           Barbara) (Entered: 03/11/2011)
 03/11/2011            887 RESPONSE in Opposition by USA as to Ziyad Yaghi re 835 MOTION to Compel Discovery
                           re Violent. Jihad (Kocher, Barbara) (Entered: 03/11/2011)
 03/11/2011            888 RESPONSE in Opposition by USA as to Ziyad Yaghi re 831 MOTION to Compel Expert
                           Witness Reports. (Kocher, Barbara) (Entered: 03/11/2011)
 03/11/2011            889 PROPOSED SEALED RESPONSE by USA re 837 MOTION to Compel Recorded
                           Statements. (Kocher, Barbara) Modiﬁed docket text on 3/14/2011 as to the correct ﬁler.
                           (Callihan, J.) (Entered: 03/11/2011)
 03/14/2011                NOTICE OF TELEPHONIC HEARING ON MOTION re 845 MOTION to Reconsider 823
                        Case 5:09-cr-00216-FL Document 2364 Filed 03/25/21 Page 38 of 74
https://ecf.nced.uscourts.gov/cgi-bin/DktRpt.pl?138298681748329-L_1_0-1                                                     38/74
3/25/2021                                                                 CM/ECF - NCED

                               ORDER: Telephonic Motion Hearing set for 3/17/2011 at 02:00 PM before Chief Judge
                               Louise Wood Flanagan. Attendance mandatory for government. All other interested parties
                               and/or defendants may appear. All counsel will be contacted in advance of conference by
                               court personnel and provided the required dial-in information necessary to participate. (Baker,
                               C.) (Entered: 03/14/2011)
 03/14/2011            893 RESPONSE in Opposition by USA as to Ziyad Yaghi re 850 Motion to Reveal (Kocher,
                           Barbara) (Entered: 03/14/2011)
 03/14/2011            894 RESPONSE in Opposition by USA as to Ziyad Yaghi re 849 MOTION for Bill of Particulars
                           (Kocher, Barbara) (Entered: 03/14/2011)
 03/14/2011            895 RESPONSE in Opposition by USA as to Ziyad Yaghi re 851 MOTION Order to Preserve
                           Rough Notes (Kocher, Barbara) (Entered: 03/14/2011)
 03/14/2011                    MOTIONS as to Ziyad Yaghi REFERRED to Magistrate Judge: 849 MOTION for Bill of
                               Particulars, 851 MOTION Order to Preserve Rough Notes, 830 MOTION to Produce 404b,
                               850 Motion to Reveal, 831 MOTION to Compel Expert Witness Reports Motions referred to
                               James E. Gates. (Rudd, D.) (Entered: 03/14/2011)
 03/16/2011            897 ORDER denying 755 Motion for evidence under Rule 404(b) as to Hysen Sheriﬁ (2); denying
                           787 Motion for evidence under Rule 404(b) as to Anes Subasic (3); denying 782 Motion for
                           evidence under Rule 404(b) as to Mohammad Omar Aly Hassan (7); denying 830 Motion to
                           Produce as to Ziyad Yaghi (8). Counsel should read order in its entirety for critical
                           information and deadlines. Signed by Magistrate Judge James E. Gates on 3/16/2011. (Rudd,
                           D.) (Entered: 03/16/2011)
 03/17/2011            898 NOTICE of Classiﬁed Ex Parte Filings of February 28, 2011 (Kocher, Barbara) (Entered:
                           03/17/2011)
 03/17/2011                    Minute Entry for proceedings held before Chief Judge Louise Wood Flanagan in New Bern:
                               Telephone Conference held on 3/17/2011 - John Bowler and Barb Kocher present for US
                               Attorney - Robert McAfee present for Hysen Sheriﬁ - Paul Sun present for Anes Subasic -
                               Joseph Zesotarski present for Dylan and Zakariya Boyd and Michael McEnery present for
                               Mohammed Hassan - Matters regarding the Government's Statement of Objection to and
                               Request to Set Aside Order of Magistrate Judge {DE845]. Written order to follow. (Court
                               Reporter Harry Hagopian.) (Rudd, D.) (Entered: 03/18/2011)
 03/17/2011            899 ORDER re 845 PROPOSED SEALED MOTION ﬁled by USA - The court, while taking the
                           matter under advisement requested further supplement by the government by April 4, 2011,
                           informing of the progress of its production of the three remaining statements. Counsel should
                           read order in its entirety for information and critical deadlines. Signed by Chief Judge Louise
                           Wood Flanagan on 3/17/2011. (Rudd, D.) (Entered: 03/18/2011)
 03/18/2011            900 ORDER as to Ziyad Yaghi. Defendant is hereby DIRECTED to supplement his motion (DE #
                           833) with copy of said document(s) within seven (7) days of entry of this order. Signed by
                           Chief Judge Louise Wood Flanagan on 03/18/2011. (MC) (Entered: 03/18/2011)
 03/21/2011            902 ORDER denying 761 Motion to Compel as to Hysen Sheriﬁ (2); denying 785 Motion to
                           Strike as to Anes Subasic (3); denying 771 Motion to Compel as to Mohammad Omar Aly
                           Hassan (7); denying 835 Motion to Compel as to Ziyad Yaghi (8). Signed by Chief Judge
                           Louise Wood Flanagan on 3/18/2011. (Rudd, D.) (Entered: 03/21/2011)
 03/23/2011            904 ORDER denying 849 Motion for Bill of Particulars as to Ziyad Yaghi (8); granting 850
                           Motion to Reveal as to Ziyad Yaghi (8); granting in part and denying in part 851 Motion to
                           Disclose as to Ziyad Yaghi (8). Counsel should read order in its entirety for critical
                           information and deadlines. Signed by Magistrate Judge James E. Gates on 3/22/2011. (Rudd,
                           D.) (Entered: 03/23/2011)
 03/23/2011            905 NOTICE RE: DEFENSE EXPERTS re 479 Order,, (Ayers, James) (Entered: 03/23/2011)
                        Case 5:09-cr-00216-FL Document 2364 Filed 03/25/21 Page 39 of 74
https://ecf.nced.uscourts.gov/cgi-bin/DktRpt.pl?138298681748329-L_1_0-1                                                    39/74
3/25/2021                                                                 CM/ECF - NCED

 03/25/2011            910 Amended MOTION to Compel Identity of Witnesses by Ziyad Yaghi. (Attachments: # 1
                           Exhibit discovery pages) (Ayers, James) (Entered: 03/25/2011)
 03/28/2011            911 NOTICE of Compliance re: Transcripts re 479 Order,, (Ayers, James) (Entered: 03/28/2011)
 03/29/2011                    MOTION as to Ziyad Yaghi REFERRED to Magistrate Judge: 838 MOTION to Compel
                               Exculpatory Information - Motion referred to James E. Gates. (Rudd, D.) (Entered:
                               03/29/2011)
 03/31/2011            914 ORDER denying 759 Motion to Compel as to Hysen Sheriﬁ (2); denying 786 Motion to
                           Compel as to Mohammad Omar Aly Hassan (7); denying 833 Motion to Compel as to Ziyad
                           Yaghi (8); denying 840 Motion to Compel as to Ziyad Yaghi (8); denying 910 Motion to
                           Compel as to Ziyad Yaghi (8). Signed by Chief Judge Louise Wood Flanagan on 3/31/2011.
                           (Rudd, D.) (Entered: 03/31/2011)
 03/31/2011            915 NOTICE of ﬁling Joint Agenda (Kocher, Barbara) (Entered: 03/31/2011)
 04/01/2011            916 NOTICE of Compliance re transcripts re 479 Order,, (Ayers, James) (Entered: 04/01/2011)
 04/01/2011            917 PROPOSED SEALED Document by USA as to Daniel Patrick Boyd, Hysen Sheriﬁ, Anes
                           Subasic, Zakariya Boyd, Dylan Boyd, Jude Kenan Mohammad, Mohammad Omar Aly
                           Hassan, Ziyad Yaghi (Bowler, John) (Entered: 04/01/2011)
 04/04/2011            921 Minute Entry for proceedings held before Magistrate Judge James E. Gates:Status Conference
                           as to Hysen Sheriﬁ, Anes Subasic, Zakariya Boyd, Dylan Boyd, Mohammad Omar Aly
                           Hassan, Ziyad Yaghi held on 4/4/2011 in Raleigh. Present for US Attorney: Jason Kellhofer,
                           John Bowler; Present for the Defendants: Robert McAfee, Paul Sun, Myron Hill, Jr., Joseph
                           Zeszotarski, Danny Boyce, James Ayers, II. The next status conference is scheduled for May
                           17, 2011 at 1:00 pm. Written Order to Follow. Court goes forward with sealed discussions and
                           ex parte matters. (Court Reporter Rebecca Crunk.) (Powers, S.) (Entered: 04/04/2011)
 04/04/2011            922 ORDER denying as moot without prejudice 838 Motion to Compel as to Ziyad Yaghi (8).
                           Signed by Magistrate Judge James E. Gates on 4/4/2011. (Rudd, D.) (Entered: 04/04/2011)
 04/05/2011            923 ORDER denying 757 Motion to Compel as to Hysen Sheriﬁ (2); denying 788 Motion to
                           Compel as to Anes Subasic (3); denying 764 Motion to Compel as to Dylan Boyd (5);
                           denying 778 Motion to Compel as to Mohammad Omar Aly Hassan (7); denying 831 Motion
                           to Compel as to Ziyad Yaghi (8). Signed by Magistrate Judge James E. Gates on 4/4/2011.
                           (Rudd, D.) (Entered: 04/05/2011)
 04/06/2011            924 Order Setting Hearing - Status Conference set for 5/17/2011 01:00 PM in Raleigh - 5th Floor
                           Courtroom before Magistrate Judge James E. Gates. Counsel should review the order in its
                           entirety for critical deadlines and information. Signed by Magistrate Judge James E. Gates on
                           4/5/2011. (Rudd, D.) (Entered: 04/06/2011)
 04/08/2011                    Minute Entry for ex parte proceedings held before United States Magistrate Judge James E.
                               Gates: Telephone conference held on 4/8/11 regarding ex parte evidence review matter.
                               Attending as liaison for certain defendants represented by CJA panel counsel: James M.
                               Ayers, II. 10 Minutes. Per Judge Gates chambers. (Rudd, D.) (Entered: 04/11/2011)
 04/18/2011            931 SEALED ORDER as to Anes Subasic and Ziyad Yaghi. Signed by Chief Judge Louise Wood
                           Flanagan on 4/15/2011. Copies emailed to all counsel per chambers. (Rudd, D.) (Entered:
                           04/18/2011)
 04/25/2011            936 NOTICE of Compliance re 923 Order on Motion to Compel. (Kocher, Barbara) (Entered:
                           04/25/2011)
 04/26/2011            938 OFFICIAL TRANSCRIPT OF STATUS CONFERENCE: Proceedings as to Daniel Patrick
                           Boyd, Hysen Sheriﬁ, Anes Subasic, Zakariya Boyd, Dylan Boyd, Mohammad Omar Aly
                           Hassan, Ziyad Yaghi held on 4/4/2011, before Judge Gates. Transcriber Rebecca Crunk.
                        Case 5:09-cr-00216-FL Document 2364 Filed 03/25/21 Page 40 of 74
https://ecf.nced.uscourts.gov/cgi-bin/DktRpt.pl?138298681748329-L_1_0-1                                                    40/74
3/25/2021                                                                 CM/ECF - NCED

                               Transcript may be viewed at the court public terminal or purchased through the Court
                               Reporter/Transcriber before the deadline for Release of Transcript Restriction. After that date
                               it may be obtained through PACER. Please review Attorney obligations regarding the
                               redaction of electronic transcripts of court proceedings available on the court's website.
                               Redaction Request due 5/17/2011. Redacted Transcript Deadline set for 5/27/2011. Release of
                               Transcript Restriction set for 7/25/2011. (Steele, F.) (Entered: 04/26/2011)
 04/26/2011                    NOTICE of Filing of Ofﬁcial Transcript - DE 938 - Transcript. The parties have seven
                               calendar days from the ﬁling of the transcript to ﬁle a Notice of Intent to Request Redaction.
                               The parties must also serve a copy on the court reporter or transcriber. After ﬁling the Notice
                               of Intent to Request Redaction, a party must submit to the court reporter or transcriber, within
                               21 calendar days of the ﬁling of the transcript, a written statement indicating where the
                               personal data identiﬁers to be redacted appear in the transcript. (Steele, F.) (Entered:
                               04/26/2011)
 04/26/2011                    NOTICE OF CORRECTION re: 938 Transcript. Transcript cover sheet incorrectly lists
                               additional US Attorney. Reporter has been notiﬁed of error and will reﬁle. (Thuemmel
                               Proctor, S.) (Entered: 04/26/2011)
 04/26/2011            939 CORRECTED OFFICIAL TRANSCRIPT OF STATUS CONFERENCE Proceedings as to
                           Daniel Patrick Boyd, Hysen Sheriﬁ, Anes Subasic, Zakariya Boyd, Dylan Boyd, Mohammad
                           Omar Aly Hassan, Ziyad Yaghi held on 4/4/11, before Judge Gates. Court Reporter Rebecca
                           Crunk. Transcript may be viewed at the court public terminal or purchased through the Court
                           Reporter/Transcriber before the deadline for Release of Transcript Restriction. After that date
                           it may be obtained through PACER. Please review Attorney obligations regarding the
                           redaction of electronic transcripts of court proceedings available on the court's website.
                           Redaction Request due 5/17/2011. Redacted Transcript Deadline set for 5/27/2011. Release of
                           Transcript Restriction set for 7/25/2011. (Steele, F.) (Entered: 04/26/2011)
 04/26/2011                    NOTICE of Filing of Ofﬁcial Transcript - DE 939 - Transcript. The parties have seven
                               calendar days from the ﬁling of the transcript to ﬁle a Notice of Intent to Request Redaction.
                               The parties must also serve a copy on the court reporter or transcriber. After ﬁling the Notice
                               of Intent to Request Redaction, a party must submit to the court reporter or transcriber, within
                               21 calendar days of the ﬁling of the transcript, a written statement indicating where the
                               personal data identiﬁers to be redacted appear in the transcript. (Steele, F.) (Entered:
                               04/26/2011)
 04/27/2011            940 MOTION for Extension of Time to File Responses to FISA Motions - DE 805 Motion to
                           Suppress, DE 810 Motion to Suppress, DE 812 Motion for Disclosure, DE 813 Motion to
                           Adopt Motions, DE 816 Motion to Suppress, DE 818 Motion for Disclosure, DE 841 Motion
                           to Suppress and DE 843 Motion for Disclosure by USA as to Hysen Sheriﬁ, Anes Subasic,
                           Zakariya Boyd, Dylan Boyd, Mohammad Omar Aly Hassan, Ziyad Yaghi. (Attachments: # 1
                           Text of Proposed Order to extend Time) (Kocher, Barbara) (Entered: 04/27/2011)
 04/27/2011                    Motion Submitted as to Hysen Sheriﬁ, Anes Subasic, Zakariya Boyd, Dylan Boyd,
                               Mohammad Omar Aly Hassan, Ziyad Yaghi re 940 MOTION for Extension of Time to File
                               Responses to FISA Motions to Chief Judge Louise Wood Flanagan. (Rudd, D.) (Entered:
                               04/27/2011)
 04/27/2011                    NOTICE TO COUNSEL re: 940 Motion for Extension of Time to File - Counsel did not link
                               DE 940 Motion For Extension of Time to corresponding motions. Clerk has corrected text to
                               reﬂect linkage, so no need to reﬁle this time. In future ﬁlings counsel must link pleadings.
                               (Lee, B.) (Entered: 04/27/2011)
 04/28/2011            941 ORDER granting 940 Motion for Extension of Time to File as to Hysen Sheriﬁ (2), Anes
                           Subasic (3), Zakariya Boyd (4), Dylan Boyd (5), Mohammad Omar Aly Hassan (7), Ziyad
                           Yaghi (8) - Counsel should read order in its entirety for critical deadlines. Signed by Chief
                           Judge Louise Wood Flanagan on 4/28/2011. (Rudd, D.) (Entered: 04/28/2011)
                        Case 5:09-cr-00216-FL Document 2364 Filed 03/25/21 Page 41 of 74
https://ecf.nced.uscourts.gov/cgi-bin/DktRpt.pl?138298681748329-L_1_0-1                                                     41/74
3/25/2021                                                                 CM/ECF - NCED

 04/28/2011            942 NOTICE of Compliance with Deadline for Objections/Proposed Changes to Defense
                           Designated Consensual Recordings (Kocher, Barbara) (Entered: 04/28/2011)
 05/02/2011            951 MOTION for Extension of Time to File Motions to Suppress and Reciprocal Discovery (DE
                           479) by Ziyad Yaghi. (Attachments: # 1 Proposed Order) (Ayers, James) (Entered:
                           05/02/2011)
 05/02/2011            954 ORDER denying as moot 845 PROPOSED Sealed Motion as to Daniel Patrick Boyd (1),
                           Hysen Sheriﬁ (2), Anes Subasic (3), Zakariya Boyd (4), Dylan Boyd (5), Mohammad Omar
                           Aly Hassan (7), Ziyad Yaghi (8). Counsel should read order in its entirety for critical
                           information. Signed by Chief Judge Louise Wood Flanagan on 5/2/2011. (Rudd, D.) (Entered:
                           05/02/2011)
 05/02/2011            955 ORDER granting 951 Motion for Extension of Time to File as to Ziyad Yaghi. The Court
                           Grants and additional thirty (30) days up to and including 6/1/11, by which to ﬁle any Motion
                           to Suppress and reciprocal Discovery. Counsel should order in its entirety for critical
                           deadlines. Signed by Chief Judge Louise Wood Flanagan on 5/2/2011. (Rudd, D.) (Entered:
                           05/02/2011)
 05/16/2011                    Motion Submitted as to Mohammad Omar Aly Hassan, Ziyad Yaghi re 977 MOTION for
                               Extension of Time producing defense expert reports pursuant to Rule 16(b)(1)(B) on behalf of
                               Omar Hassan and Ziyad Yaghi until June 15, 2011 to Chief District Judge Louise Wood
                               Flanagan. (Rudd, D.) (Entered: 05/16/2011)
 05/16/2011            982 ORDER granting 977 Motion for Extension of Time as to Mohammad Omar Aly Hassan and
                           Ziyand Yaghi. Mr. Hassan and Mr. Yaghi will have up through and including June 15, 2011 in
                           which to provide Defense Expert Reports per Rule 16(b)(1)(B). If necessary, the Government
                           will be allowed additional time in which to ﬁle a response or objection to these Reports.
                           Counsel should read order in its entirety for critical information and deadlines. Signed by
                           Chief Judge Louise Wood Flanagan on 5/16/2011. (Rudd, D) (Entered: 05/16/2011)
 05/17/2011            985 Minute Entry for proceedings held before Magistrate Judge James E. Gates in Raleigh: Status
                           Conference as to Hysen Sheriﬁ, Anes Subasic, Zakariya Boyd, Dylan Boyd, Mohammad
                           Omar Aly Hassan, Ziyad Yaghi held on 5/17/2011. Interpreter sworn. Counsel for USA and
                           Defendants counsel present. Defendant Subasic present (pro se) with stand-by counsel.
                           Written order to follow. (Court Reporter Harry Hagopian) (Marsh, K). (Entered: 05/18/2011)
 05/23/2011            997 NOTICE of Intent (CIPA) (Ayers, James) (Entered: 05/23/2011)
 05/23/2011          1001 ORDER as to Daniel Patrick Boyd, Hysen Sheriﬁ, Anes Subasic, Zakariya Boyd, Dylan
                          Boyd, Mohammad Omar Aly Hassan, Ziyad Yaghi - This matter comes before the court on
                          notice given by defendants pursuant to section ﬁve of the Classiﬁed Information Procedures
                          Act ("CIPA"). Counsel should read order in its entirety for critical information and deadlines.
                          Signed by Chief Judge Louise Wood Flanagan on 5/23/2011. (Rudd, D.) (Entered:
                          05/23/2011)
 05/23/2011          1003 NOTICE of Filing Classiﬁed, Ex Parte Omnibus Response re 814 MOTION to Compel
                           Notice of Classiﬁed Discovery Pursuant to CIPA § 6(b), 810 MOTION to Suppress FISA
                           Evidence and to Compel Production of Government's FISA Application and Incorporated
                           Memorandum of Law, 806 Memorandum in Support of Motion, 843 MOTION for Disclosure
                           of FISA Derived evidence, 816 MOTION to Suppress FISA Derived Evidence, 805 MOTION
                           to Suppress FISA-Derived Evidence and Motion to Compel, 818 MOTION for Disclosure of
                           FISA Derived and Any Other Classiﬁed Evidence and Incorporated Memorandum of Law,
                           817 Memorandum in Support of Motion, 812 MOTION for Disclosure of FISA Applications
                           and Orders, and Incorporated Memorandum of Law, 841 MOTION to Suppress FISA
                           Derived Evidence, 842 Memorandum in Support of Motion, 813 MOTION to Adopt Motions
                           of Co-Defendants DEFENDANT HASSANS MOTION TO ADOPT MOTIONS TO COMPEL
                           PRODUCTION OF APPLICATIONS AND ORDERS RELATING TO FISA MATERIALS AND
                       CaseMOTIONS    TO SUPPRESS
                             5:09-cr-00216-FL        FISA MATERIALS
                                                  Document   2364 Filed (AND  INCORPORATED
                                                                          03/25/21            MEMORANDA
                                                                                      Page 42 of 74          OF
https://ecf.nced.uscourts.gov/cgi-bin/DktRpt.pl?138298681748329-L_1_0-1                                                 42/74
3/25/2021                                                                 CM/ECF - NCED

                               LAW) MOTION to Adopt Motions of Co-Defendants DEFENDANT HASSANS MOTION TO
                               ADOPT MOTIONS TO COMPEL PRODUCTION OF APPLICATIONS AND ORDERS
                               RELATING TO FISA MATERIALS AND MOTIONS TO SUPPRESS FISA MATERIALS (AND
                               INCORPORATED MEMORANDA OF LAW) (Kocher, Barbara) (Entered: 05/23/2011)
 05/24/2011          1017 ORDER as to Daniel Patrick Boyd, Hysen Sheriﬁ, Anes Subasic, Zakariya Boyd, Dylan
                          Boyd, Mohammad Omar Aly Hassan, Ziyad Yaghi - This case came before the court on
                          5/17/2011 for a status conference and Hearing on pro se MOTION ﬁled by Anes Subasic 963
                          - Counsel should read order in its entirety for critical information and deadlines. Signed by
                          Magistrate Judge James E. Gates on 5/23/2011. (Rudd, D.) (Entered: 05/24/2011)
 05/24/2011          1019 NOTICE of Progress Re: Proposed Consent Order re 1017 Order. (Kocher, Barbara)
                          (Entered: 05/24/2011)
 05/25/2011          1023 NOTICE of ﬁling of Proposed Consent Order reference 1017 Order. (Kocher, Barbara)
                          (Entered: 05/25/2011)
 05/26/2011          1031 ORDER as to Hysen Sheriﬁ, Anes Subasic, Zakariya Boyd, Dylan Boyd, Mohammad Omar
                          Aly Hassan, Ziyad Yaghi re 1023 Notice (Other). Signed by Chief Judge Louise Wood
                          Flanagan on 5/26/2011. (Rudd, D.) (Entered: 05/26/2011)
 05/31/2011          1043 MOTION for Release of Brady Materials by Ziyad Yaghi. (Attachments: # 1 Proposed Order)
                          (Ayers, James) (Entered: 05/31/2011)
 05/31/2011          1044 MOTION for Jenks Material (For Disclosure of Witness Statements and Incorporated
                          Memorandum of Law) by Ziyad Yaghi. (Attachments: # 1 Proposed Order) (Ayers, James)
                          (Entered: 05/31/2011)
 05/31/2011          1045 MOTION to Sequester Witnesses by Ziyad Yaghi. (Attachments: # 1 Proposed Order) (Ayers,
                          James) (Entered: 05/31/2011)
 05/31/2011          1046 MOTION in Limine by USA as to Hysen Sheriﬁ, Anes Subasic, Zakariya Boyd, Dylan Boyd,
                          Mohammad Omar Aly Hassan, Ziyad Yaghi. (Kocher, Barbara) (Entered: 05/31/2011)
 05/31/2011          1047 MOTION to Sequester by USA as to Hysen Sheriﬁ, Anes Subasic, Zakariya Boyd, Dylan
                          Boyd, Mohammad Omar Aly Hassan, Ziyad Yaghi. (Kocher, Barbara) (Entered: 05/31/2011)
 05/31/2011          1048 MOTION for Extension of Time to provide objections/consent to a portion of defendant
                          Subasic's proposed transcripts containing Bosnian until June 3, 2011 by USA as to Hysen
                          Sheriﬁ, Anes Subasic, Zakariya Boyd, Dylan Boyd, Mohammad Omar Aly Hassan, Ziyad
                          Yaghi. (Attachments: # 1 Text of Proposed Order Extending Time to June 3) (Kocher,
                          Barbara) (Entered: 05/31/2011)
 05/31/2011          1049 NOTICE of United States' Objections/Consent to Defendants' Proposed Transcripts for all
                          Remaining Audio, except for those subject to the Motion for Extension as to Hysen Sheriﬁ,
                          Anes Subasic, Zakariya Boyd, Dylan Boyd, Mohammad Omar Aly Hassan and Ziyad Yaghi.
                          (Kocher, Barbara) (Entered: 05/31/2011)
 05/31/2011          1057 ORDER granting 1048 Motion for Extension of Time - It is hereby ORDERED the time for
                          the United States to provide its objections/consent to 18 remaining designations of defendant
                          Subasic is hereby extended to June 3, 2011. Signed by Chief Judge Louise Wood Flanagan on
                          05/31/2011. (Baker, C.) (Entered: 05/31/2011)
 05/31/2011          1059 NOTICE by USA PURSUANT TO Fed. R. Crim. P. 404(b) as to Hysen Sheriﬁ, Anes Subasic,
                          Zakariya Boyd, Dylan Boyd, Mohammad Omar Aly Hassan and Ziyad Yaghi. (Bowler, John)
                          (Entered: 05/31/2011)
 06/01/2011          1062 NOTICE Re: Daily Transcripts of Trial Proceedings re 1017 Order, (Kocher, Barbara)
                          (Entered: 06/01/2011)
 06/03/2011          1070 NOTICE of United States Disclosure of Final Set of Proposed Changes to Defendants'
                       Case 5:09-cr-00216-FL Document 2364 Filed 03/25/21 Page 43 of 74
https://ecf.nced.uscourts.gov/cgi-bin/DktRpt.pl?138298681748329-L_1_0-1                                              43/74
3/25/2021                                                                 CM/ECF - NCED

                               Designations of Sensitive Recordings (Kocher, Barbara) (Entered: 06/03/2011)
 06/03/2011          1071 Memorandum in Opposition by USA as to Hysen Sheriﬁ, Anes Subasic, Zakariya Boyd,
                          Dylan Boyd, Mohammad Omar Aly Hassan, Ziyad Yaghi re 814 MOTION to Compel Notice
                          of Classiﬁed Discovery Pursuant to CIPA § 6(b), 810 MOTION to Suppress FISA Evidence
                          and to Compel Production of Government's FISA Application and Incorporated Memorandum
                          of Law, 843 MOTION for Disclosure of FISA Derived evidence, 816 MOTION to Suppress
                          FISA Derived Evidence, 805 MOTION to Suppress FISA-Derived Evidence and Motion to
                          Compel, 818 MOTION for Disclosure of FISA Derived and Any Other Classiﬁed Evidence
                          and Incorporated Memorandum of Law, 812 MOTION for Disclosure of FISA Applications
                          and Orders, and Incorporated Memorandum of Law, 841 MOTION to Suppress FISA
                          Derived Evidence, 813 MOTION to Adopt Motions of Co-Defendants DEFENDANT
                          HASSANS MOTION TO ADOPT MOTIONS TO COMPEL PRODUCTION OF
                          APPLICATIONS AND ORDERS RELATING TO FISA MATERIALS AND MOTIONS TO
                          SUPPRESS FISA MATERIALS (AND INCORPORATED MEMORANDA OF LAW) MOTION
                          to Adopt Motions of Co-Defendants DEFENDANT HASSANS MOTION TO ADOPT
                          MOTIONS TO COMPEL PRODUCTION OF APPLICATIONS AND ORDERS RELATING
                          TO FISA MATERIALS AND MOTIONS TO SUPPRESS FISA MATERIALS (AND
                          INCORPORATED MEMORANDA OF LAW) , and related to D.E. 1003 (Kocher, Barbara)
                          (Entered: 06/03/2011)
 06/05/2011          1073 Memorandum in Opposition by USA as to Hysen Sheriﬁ, Anes Subasic, Zakariya Boyd,
                          Dylan Boyd, Mohammad Omar Aly Hassan, Ziyad Yaghi re 814 MOTION to Compel Notice
                          of Classiﬁed Discovery Pursuant to CIPA § 6(b), 810 MOTION to Suppress FISA Evidence
                          and to Compel Production of Government's FISA Application and Incorporated Memorandum
                          of Law, 843 MOTION for Disclosure of FISA Derived evidence, 816 MOTION to Suppress
                          FISA Derived Evidence, 805 MOTION to Suppress FISA-Derived Evidence and Motion to
                          Compel, 818 MOTION for Disclosure of FISA Derived and Any Other Classiﬁed Evidence
                          and Incorporated Memorandum of Law, 812 MOTION for Disclosure of FISA Applications
                          and Orders, and Incorporated Memorandum of Law, 841 MOTION to Suppress FISA
                          Derived Evidence, 813 MOTION to Adopt Motions of Co-Defendants DEFENDANT
                          HASSANS MOTION TO ADOPT MOTIONS TO COMPEL PRODUCTION OF
                          APPLICATIONS AND ORDERS RELATING TO FISA MATERIALS AND MOTIONS TO
                          SUPPRESS FISA MATERIALS (AND INCORPORATED MEMORANDA OF LAW) MOTION
                          to Adopt Motions of Co-Defendants DEFENDANT HASSANS MOTION TO ADOPT
                          MOTIONS TO COMPEL PRODUCTION OF APPLICATIONS AND ORDERS RELATING
                          TO FISA MATERIALS AND MOTIONS TO SUPPRESS FISA MATERIALS (AND
                          INCORPORATED MEMORANDA OF LAW) and related to D.E. 1003, corrected.
                          (Attachments: # 1 Exhibit 1: Declaration of Attorney General) (Kocher, Barbara) (Entered:
                          06/05/2011)
 06/06/2011                Motions Submitted as to Hysen Sheriﬁ, Anes Subasic, Zakariya Boyd, Dylan Boyd,
                           Mohammad Omar Aly Hassan, Ziyad Yaghi re 680 PROPOSED SEALED MOTION by
                           Ziyad Yaghi, 814 MOTION to Compel Notice of Classiﬁed Discovery Pursuant to CIPA §
                           6(b), 810 MOTION to Suppress FISA Evidence and to Compel Production of Government's
                           FISA Application and Incorporated Memorandum of Law, 843 MOTION for Disclosure of
                           FISA Derived evidence, 816 MOTION to Suppress FISA Derived Evidence, 805 MOTION to
                           Suppress FISA-Derived Evidence and Motion to Compel, 818 MOTION for Disclosure of
                           FISA Derived and Any Other Classiﬁed Evidence and Incorporated Memorandum of Law,
                           812 MOTION for Disclosure of FISA Applications and Orders, and Incorporated
                           Memorandum of Law, 841 MOTION to Suppress FISA Derived Evidence, 813 MOTION to
                           Adopt Motions of Co-Defendants DEFENDANT HASSANS MOTION TO ADOPT MOTIONS
                           TO COMPEL PRODUCTION OF APPLICATIONS AND ORDERS RELATING TO FISA
                           MATERIALS AND MOTIONS TO SUPPRESS FISA MATERIALS (AND INCORPORATED
                           MEMORANDA OF LAW) MOTION to Adopt Motions of Co-Defendants DEFENDANT
                           HASSANS MOTION TO ADOPT MOTIONS TO COMPEL PRODUCTION OF
                        Case 5:09-cr-00216-FL Document 2364 Filed 03/25/21 Page 44 of 74
https://ecf.nced.uscourts.gov/cgi-bin/DktRpt.pl?138298681748329-L_1_0-1                                         44/74
3/25/2021                                                                 CM/ECF - NCED

                               APPLICATIONS AND ORDERS RELATING TO FISA MATERIALS AND MOTIONS TO
                               SUPPRESS FISA MATERIALS (AND INCORPORATED MEMORANDA OF LAW) to Chief
                               Judge Louise Wood Flanagan. (Rudd, D.) (Entered: 06/06/2011)
 06/07/2011          1077 MOTION to Adopt Motions of Co-Defendants Dylan Boyd by Ziyad Yaghi. (Attachments: #
                          1 Text of Proposed Order) (Ayers, James) (Entered: 06/07/2011)
 06/09/2011          1102 NOTICE RE: DAILY TRANSCRIPTS re 1017 Order. (Ayers, James) (Entered: 06/09/2011)
 06/09/2011          1103 NOTICE of ﬁling of Classiﬁed Response re 1027 Document, 1005 Notice (Other), 1008
                          Notice (Other), 986 MOTION for permission to review and discuss classiﬁed material, 997
                          Notice (Other), 1000 Notice (Other), 999 Notice (Other) (Kocher, Barbara) (Entered:
                          06/09/2011)
 06/09/2011          1104 NOTICE of Classiﬁed, Ex Parte Filing (Kocher, Barbara) (Entered: 06/09/2011)
 06/09/2011          1105 NOTICE OF HEARING as to Hysen Sheriﬁ, Anes Subasic, Dylan Boyd, Mohammad Omar
                          Aly Hassan and Ziyad Yaghi: Arraignment set for 8/15/2011 10:30 AM in Raleigh - 7th Floor
                          - Courtroom 2 before Chief Judge Louise Wood Flanagan. (Rudd, D.) (Entered: 06/09/2011)
 06/09/2011          1106 Order as to Daniel Patrick Boyd, Hysen Sheriﬁ, Anes Subasic, Zakariya Boyd, Dylan Boyd,
                          Mohammad Omar Aly Hassan, Ziyad Yaghi. Motions Hearing and Rule 16 Status Conference
                          set for 7/29/2011 at 9:30 AM in New Bern - Courtroom before Chief Judge Louise Wood
                          Flanagan. Counsel should refer to Order for critical information. Signed by Chief Judge
                          Louise Wood Flanagan on 6/9/2011. (Tripp, S.) (Entered: 06/09/2011)
 06/10/2011           1119 ORDER as to Daniel Patrick Boyd, Hysen Sheriﬁ, Anes Subasic, Zakariya Boyd, Dylan
                           Boyd, Mohammad Omar Aly Hassan and Ziyad Yaghi re 1106 - The court hereby AMENDS
                           said order to reﬂect that the status conference will take place pursuant to Rule 17.1 of the
                           Federal Rules of Criminal Procedure, which provides that on its own initiative, the court may
                           hold pretrial conference to promote a fair and expeditious trial. Signed by Chief Judge Louise
                           Wood Flanagan on 6/10/2011. (Rudd, D.) (Entered: 06/10/2011)
 06/13/2011          1127 MOTION to Adopt Motions of Co-Defendants by Ziyad Yaghi. (Attachments: # 1 Text of
                          Proposed Order) (Ayers, James) (Entered: 06/13/2011)
 06/13/2011          1128 MOTION for evidence under Rule 404(b) Determination of Admissibility/Inadmissibility by
                          Ziyad Yaghi. (Attachments: # 1 Text of Proposed Order) (Ayers, James) (Entered: 06/13/2011)
 06/13/2011          1129 MOTION to Adopt Motions of Co-Defendants by Ziyad Yaghi. (Attachments: # 1 Text of
                          Proposed Order) (Ayers, James) (Entered: 06/13/2011)
 06/13/2011          1130 MOTION to Adopt Motions of Co-Defendants by Ziyad Yaghi. (Attachments: # 1 Text of
                          Proposed Order) (Ayers, James) (Entered: 06/13/2011)
 06/13/2011          1131 RESPONSE in Opposition by Ziyad Yaghi re 1047 MOTION to Sequester (Ayers, James)
                          (Entered: 06/13/2011)
 06/16/2011          1143 RESPONSE in Opposition by Anes Subasic as to Hysen Sheriﬁ, Dylan Boyd, Mohammad
                          Omar Aly Hassan and Ziyad Yaghi re 1077 MOTION to Adopt Motions of Co-Defendants
                          Dylan Boyd, 1054 MOTION to Sever Defendant from Trial of Co-Defendant Anes Subasic,
                          1089 MOTION to Adopt Motions of Co-Defendants D.E. # 1054 & 1060 re Motion to Sever
                          Trial from Subasic, 1060 MOTION to Sever Defendant Anes Subasic and to Adopt Motion by
                          Co-Defendant (Attachments: # 1 Envelope) (Rudd, D.) (Entered: 06/16/2011)
 06/16/2011          1147 NOTICE of Compliance RE: Jury Questionnaire (Ayers, James) (Entered: 06/16/2011)
 06/16/2011          1148 NOTICE of Compliance RE: Defense Expert Witness Reports (Ayers, James) (Entered:
                          06/16/2011)
 06/16/2011          1149 NOTICE of disclosure of US proposed Jury Questionnaire (Kocher, Barbara) (Entered:
                       Case 5:09-cr-00216-FL Document 2364 Filed 03/25/21 Page 45 of 74
https://ecf.nced.uscourts.gov/cgi-bin/DktRpt.pl?138298681748329-L_1_0-1                                                45/74
3/25/2021                                                                 CM/ECF - NCED

                               06/16/2011)
 06/16/2011          1150 NOTICE of SBU disclosure (Kocher, Barbara) (Entered: 06/16/2011)
 06/20/2011          1155 MOTION to Adopt Motions of Co-Defendants by Ziyad Yaghi. (Attachments: # 1 Text of
                          Proposed Order) (Ayers, James) (Entered: 06/20/2011)
 06/20/2011          1160 NOTICE of Objection (Attachments: # 1 Text of Proposed Order) (Ayers, James) (Entered:
                          06/20/2011)
 06/20/2011          1163 RESPONSE in Opposition by USA as to Hysen Sheriﬁ, Dylan Boyd, Ziyad Yaghi re 1077
                          MOTION to Adopt Motions of Co-Defendants Dylan Boyd, 1054 MOTION to Sever
                          Defendant from Trial of Co-Defendant Anes Subasic, 1060 MOTION to Sever Defendant
                          Anes Subasic and to Adopt Motion by Co-Defendant (Bowler, John) (Entered: 06/20/2011)
 06/20/2011          1165 RESPONSE to Motion by USA as to Hysen Sheriﬁ, Dylan Boyd, Ziyad Yaghi re 1043
                          MOTION for Release of Brady Materials, 1036 MOTION for Release of Brady Materials and
                          Giglio Materials, 1051 MOTION for Release of Brady Materials (Kocher, Barbara) (Entered:
                          06/20/2011)
 06/20/2011          1166 RESPONSE in Opposition by USA as to Ziyad Yaghi re 1044 MOTION for Jenks Material
                          (Kocher, Barbara) (Entered: 06/20/2011)
 06/20/2011          1167 RESPONSE to Motion by USA as to Hysen Sheriﬁ, Dylan Boyd, Ziyad Yaghi re 1037
                          MOTION to Sequester, 1052 MOTION to Sequester Government Witnesses, 1045 MOTION
                          to Sequester Witnesses (Kocher, Barbara) (Entered: 06/20/2011)
 06/20/2011          1170 RESPONSE in Opposition by USA as to Hysen Sheriﬁ, Dylan Boyd, Mohammad Omar Aly
                          Hassan, Ziyad Yaghi re 1130 MOTION to Adopt Motions of Co-Defendants, 1124 MOTION
                          in Limine to Exclude References to Jude Kenan Mohammad (And Incorporated Memorandum
                          of Law), 1055 MOTION in Limine to Exclude References to Bajram Asllani, 1038 MOTION
                          to Exclude Evidence re Bajram Asllani, 1091 MOTION to Adopt Motions of Co-Defendants
                          D.E. # 1038 & 1055: Motion to Exclude References to Bajram Asllani, 1129 MOTION to
                          Adopt Motions of Co-Defendants (Kocher, Barbara) (Entered: 06/20/2011)
 06/21/2011          1172 Order Setting Hearing - as to Hysen Sheriﬁ, Anes Subasic, Dylan Boyd, Mohammad Omar
                          Aly Hassan and Ziyad Yaghi. Daubert Hearing as to (DE # 1123, 1161, 1159, 1132 and 1127)
                          set for 8/16/2011 09:30 AM in Raleigh - 7th Floor - Courtroom 2 before Chief Judge Louise
                          Wood Flanagan. Counsel should ready order in its entirety for critical information. Signed by
                          Chief Judge Louise Wood Flanagan on 6/21/2011. (Rudd, D.) (Entered: 06/21/2011)
 06/22/2011          1173 RENOTICE OF HEARING as to Hysen Sheriﬁ, Anes Subasic, Dylan Boyd, Mohammad
                          Omar Aly Hassan and Ziyad Yaghi: Arraignment and Rule 17.1 Status Conference set for
                          8/15/2011 10:00 AM in Raleigh - 7th Floor - Courtroom 2 before Chief Judge Louise Wood
                          Flanagan. *Counsel please take note of time change and that a Rule 17.1 Status Conference
                          has been added. (Rudd, D.) (Entered: 06/22/2011)
 06/22/2011          1174 ORDER denying 805 Motion to Suppress as to Hysen Sheriﬁ; denying 812 Motion for
                          Disclosure as to Anes Subasic; denying 816 Motion to Suppress as to Anes Subasic; denying
                          818 Motion for Disclosure as to Anes Subasic; denying 810 Motion to Suppress as to Dylan
                          Boyd; denying 841 Motion to Suppress as to Ziyad Yaghi; denying 843 Motion for Disclosure
                          as to Ziyad Yaghi; 680 Sealed Motion as to Ziyad Yaghi; 813 Motion to Adopt Motions of
                          Co-Defendants. Signed by Chief Judge Louise Wood Flanagan on 6/22/2011. (Rudd, D.)
                          (Entered: 06/22/2011)
 06/24/2011          1187 NOTICE Of Filing of Classiﬁed, Ex Parte Supplement re 1104 Notice (Other) (Kocher,
                          Barbara) (Entered: 06/24/2011)
 06/24/2011                MOTIONS as to Hysen Sheriﬁ, Anes Subasic, Dylan Boyd and Ziyad Yaghi REFERRED to
                           Magistrate Judge James E. Gates: 1044 MOTION for Jenks Material, 1056 MOTION in
                        Case 5:09-cr-00216-FL Document 2364 Filed 03/25/21 Page 46 of 74
https://ecf.nced.uscourts.gov/cgi-bin/DktRpt.pl?138298681748329-L_1_0-1                                              46/74
3/25/2021                                                                 CM/ECF - NCED

                               Limine to Exclude Statements made by Co-Defendants, 1043 MOTION for Release of Brady
                               Materials, 1036 MOTION for Release of Brady Materials and Giglio Materials, 1035
                               MOTION for Jenks Material (Grand Jury Testimony), 1072 MOTION to Compel Brady and
                               Giglio Material and Incorporated Memorandum of Law, 1051 MOTION for Release of Brady
                               Materials. (Rudd, D.) (Entered: 06/24/2011)
 06/24/2011                    Motions Submitted to Chief Judge Louise Wood Flanagan as to Hysen Sheriﬁ, Anes Subasic,
                               Dylan Boyd, Mohammad Omar Aly Hassan and Ziyad Yaghi re 1077 MOTION to Adopt
                               Motions of Co-Defendants Dylan Boyd, 1047 MOTION to Sequester, 1046 MOTION in
                               Limine, 1053 MOTION early production of Government Summary Exhibits, 1130 MOTION
                               to Adopt Motions of Co-Defendants, 1124 MOTION in Limine to Exclude References to Jude
                               Kenan Mohammad (And Incorporated Memorandum of Law), 1037 MOTION to Sequester,
                               1075 MOTION in Limine, 1052 MOTION to Sequester Government Witnesses, 1109
                               MOTION in Limine To Exclude Expert Testimony (Pro Se), 1055 MOTION in Limine to
                               Exclude References to Bajram Asllani, 1045 MOTION to Sequester Witnesses, 1038
                               MOTION to Exclude Evidence re Bajram Asllani, 1054 MOTION to Sever Defendant from
                               Trial of Co-Defendant Anes Subasic, 1091 MOTION to Adopt Motions of Co-Defendants
                               D.E. # 1038 & 1055: Motion to Exclude References to Bajram Asllani, 1129 MOTION to
                               Adopt Motions of Co-Defendants, 1060 MOTION to Sever Defendant Anes Subasic and to
                               Adopt Motion by Co-Defendant. (Rudd, D.) (Entered: 06/24/2011)
 06/26/2011          1192 ORDER - defendants' Notices of Intent pursuant to CIPA Section 5 and Hysen Sheriﬁ's (2)
                          Motion for Classiﬁed Information pursuant to CIPA Section 6 DE#'s 814 , 997 , 999 , and
                          1000 are DENIED as moot - Denying Motion as to 986 Anes Subasic (3). To the extent that
                          Subasic's motion is a motion to reconsider the court's April 18, 2011, order or seeks to compel
                          audio recordings other than the ones from March 21, 2008, and April 18, 2008, it is DENIED.
                          Signed by Chief Judge Louise Wood Flanagan on 6/26/2011. (Callihan, J.) (Entered:
                          06/27/2011)
 06/29/2011          1204 RESPONSE in Opposition by USA as to Ziyad Yaghi re 1128 MOTION for evidence under
                          Rule 404(b) Determination of Admissibility/Inadmissibility (Kocher, Barbara) (Entered:
                          06/29/2011)
 06/29/2011          1205 MOTION for Leave to File Response to D.E. 1128 by USA as to Ziyad Yaghi. (Attachments:
                          # 1 Text of Proposed Order allowing leave to ﬁle) (Kocher, Barbara) (Entered: 06/29/2011)
 06/29/2011                    Motion Submitted as to Ziyad Yaghi re 1205 MOTION for Leave to File Response to D.E.
                               1128 to Chief Judge Louise Wood Flanagan. (Callihan, J.) (Entered: 06/29/2011)
 06/30/2011                    Motion Submitted as to Ziyad Yaghi re 1128 MOTION for evidence under Rule 404(b)
                               Determination of Admissibility/Inadmissibility to Chief Judge Louise Wood Flanagan.
                               (Callihan, J.) (Entered: 06/30/2011)
 06/30/2011          1206 ORDER granting 1205 Motion for Leave to File response out of time re (DE#1128) Motion as
                          to Ziyad Yaghi (8). Signed by Chief Judge Louise Wood Flanagan on 6/30/2011. (Callihan, J.)
                          (Entered: 06/30/2011)
 06/30/2011          1207 RESPONSE in Opposition by USA as to Hysen Sheriﬁ, Anes Subasic, Dylan Boyd,
                          Mohammad Omar Aly Hassan, Ziyad Yaghi re 1132 MOTION to Adopt Motions of Co-
                          Defendants D.E. # 1123, 1159 MOTION For Leave to Adopt Daubert Motion of Defendant
                          Hassan and Incorporated Memorandum of Law Re: DE 1123 (Pro Se), 1127 MOTION to
                          Adopt Motions of Co-Defendants, 1123 MOTION for Hearing Daubert Hearing Prior to
                          Trial to Determine Admissibility/Inadmissibility of Expert Testimony and 1161 Response to
                          Defendant Hassan's Motion for Daubert Hearing and Motion for Leave to Adopt
                          (Attachments: # 1 Exhibit summary of Kohlmann testimony, # 2 Exhibit Summary of
                          Sageman testimony, # 3 Exhibit Kohlmann cv, # 4 Exhibit Sageman cv) (Kocher, Barbara)
                          (Entered: 06/30/2011)
 06/30/2011          1208
                       CaseRESPONSE   in Opposition
                            5:09-cr-00216-FL        by USA2364
                                               Document   as to Hysen
                                                                 FiledSheriﬁ, Anes Page
                                                                       03/25/21    Subasic,
                                                                                        47Dylan
                                                                                            of 74 Boyd,
https://ecf.nced.uscourts.gov/cgi-bin/DktRpt.pl?138298681748329-L_1_0-1                                               47/74
3/25/2021                                                                 CM/ECF - NCED

                               Mohammad Omar Aly Hassan, Ziyad Yaghi re 1132 MOTION to Adopt Motions of Co-
                               Defendants D.E. # 1123, 1159 MOTION For Leave to Adopt Daubert Motion of Defendant
                               Hassan and Incorporated Memorandum of Law Re: DE 1123 (Pro Se), 1127 MOTION to
                               Adopt Motions of Co-Defendants, 1123 MOTION for Hearing Daubert Hearing Prior to
                               Trial to Determine Admissibility/Inadmissibility of Expert Testimony and 1161 Response to
                               Defendant Hassan's Motion for Daubert Hearing and Motion for Leave to Adopt, corrected
                               (Attachments: # 1 Exhibit A - Summary of Kohlmann testimony, # 2 Exhibit B - summary of
                               Sageman testimony, # 3 Exhibit C - Kohlmann curriculum vitae, # 4 Exhibit D - Sageman
                               curriculum vitae) (Kocher, Barbara) (Entered: 06/30/2011)
 06/30/2011          1210 RESPONSE in Opposition by USA as to Hysen Sheriﬁ, Mohammad Omar Aly Hassan, Ziyad
                          Yaghi re 1155 MOTION to Adopt Motions of Co-Defendants, 1094 MOTION to Compel
                          Brady and Giglio Material related to Daniel Boyd's Medical and Mental Health Records (and
                          Incorporated Memorandum of Law) , 1202 Response in Support of Defendant Hassan's
                          Motion to Compel (Kocher, Barbara) (Entered: 06/30/2011)
 07/01/2011          1213 RESPONSE in Opposition by USA as to Hysen Sheriﬁ, Mohammad Omar Aly Hassan, Ziyad
                          Yaghi re 1155 MOTION to Adopt Motions of Co-Defendants, 1094 MOTION to Compel
                          Brady and Giglio Material related to Daniel Boyd's Medical and Mental Health Records (and
                          Incorporated Memorandum of Law) , and 1202 Response to Defendant Hassan's Motion to
                          Compel Brady/Giglio, corrected (Kocher, Barbara) (Entered: 07/01/2011)
 07/05/2011          1216 NOTICE of Filing Classiﬁed, In Camera, Ex Parte Supplement (Kocher, Barbara) (Entered:
                          07/05/2011)
 07/06/2011          1219 ORDER denying 1038 Motion to Exclude as to Hysen Sheriﬁ; denying 1055 Motion in
                          Limine as to Dylan Boyd; denying 1124 Motion in Limine as to Mohammad Omar Aly
                          Hassan; denying 1129 Motion to Adopt Motions of Co-Defendants as to Ziyad Yaghi;
                          denying 1130 Motion to to Adopt Motions of Co-Defendants as to Ziyad Yaghi; denying 1091
                          Motion to Adopt Motion of Co-Defendants DE 1038 and DE 1055. Signed by Chief Judge
                          Louise Wood Flanagan on 7/5/2011. (Rudd, D.) (Entered: 07/06/2011)
 07/12/2011          1222 ORDER denying 1046 Motion in Limine as to Hysen Sheriﬁ, Anes Subasic, Zakariya Boyd,
                          Dylan Boyd, Mohammad Omar Aly Hassan and Ziyad Yaghi. Signed by Chief Judge Louise
                          Wood Flanagan on 7/11/2011. (Rudd, D.) (Entered: 07/12/2011)
 07/12/2011          1225 MOTION for partial relief from re 1017 Order, and notice of partial compliance by USA as to
                          Hysen Sheriﬁ, Anes Subasic, Dylan Boyd, Mohammad Omar Aly Hassan, Ziyad Yaghi.
                          (Attachments: # 1 Text of Proposed Order granting requested relief) (Kocher, Barbara)
                          (Entered: 07/12/2011)
 07/12/2011                    MOTION as to Hysen Sheriﬁ, Anes Subasic, Dylan Boyd, Mohammad Omar Aly Hassan and
                               Ziyad Yaghi REFERRED to Magistrate Judge James E. Gates: 1225 MOTION for partial
                               relief from re 1017 Order, and notice of partial compliance. (Rudd, D.) (Entered: 07/12/2011)
 07/13/2011          1227 NOTICE of In Camera, Ex Parte, Classiﬁed Filing: Submission and Resubmission of
                          Supplement (Kocher, Barbara) (Entered: 07/13/2011)
 07/14/2011          1232 NOTICE of ﬁling Joint Report on Transcript Status re 1017 Order, (Kocher, Barbara)
                          (Entered: 07/14/2011)
 07/15/2011          1233 NOTICE RE: SUBMISSION OF JURY QUESTIONNAIRE (Attachments: # 1 PROPOSED
                          JURY QUESTIONNAIRE) (Bowler, John) (Entered: 07/15/2011)
 07/15/2011          1235 Proposed Voir Dire by Hysen Sheriﬁ, Dylan Boyd, Mohammad Omar Aly Hassan, Ziyad
                          Yaghi (Ayers, James) (Entered: 07/15/2011)
 07/18/2011          1237 NOTICE of Compliance re: Jury Questionnaire (Ayers, James) (Entered: 07/18/2011)
 07/22/2011          1244 RESPONSE TO ORDER by USA as to Hysen Sheriﬁ, Anes Subasic, Dylan Boyd,
                       Case 5:09-cr-00216-FL Document 2364 Filed 03/25/21 Page 48 of 74
https://ecf.nced.uscourts.gov/cgi-bin/DktRpt.pl?138298681748329-L_1_0-1                                                  48/74
3/25/2021                                                                 CM/ECF - NCED

                               Mohammad Omar Aly Hassan, Ziyad Yaghi (Kocher, Barbara) (Entered: 07/22/2011)
 07/22/2011          1245 RESPONSE TO ORDER by USA as to Hysen Sheriﬁ, Anes Subasic, Dylan Boyd,
                          Mohammad Omar Aly Hassan, Ziyad Yaghi (Kocher, Barbara) (Entered: 07/22/2011)
 07/27/2011                    MOTIONS as to Mohammad Omar Aly Hassan and Ziyad Yaghi REFERRED to US
                               Magistrate Judge James E. Gates: 1110 MOTION to Adopt Motions of Co-Defendants D.E. #
                               1044: Motion for Disclosure of Witness Statements (Jenck's Material), 1155 MOTION to
                               Adopt Motions of Co-Defendants, 1092 MOTION to Adopt Motions of Co-Defendants D.E. #
                               1036, 1051 & 1072: Motion to Compel Brady and Giglio Material, 1094 MOTION to
                               Compel Brady and Giglio Material related to Daniel Boyd's Medical and Mental Health
                               Records (and Incorporated Memorandum of Law) . (Rudd, D.) (Entered: 07/27/2011)
 07/27/2011          1300 NOTICE: The court has entered, ex parte and under seal, a classiﬁed order requesting
                          supplementation in response to the government's ﬁling (DE #1227), which was provided to
                          the Court Security Ofﬁcer on this date to serve the government. Signed by Chief Judge Louise
                          Wood Flanagan. (Rudd, D.) (Entered: 08/10/2011)
 07/29/2011          1261 Minute Entry for proceedings held before Chief Judge Louise Wood Flanagan in New Bern:
                          Motion Hearing and Rule 17.1 Status Conference as to Hysen Sheriﬁ, Anes Subasic, Dylan
                          Boyd, Mohammad Omar Aly Hassan and Ziyad Yaghi held on 7/29/2011 - Interpreter present
                          and afﬁrmed - Counsel present for defendants - Court goes over several pending motions,
                          Audio enhancement - Provisionary ruling in reference to the governments transcripts - the
                          parties have fourteen (14) days to supplement a response and the court will hear at the time of
                          Arraignment - The Court moves into a Ex parte Hearing - Written Order to Follow. (Court
                          Reporter Harry Hagopian) (Rudd, D.) (Entered: 08/01/2011)
 07/29/2011          1265 ORDER as to Hysen Sheriﬁ, Anes Subasic, Dylan Boyd, Mohammad Omar Aly Hassan and
                          Ziyad Yaghi - This matter came before the court for hearing and conference on 7/29/2011 -
                          Order granting in part and denying in part 1037 Hysen Sheriﬁ Motion to Sequester Witnesses;
                          Order granting in part and denying in part 1045 Ziyad yaghi Motion to Sequester Witnesses;
                          Order granting in part and denying in part 1052 Dylan Boyd Motion to Sequester Government
                          Wintesses; Order granting in part and denying in part; Order granting in part and denying in
                          part 1093 Motion to Adopt Motions of Co-defendants DE 1037, DE 1045 and DE 1052:
                          Motion to Sequester Witnesses by Mohammad Omar Aly Hassan; Order granting in part and
                          denying in part 1047 Motion to Sequester by USA - Counsel should read order in its entirety
                          for critical information and deadlines. Signed by Chief Judge Louise Wood Flanagan on
                          7/29/2011. (Rudd, D.) Modiﬁed on 8/1/2011 to include in text a copy of the order mailed to
                          Anes Subasic at the Wake County Detention Center on 8/1/2011. (Rudd, D.) (Entered:
                          08/01/2011)
 08/01/2011          1267 ORDER as to Hysen Sheriﬁ, Anes Subasic, Dylan Boyd, Mohammad Omar Aly Hassan,
                          Ziyad Yaghi - Order DENIED AS MOOT IN PART with respect to Brady materials and
                          GRANTED IN PART with respect to Giglio materials 1036 Motion for Release of Brady and
                          Giglio Materials by Hysen Sheriﬁ; Order DENIED AS MOOT IN PART with respect to
                          Brady materials and GRANTED IN PART with respect to Giglio materials 1051 Motion for
                          Release of Brady Materials by Dylan Boyd; Order DENIED AS MOOT IN PART with
                          respect to Brady materials and GRANTED IN PART with respect to Giglio materials 1072
                          Motion to Compel Brady and Giglio Materials by Anes Subasic; Order DENIED AS MOOT
                          IN PART with respect to Brady materials and GRANTED IN PART with respect to Giglio
                          materials 1092 Motion to Adopt Motions of Co-Defendants DE 1036, DE 1051 and DE 1072
                          by Mohammad Hassan; Order DENIED AS MOOT 1043 Moton for Release for Brady
                          Materials by Ziyad Yaghi. Signed by Magistrate Judge James E. Gates on 8/1/2011. (Rudd,
                          D.) (Entered: 08/01/2011)
 08/01/2011          1268 ORDER DENYING re 1044 MOTION for Jenks Material ﬁled by Ziyad Yaghi, ORDER
                          DENYING 1110 MOTION to Adopt Motions of Co-Defendants D.E. # 1044: Motion for
                          Disclosure of Witness Statements (Jenck's Material) ﬁled by Mohammad Omar Aly Hassan,
                       Case 5:09-cr-00216-FL Document 2364 Filed 03/25/21 Page 49 of 74
https://ecf.nced.uscourts.gov/cgi-bin/DktRpt.pl?138298681748329-L_1_0-1                                               49/74
3/25/2021                                                                 CM/ECF - NCED

                               ORDER DENYING 1035 MOTION for Jenks Material (Grand Jury Testimony) ﬁled by
                               Hysen Sheriﬁ, ORDER DENYING 963 MOTION ﬁled by Anes Subasic. Signed by
                               Magistrate Judge James E. Gates on 8/1/2011. Copy mailed to Anes Subasic at Wake County
                               Detention on 8/1/2011. (Rudd, D.) (Entered: 08/01/2011)
 08/03/2011                    NOTICE TO COUNSEL AS TO TIME CHANGE FOR ARRAIGNMENTS and RULE 17.1
                               STATUS CONFERENCE as to Hysen Sheriﬁ, Anes Subasic, Dylan Boyd, Mohammad Omar
                               Aly Hassan and Ziyad Yaghi: Arraignment and Rule 17.1 set for 8/15/2011 at 10:30 AM in
                               Raleigh - 7th Floor - Courtroom 2 before Chief Judge Louise Wood Flanagan. (Rudd, D.)
                               (Entered: 08/03/2011)
 08/03/2011                    NOTICE TO COUNSEL AS TO TIME CHANGE FOR DAUBERT HEARING as to Hysen
                               Sheriﬁ, Anes Subasic, Dylan Boyd, Mohammad Omar Aly Hassan and Ziyad Yaghi: Daubert
                               Hearing set for 8/16/2011 at 9:00 AM in Raleigh - 7th Floor - Courtroom 2 before Chief
                               Judge Louise Wood Flanagan. (Rudd, D.) (Entered: 08/03/2011)
 08/03/2011          1272 ORDER REFERRING MOTION as to Ziyad Yaghi 1128 MOTION for evidence under Rule
                          404(b) ﬁled by Ziyad Yaghi. Signed by Chief Judge Louise Wood Flanagan on 8/3/2011.
                          Motion referred to Magistrate Judge William A. Webb. Copy to Magistrate Judge William A.
                          Webb chambers. (Rudd, D.) (Entered: 08/03/2011)
 08/03/2011          1273 Order Setting Hearings - as to Ziyad Yaghi. A hearing on Defendant's motion seeking
                          determination regarding admissibility (DE-1128) shall be conducted on Friday, August 5,
                          2011 at 8:30 a.m. Signed by Magistrate Judge William A. Webb on 08/03/11. (CHAM, BH)
                          (Entered: 08/03/2011)
 08/04/2011          1274 MOTION to Continue Hearing by Ziyad Yaghi. (Ayers, James) (Entered: 08/04/2011)
 08/04/2011          1275 MOTION to Continue Hearing by Ziyad Yaghi. (Attachments: # 1 Text of Proposed Order)
                          (Ayers, James) (Entered: 08/04/2011)
 08/04/2011                    MOTION as to Ziyad Yaghi REFERRED: 1274 MOTION to Continue Hearing - Motion
                               referred to Magistrate Judge William A. Webb. (Rudd, D.) (Entered: 08/04/2011)
 08/04/2011                    Motion No Longer Referred as to Ziyad Yaghi: 1274 MOTION to Continue Hearing - Motion
                               reﬁled at 1275 - Will refer that motion. (Rudd, D.) (Entered: 08/04/2011)
 08/04/2011                    MOTION as to Ziyad Yaghi REFERRED: 1275 MOTION to Continue Hearing Motion
                               referred to Magistrate Judge William A. Webb. (Rudd, D.) (Entered: 08/04/2011)
 08/04/2011          1277 ORDER granting 1275 Motion to Continue as to Ziyad Yaghi. Motion Hearing on Defendant's
                          motion seeking determination regarding admissibility (DE-1128) continued to 8/8/2011 at
                          8:30 a.m. Signed by Magistrate Judge William A. Webb on 8/4/2011. Copies to US Marshal
                          for service. (Rudd, D.) (Entered: 08/04/2011)
 08/04/2011                    Reset Hearing as in case as to Ziyad Yaghi 1128 MOTION for evidence under Rule 404(b)
                               Determination of Admissibility/Inadmissibility. Motion Hearing reset for 8/8/2011 at 8:30 AM
                               in Raleigh - 6th Floor Courtroom before Magistrate Judge William A. Webb. (Rudd, D.)
                               (Entered: 08/04/2011)
 08/05/2011          1283 ORDER granting 1054 Motion to Sever Defendant as to Dylan Boyd; granting joined in
                          motion to sever by defendant Hysen Sheriﬁ 1060 ; granting joined in motion to server by
                          defendant Ziyad Yaghi 1077 and granting joined in motion to server by defendant Mohammad
                          Omar Aly Hassan 1089 . Counsel should read order in it's entirety for critical information and
                          critical deadlines. Signed by Chief Judge Louise Wood Flanagan on 8/5/2011. (Rudd, D.)
                          (Entered: 08/05/2011)
 08/05/2011          1284 NOTICE of compliance re 1017 Order (Attachments: # 1 Supplement Joint List of Foreign
                          Places/Words) (Kocher, Barbara) (Entered: 08/05/2011)
 08/05/2011          1285
                       CaseORDER   denying 1094 Document
                            5:09-cr-00216-FL    Motion to Compel
                                                           2364 asFiled
                                                                   to Mohammad
                                                                        03/25/21 Omar
                                                                                  PageAly
                                                                                       50Hassan;
                                                                                          of 74 denying 1155
https://ecf.nced.uscourts.gov/cgi-bin/DktRpt.pl?138298681748329-L_1_0-1                                                 50/74
3/25/2021                                                                 CM/ECF - NCED

                               Motion to Adopt Motion of Co-Defendants of the Motion to Compel by Ziyad Yaghi; denying
                               1212 Motion to Adopt and Join in Omar Hassan's Motion to Compel by Anes Subasic. Signed
                               by Magistrate Judge James E. Gates on 8/5/2011. Copy of orders at 1283 and 1285 mailed to
                               Anes Subasic at Wake County Detention Center. (Rudd, D.) (Entered: 08/05/2011)
 08/05/2011          1286 NOTICE of Filing, in camera and under seal, a classiﬁed ex parte supplement (Kocher,
                          Barbara) (Entered: 08/05/2011)
 08/08/2011          1288 Minute Entry for proceedings held before Magistrate Judge William A. Webb in Raleigh -
                          Motion Hearing re 1128 MOTION for evidence under Rule 404(b) Determination of
                          Admissibility/Inadmissibility ﬁled by Ziyad Yaghi held on 8/8/2011. Defendant present with
                          counsel. Assistant US Attorney present for Government. Arguments made by way of
                          testimony and oral arguments. Government has until the end of business August 12, 2011 to
                          respond to Court's directive to re-question a witness to possibly clarify issues brought up at
                          this hearing. Memorandum and Recommendation to follow. (Court Reporter - Marissa
                          Munoz) (Powers, S.) (Entered: 08/08/2011)
 08/08/2011          1289 SEALED Document by USA as to Ziyad Yaghi (Bowler, John) (Entered: 08/08/2011)
 08/08/2011          1290 MOTION to Seal 1289 PROPOSED SEALED Document by USA as to Ziyad Yaghi.
                          (Attachments: # 1 Text of Proposed Order) (Bowler, John) (Entered: 08/08/2011)
 08/09/2011          1291 ORDER as to Ziyad Yaghi re 1290 First MOTION to Seal 1289 PROPOSED SEALED
                          Document ﬁled by USA - The government is DIRECTED to ﬁle supplement to the instant
                          motion demonstrating why the notice at entry 1289 should be ﬁled under seal. Said
                          supplement must be ﬁled within seven days of entry of this order. Signed by Chief Judge
                          Louise Wood Flanagan on 08/09/2011. (Baker, C.) (Entered: 08/09/2011)
 08/09/2011          1292 RESPONSE TO DE 1291 ORDER by USA as to Ziyad Yaghi (Attachments: # 1 Text of
                          Proposed Order to seal D.E. 1289) (Kocher, Barbara) (Entered: 08/09/2011)
 08/09/2011          1293 ORDER granting 1290 Motion to Seal as to Ziyad Yaghi - The Court hereby ORDERS the
                          Government's Notice at D.E. #1289 be sealed until further order of the Court. The Court
                          further ORDERS that the Clerk of Court may provide copies to the United States Attorney's
                          Ofﬁce. Signed by Chief Judge Louise Wood Flanagan on 08/09/2011. (Baker, C.) (Entered:
                          08/09/2011)
 08/10/2011          1301 NOTICE: The court has entered, ex parte and under seal, a classiﬁed order addressing the
                          government's ﬁling (DE #1227), which was provided to the government on this date. Signed
                          by Chief Judge Louise Wood Flanagan. (Rudd, D.) (Entered: 08/10/2011)
 08/11/2011          1304 OFFICIAL TRANSCRIPT OF MOTION HEARING Proceedings as to Ziyad Yaghi held on
                          8/8/2011, before Magistrate Judge William A. Webb. Court Reporter Marisa Munoz-Vourakis.
                          Transcript may be viewed at the court public terminal or purchased through the Court
                          Reporter/Transcriber before the deadline for Release of Transcript Restriction. After that date
                          it may be obtained through PACER. Please review Attorney obligations regarding the
                          redaction of electronic transcripts of court proceedings available on the court's website.
                          Redaction Request due 9/1/2011. Redacted Transcript Deadline set for 9/11/2011. Release of
                          Transcript Restriction set for 11/9/2011. (Steele, F.) (Entered: 08/11/2011)
 08/11/2011                    NOTICE of Filing of Ofﬁcial Transcript - DE 1304 - Transcript. The parties have seven
                               calendar days from the ﬁling of the transcript to ﬁle a Notice of Intent to Request Redaction.
                               The parties must also serve a copy on the court reporter or transcriber. After ﬁling the Notice
                               of Intent to Request Redaction, a party must submit to the court reporter or transcriber, within
                               21 calendar days of the ﬁling of the transcript, a written statement indicating where the
                               personal data identiﬁers to be redacted appear in the transcript. (Steele, F.) (Entered:
                               08/11/2011)
 08/12/2011          1311 MEMORANDUM AND RECOMMENDATIONS as to Ziyad Yaghi re 1128 MOTION for
                       Case 5:09-cr-00216-FL Document 2364 Filed 03/25/21 Page 51 of 74
https://ecf.nced.uscourts.gov/cgi-bin/DktRpt.pl?138298681748329-L_1_0-1                                                     51/74
3/25/2021                                                                 CM/ECF - NCED

                               evidence under Rule 404(b) Determination of Admissibility/Inadmissibility. The Court
                               RECOMMENDS that the Defendant's motion to reject the admissibility of the Government's
                               Rule 404(b) evidence be DENIED. Counsel should read order in it's entirety for critical
                               information and deadlines. Signed by Magistrate Judge William A. Webb on 8/12/2011.
                               (Attachments: # 1 Memorandum and Recommendation Notice) (Rudd, D.) (Entered:
                               08/12/2011)
 08/14/2011          1313 NOTICE Notice re: supplement to 404(b) relative to date of ﬁrearms possession (Bowler,
                          John) (Entered: 08/14/2011)
 08/15/2011          1315 RESPONSE in Opposition by USA as to Hysen Sheriﬁ, Anes Subasic, Dylan Boyd,
                          Mohammad Omar Aly Hassan, Ziyad Yaghi re 1132 MOTION to Adopt Motions of Co-
                          Defendants D.E. # 1123, 1159 MOTION For Leave to Adopt Daubert Motion of Defendant
                          Hassan and Incorporated Memorandum of Law Re: DE 1123 (Pro Se), 1127 MOTION to
                          Adopt Motions of Co-Defendants, 1123 MOTION for Hearing Daubert Hearing Prior to
                          Trial to Determine Admissibility/Inadmissibility of Expert Testimony Supplement to D.E. 1207
                          (Attachments: # 1 Exhibit Supplement of Kohlmann) (Kocher, Barbara) (Entered:
                          08/15/2011)
 08/15/2011          1316 Minute entry for proceedings held before Chief Judge Louise Wood Flanagan in Raleigh:
                          Arraignment and Rule 17.1 conference as to Hysen Sheriﬁ, Anes Subasic, Dylan Boyd,
                          Mohammed Omar Aly Hassan, and Ziyad Yaghi. Interpreters afﬁrmed. Defendants advised of
                          rights, charges and penalties by the Court. All defendants plead not guilty. The Court made
                          inquiry of the government as to estimated length of trial in light of courts order severing
                          defendant Subasic. The estimated length of trial for all defendants except Subasic is now
                          seven weeks. The court forecast intention to seek assignment of trial against defendant
                          Subasic on severed counts 12 & 13 (unlawful procurement of citizenship) to another judge in
                          order to promote efﬁcient processes where no good cause exists for delay in disposition of
                          these charges for reasons noted on the record. The government indicated it would take the
                          necessary steps to assemble another trial team, and requested consideration in timing of trial.
                          Defendant Subasic endorsed trial going forward now on these counts. As to the issues
                          regarding transcripts raised by defendant Subasic - the government has seven days to respond
                          to defendants comments at hearing, and defendant has seven days from the ﬁling of the
                          governments response to respond and present issues for decision regarding this topic.
                          Defendant Subasic's motion to reconsider the court's rulings in orders lodged on the docket at
                          entries 937 and 1262 is denied. All parties have fourteen days to submit to the court further
                          brieﬁng on the issues of presenting competing transcripts to the jury. Defendants remanded to
                          custody. The United States Marshals Service will seek to address with Wake County Jail
                          certain dietary needs raised on behalf of defendant Yaghi. (Court Reporter Harry Hagopian.)
                          (Rudd, D.) (Entered: 08/17/2011)
 08/15/2011                    ORAL MOTION to have defendant's transferred to the Craven County Jail by Hysen Sheriﬁ
                               and Ziyad Yaghi. (Rudd, D.) (Entered: 08/17/2011)
 08/15/2011          1320 Sealed Notice. Signed by Chief Judge Louise Wood Flanagan on 8/15/2011. Copies handed
                          out in open court. (Rudd, D.) (Entered: 08/17/2011)
 08/16/2011          1321 Minute Entry for proceedings held before Chief Judge Louise Wood Flanagan in Raleigh:
                          Daubert Hearing as to Hysen Sheriﬁ, Anes Subasic, Dylan Boyd, Mohammad Omar Aly
                          Hassan and Ziyad Yaghi held on 8/16/2011 - Defendants present with counsel - Interpreters
                          present and afﬁrmed - The court made inquiry of the government's expert witness on
                          terrorism, Mr. Evan Kohlmann - The government called expert witness - Expert Witness
                          examined by all parties - The defendants have ten (10) days to supplement their Daubert
                          Motions - The government has seven (7) days to respond to the supplementation - The Court
                          sets aside the 8/29/2011 deadline for defendant Subasic to make a decision about receiving
                          transcripts from his co-defendants' trial - As to defendant Subasic, Counts 12s and 13s will be
                          tried before Senior Malcolm J. Howard in Greenville, North Carolina - The motion to
                       Case 5:09-cr-00216-FL Document 2364 Filed 03/25/21 Page 52 of 74
https://ecf.nced.uscourts.gov/cgi-bin/DktRpt.pl?138298681748329-L_1_0-1                                               52/74
3/25/2021                                                                 CM/ECF - NCED

                               suppress lodged at docket entries [1024, 1082, 1111 - 1118, 1199, 1200 and 1142] will be
                               before Senior Judge Malcolm J. Howard. The court addressed the issue of transcripts with the
                               parties and set aside its previous order that the parties brief the issue within fourteen (14)
                               days. Instead, the court ordered the parties, except defendant Subasic, to attempt to reach
                               consensus regarding transcript issues within fourteen (14) days at which time they shall
                               provide report to the court on what consensus can be reached. The court warned the parties
                               that failure to agree on a course of action supported by case law with respect to this issue will
                               result in prohibition of the use of transcripts. (Court Reporter Harry Hagopian) (Rudd, D.)
                               (Entered: 08/17/2011)
 08/16/2011                    ORAL ORDER as to Hysen Sheriﬁ and Ziyad Yaghi GRANTING re ORAL MOTION to
                               have defendant's transferred to the Craven County Jail ﬁled by Ziyad Yaghi and Hysen
                               Sheriﬁ. Entered in open court by Chief Judge Louise Wood Flanagan on 8/16/2011. (Rudd,
                               D.) (Entered: 08/17/2011)
 08/18/2011          1327 MOTION for Reconsideration re 1321 Daubert Hearing,,,,,, and Notice re: Accomodation as
                          to Transcript by USA as to Daniel Patrick Boyd, Hysen Sheriﬁ, Anes Subasic, Zakariya
                          Boyd, Dylan Boyd, Jude Kenan Mohammad, Mohammad Omar Aly Hassan, Ziyad Yaghi.
                          (Bowler, John) (Entered: 08/18/2011)
 08/22/2011          1332 ORDER granting in part and denying in part 1225 Motion for partial relief from the order
                          entered at 1017 as to Hysen Sheriﬁ, Anes Subasic, Dylan Boyd, Mohammad Omar Aly
                          Hassan and Ziyad Yaghi. The parties shall ﬁle no later than 9/2/2011 a joint list provided for
                          in the 5/24/2011 order, including the phonetic spellings, and any supplemental lists, again as
                          provided for in the prior order. Counsel should read order in its entirety for critical
                          information and deadlines. Signed by Magistrate Judge James E. Gates on 8/22/2011. Copy
                          mailed to Anes Subasic at Wake County Detention Center. (Rudd, D.) (Entered: 08/22/2011)
 08/24/2011          1347 NOTICE of Compliance re 1301 Notice (Other) (Kocher, Barbara) (Entered: 08/24/2011)
 08/25/2011          1349 SEALED MOTION by Hysen Sheriﬁ as to Hysen Sheriﬁ, Anes Subasic, Dylan Boyd,
                          Mohammad Omar Aly Hassan, Ziyad Yaghi (Attachments: # 1 Exhibit A: Handwritten letters,
                          # 2 Exhibit B: Email printouts) (McAfee, Robert) (Entered: 08/25/2011)
 08/25/2011          1351 Memorandum in Support by Hysen Sheriﬁ as to Hysen Sheriﬁ, Anes Subasic, Dylan Boyd,
                          Mohammad Omar Aly Hassan, Ziyad Yaghi re 1123 MOTION for Hearing Daubert Hearing
                          Prior to Trial to Determine Admissibility/Inadmissibility of Expert Testimony (Attachments: #
                          1 Exhibit A: Shnewer Report, # 2 Exhibit B: Amawi Report) (McAfee, Robert) (Entered:
                          08/25/2011)
 08/26/2011          1356 ORDER as to Hysen Sheriﬁ, Anes Subasic, Dylan Boyd, Mohammad Omar Aly Hassan and
                          Ziyad Yaghi re 1349 PROPOSED SEALED MOTION by Hysen Sheriﬁ as to Hysen Sheriﬁ,
                          Anes Subasic, Dylan Boyd, Mohammad Omar Aly Hassan and Ziyad Yaghi ﬁled by Hysen
                          Sheriﬁ - In light of the press of trial, the response deadline for said motion is expedited to
                          Wednesday, 8/31/2011 at 12:00 p.m. Copy mailed to Anes Subasic at Wake County Detention
                          Center. Signed by Chief Judge Louise Wood Flanagan on 8/26/2011. (Rudd, D.) (Entered:
                          08/26/2011)
 08/26/2011          1357 RESPONSE in Opposition by Ziyad Yaghi re 1311 MEMORANDUM AND
                          RECOMMENDATIONS as to Ziyad Yaghi re 1128 MOTION for evidence under Rule 404(b)
                          Determination of Admissibility/InadmissibilityMEMORANDUM AND
                          RECOMMENDATIONS as to Ziyad Yaghi re 1128 MOTION for evidence under Rule 404(b)
                          Determination of Admissibility/InadmissibilityMEMORANDUM AND
                          RECOMMENDATIONS as to Ziyad Yaghi re 1128 MOTION for evidence under Rule 404(b)
                          Determination of Admissibility/Inadmissibility (Ayers, James) (Entered: 08/26/2011)
 08/26/2011          1358 Memorandum in Support by Ziyad Yaghi as to Daniel Patrick Boyd, Hysen Sheriﬁ, Anes
                           Subasic, Zakariya Boyd, Dylan Boyd, Jude Kenan Mohammad, Mohammad Omar Aly
                       CaseHassan, Ziyad Yaghi reDocument
                            5:09-cr-00216-FL     1123 MOTION2364for Filed
                                                                    Hearing Daubert Hearing
                                                                          03/25/21  Page 53Prior
                                                                                            of 74to Trial to
https://ecf.nced.uscourts.gov/cgi-bin/DktRpt.pl?138298681748329-L_1_0-1                                                      53/74
3/25/2021                                                                 CM/ECF - NCED

                               Determine Admissibility/Inadmissibility of Expert Testimony (Ayers, James) (Entered:
                               08/26/2011)
 08/29/2011          1372 Proposed Voir Dire by USA as to Hysen Sheriﬁ, Anes Subasic, Dylan Boyd, Mohammad
                          Omar Aly Hassan, Ziyad Yaghi (Bowler, John) (Entered: 08/29/2011)
 08/30/2011          1377 MOTION to Adopt DE 1367 Defendant Sheriﬁ's response to DE 1327 (Government's Notice
                          Re Transcripts) by Ziyad Yaghi. (Ayers, James) (Entered: 08/30/2011)
 08/31/2011          1382 Order as to Daniel Patrick Boyd, Hysen Sheriﬁ, Anes Subasic, Zakariya Boyd, Dylan Boyd,
                          Mohammad Omar Aly Hassan, and Ziyad Yaghi - This matter is before the court on defendant
                          Omar Hassan's response to order 1380 . Where the response indicates that all defendants join
                          in the request, for the continued efﬁcient administration of this case, the court sets this matter
                          for hearing on 9/19/2011 at 9:00 AM in New Bern - Courtroom before Chief Judge Louise
                          Wood Flanagan. Certiﬁed copy served via U.S. Mail on Anes Subasic. Signed by Chief Judge
                          Louise Wood Flanagan on 8/31/11. (Tripp, S.) (Entered: 08/31/2011)
 08/31/2011          1383 NOTICE of Response in Opposition re 1351 Memorandum in Support of Motion, 1358
                          Memorandum in Support of Motion, 1362 Memorandum in Support of Motion, 1364
                          Response in Support, 1361 Response in Support,, (Kocher, Barbara) (Entered: 08/31/2011)
 09/01/2011          1389 RESPONSE TO DE 1332 ORDER by USA as to Hysen Sheriﬁ, Anes Subasic, Dylan Boyd,
                          Mohammad Omar Aly Hassan, Ziyad Yaghi (Kocher, Barbara) (Entered: 09/01/2011)
 09/06/2011          1397 ORDER denying as moot 1327 Motion for Reconsideration as to Hysen Sheriﬁ (2), Anes
                          Subasic (3), Mohammad Omar Aly Hassan (7), and Ziyad Yaghi (8). Certiﬁed copy mailed to
                          Anes Subasic at the Wake County Detention Center. Signed by Chief Judge Louise Wood
                          Flanagan on 9/6/11. (Tripp, S.) (Entered: 09/06/2011)
 09/06/2011          1399 Proposed Jury Instructions by USA as to Hysen Sheriﬁ, Mohammad Omar Aly Hassan, Ziyad
                          Yaghi (Bowler, John) (Entered: 09/06/2011)
 09/06/2011          1400 Proposed Jury Instructions by Hysen Sheriﬁ, Mohammad Omar Aly Hassan, Ziyad Yaghi
                          (Boyce, R.) (Entered: 09/06/2011)
 09/07/2011          1405 NOTICE OF OBJECTION TO ADMISSIBLITY OF GOVERNMENT'S SUMMARY EXHIBITS
                          re 1265 Order,,,, (Ayers, James) (Entered: 09/07/2011)
 09/08/2011          1409 OFFICIAL TRANSCRIPT OF DAUBERT HEARING PROCEEDINGS as to Hysen Sheriﬁ,
                          Anes Subasic, Dylan Boyd, Mohammad Omar Aly Hassan, Ziyad Yaghi held on 8/16/2011,
                          before Chief United States District Judge Louise Wood Flanagan. Court Reporter Harry
                          Hagopian, Telephone number (252) 637-1200; E-mail: hhagopian@aol.com. Transcript may
                          be purchased through the Court Reporter or viewed at the court public terminal before the
                          deadline for Release of Transcript Restriction. After that date it may be obtained through
                          PACER. Please review Attorney obligations regarding the redaction of electronic transcripts
                          of court proceedings available on the court's <a
                          href=http://www.nced.uscourts.gov/PDF_Files/AttorneyTranscriptRedactionRequirements.pdf
                          target=_blank>website</a>. Redaction Request due 9/29/2011. Redacted Transcript Deadline
                          set for 10/9/2011. Release of Transcript Restriction set for 12/7/2011. (Hagopian, Harry)
                          (Entered: 09/08/2011)
 09/09/2011                    NOTICE of Filing of Ofﬁcial Transcript 1409 Transcript. The parties have seven calendar
                               days from the ﬁling of the transcript to ﬁle a Notice of Intent to Request Redaction. The
                               parties must also serve a copy on the court reporter or transcriber. After ﬁling the Notice of
                               Intent to Request Redaction, a party must submit to the court reporter or transcriber, within 21
                               calendar days of the ﬁling of the transcript, a written statement indicating where the personal
                               data identiﬁers to be redacted appear in the transcript. (Hagopian, Harry) (Entered:
                               09/09/2011)
 09/11/2011          1418 MOTION to Continue TRIAL OR, ALTERNATIVELY, MOTION TO HAVE BOTH JURY
                       Case 5:09-cr-00216-FL Document 2364 Filed 03/25/21 Page 54 of 74
https://ecf.nced.uscourts.gov/cgi-bin/DktRpt.pl?138298681748329-L_1_0-1                                                     54/74
3/25/2021                                                                 CM/ECF - NCED

                               POOL AND INDIVIDUAL JURORS POLLED ON ABILITY TO BE FAIR AND IMPARTIAL
                               DUE TO PERVASIVE NATURE OF PUBLICITY SURROUNDING CO-DEFENDANT AND
                               9/11 EVENTS by Hysen Sheriﬁ, Mohammad Omar Aly Hassan, Ziyad Yaghi. (Attachments: #
                               1 Exhibit A - WRAL Article, # 2 Exhibit B - Wall Street Journal Article, # 3 Exhibit C -ABC
                               11 Article, # 4 Exhibit D - NBC 17 Article, # 5 Exhibit E - WWAY 3 Article, # 6 Exhibit F -
                               WCTI 12 Article, # 7 Exhibit G - TV Guide listing, # 8 Exhibit H - Hwy. 70 Billboard, # 9
                               Text of Proposed Order) (Boyce, R.) (Entered: 09/11/2011)
 09/14/2011          1427 RESPONSE in Opposition by USA as to Hysen Sheriﬁ, Mohammad Omar Aly Hassan, Ziyad
                          Yaghi re 1418 MOTION to Continue TRIAL OR, ALTERNATIVELY, MOTION TO HAVE
                          BOTH JURY POOL AND INDIVIDUAL JURORS POLLED ON ABILITY TO BE FAIR AND
                          IMPARTIAL DUE TO PERVASIVE NATURE OF PUBLICITY SURROUNDING CO-
                          DEFENDANT AND 9/11 EVENTS (Kocher, Barbara) (Entered: 09/14/2011)
 09/14/2011                    Motion Submitted as to Hysen Sheriﬁ, Mohammad Omar Aly Hassan and Ziyad Yaghi re
                               1418 MOTION to Continue TRIAL OR, ALTERNATIVELY, MOTION TO HAVE BOTH JURY
                               POOL AND INDIVIDUAL JURORS POLLED ON ABILITY TO BE FAIR AND IMPARTIAL
                               DUE TO PERVASIVE NATURE OF PUBLICITY SURROUNDING CO-DEFENDANT AND
                               9/11 EVENTS to Chief Judge Louise Wood Flanagan. (Rudd, D.) (Entered: 09/14/2011)
 09/14/2011          1428 NOTICE Objection to Admissibility of Government's Audio Recordings (Ayers, James)
                          (Entered: 09/14/2011)
 09/14/2011          1429 ORDER denying 1418 Motion to Continue as to Hysen Sheriﬁ, Mohammad Omar Aly
                          Hassan and Ziyad Yaghi. The parties however are allowed until the close of business
                          tomorrow, Thursday, September 15,2011, to suggest in supplemental ﬁling any additional
                          questions to be asked by the court of potential jurors in additional address of concerns
                          presented in the instant motion. Counsel should read order in its entirety for critical
                          information. Signed by Chief Judge Louise Wood Flanagan on 9/14/2011. (Rudd, D.)
                          (Entered: 09/14/2011)
 09/15/2011          1439 MOTION to Compel Computer Access by Ziyad Yaghi as to Hysen Sheriﬁ and Ziyad Yaghi.
                          (Attachments: # 1 Text of Proposed Order) (Ayers, James) (Entered: 09/15/2011)
 09/15/2011          1440 Proposed Voir Dire by Ziyad Yaghi as to Hysen Sheriﬁ, Mohammad Omar Aly Hassan and
                          Ziyad Yaghi (Ayers, James) (Entered: 09/15/2011)
 09/16/2011          1443 ORDER denying in part 1109 Motion in limine as to Anes Subasic; denying in part 1159
                          Motion for leave to adopt Daubert motion as to Anes Subasic; denying in part 1123 Motion
                          for Hearing as to Mohammed Omar Aly Hassan; denying in part 1127 Motion to adopt
                          motions of co-defendants as to Ziyad Yaghi; denying as moot 1132 Motion to adopt motions
                          of co-defendants as to Dylan Boyd; and denying as moot all above-referenced motions as to
                          defendant Sageman. Denying without prejudice to renewal 1361 Motion for court order
                          prohibiting the introduction of certain evidence as to Mohammed Omar Aly Hassan. The
                          court qualiﬁes government expert Evan Kohlmann to testify regarding the trend of
                          decentralized terrorism and homegrown terrorism, and speciﬁcally about the criteria included
                          in his report that comprise the proﬁle of a homegrown terrorist network. Included in this
                          criteria are the topics addressed in Kohlmanns supplemental expert report, which includes
                          topics about the manner and location of overseas travel as it relates to homegrown terrorist
                          networks. Signed by Chief Judge Louise Wood Flanagan on 9/16/2011. (Rudd, D.) Modiﬁed
                          docket text on 9/16/2011 per chambers. (Rudd, D.) (Entered: 09/16/2011)
 09/16/2011                    NOTICE OF DEFICIENCY by Hysen Sheriﬁ and Ziyad Yaghi re: 1439 Motion to Compel -
                               In the future when ﬁling a document, only select the defendant(s) that the document pertains
                               to. No need to reﬁle document at this time. (Rudd, D.) (Entered: 09/16/2011)
 09/16/2011          1444 ORDER as to Hysen Sheriﬁ, Mohammad Omar Aly Hassan and Ziyad Yaghi - Re: Regarding
                           contact with media. Signed by Chief Judge Louise Wood Flanagan on 9/16/2011. (Rudd, D.)
                       Case(Entered: 09/16/2011) Document 2364 Filed 03/25/21 Page 55 of 74
                            5:09-cr-00216-FL
https://ecf.nced.uscourts.gov/cgi-bin/DktRpt.pl?138298681748329-L_1_0-1                                                   55/74
3/25/2021                                                                 CM/ECF - NCED

 09/16/2011                    NOTICE OF CORRECTION as to Ziyad Yaghi re: 1440 Proposed Voir Dire - Clerk has
                               corrected text to reﬂect linkage of pleading to appropriate parties. Counsel is reminded to only
                               select those parties to which the motion pertains. No need to reﬁle this time. (Lee, B.)
                               (Entered: 09/16/2011)
 09/16/2011          1446 ORDER granting 1439 Motion to Compel as to Hysen Sheriﬁ and Ziyad Yaghi. Signed by
                          Chief Judge Louise Wood Flanagan on 9/16/2011. Copies to US Marshal for service. (Rudd,
                          D.) (Entered: 09/16/2011)
 09/16/2011          1448 SEALED ORDER as to Ziyad Yaghi. Signed by Chief Judge Louise Wood Flanagan on
                          9/16/2011. (Attachments: # 1 Letter, # 2 Envelope). Copy emailed to counsel for defendant.
                          (Rudd, D.) (Entered: 09/16/2011)
 09/19/2011          1453 WITNESS LIST by USA as to Hysen Sheriﬁ, Mohammad Omar Aly Hassan, Ziyad Yaghi
                          (Kocher, Barbara) (Entered: 09/19/2011)
 09/19/2011          1454 WITNESS LIST by Ziyad Yaghi (Ayers, James) (Entered: 09/19/2011)
 09/19/2011          1463 Minute Entry for proceedings held before Chief Judge Louise Wood Flanagan in New Bern:
                          Jury Selection, Voir Dire and Jury Trial (Day 1) as to Hysen Sheriﬁ, Mohammad Omar Aly
                          Hassan and Ziyad Yaghi held on 9/19/2011 - Defendant's present with counsel - Assistant US
                          Attorney's present for USA - 72 jurors report for jury service - Jurors admonished and
                          excused for the evening - Jury selection to resume at 10:30 am on Tuesday, September 20th -
                          Defendant's remanded to custody. (Court Reporter Harry Hagopian) (Rudd, D.) (Entered:
                          09/21/2011)
 09/20/2011          1465 Minute Entry for proceedings held before Chief Judge Louise Wood Flanagan in New Bern:
                          (Day 2) Jury Selection, Jury Trial as to Hysen Sheriﬁ, Mohammad Omar Aly Hassan and
                          Ziyad Yaghi held on 9/20/2011 - Defendant's present with their counsel - Assistant US
                          Attorney's present for USA - 16 jurors chosen and impaneled - Opening statements by the
                          parties - Jurors admonished and excused for the evening - Court to resume at 9:00 am on
                          Wednesday, September 20th - Defendant's remanded to custody.(Court Reporter Harry
                          Hagopian) (Rudd, D.) (Entered: 09/21/2011)
 09/21/2011          1466 Minute Entry for proceedings held before Chief Judge Louise Wood Flanagan in New Bern:
                          Jury Trial (Day 3) as to Hysen Sheriﬁ, Mohammad Omar Aly Hassan and Ziyad Yaghi held
                          on 9/21/2011 - Defendant's present with their counsel - Assistant US Attorney present for
                          USA - 16 jurors present - Government's evidence begins - Jurors admonished and excused for
                          the evening - Court to resume at 9:00 am on Thursday, September 22nd - Defendant's
                          remanded to custody. (Court Reporter Harry Hagopian) (Rudd, D.) (Entered: 09/21/2011)
 09/22/2011          1469 Minute Entry for proceedings held before Chief Judge Louise Wood Flanagan in New Bern:
                          Jury Trial (Day 4) as to Hysen Sheriﬁ, Mohammad Omar Aly Hassan and Ziyad Yaghi held
                          on 9/22/2011 - Defendant's present with their counsel - Assistant US Attorney present for
                          USA - 16 jurors present - 1 juror excused and replaced by alternate juror - 15 jurors present -
                          Government's evidence continued - Jurors admonished and excused for the evening - Court to
                          resume at 8:45 am on Friday, September 23rd - Defendant's remanded to custody. (Court
                          Reporter Harry Hagopian) (Rudd, D.) (Entered: 09/22/2011)
 09/23/2011          1477 Minute Entry for proceedings held before Chief Judge Louise Wood Flanagan in New Bern:
                          Jury Trial (Day 5) as to Hysen Sheriﬁ, Mohammad Omar Aly Hassan and Ziyad Yaghi held
                          on 9/23/2011 - Defendant's present with their counsel - Assistant US Attorney present for
                          USA - 15 jurors present - Government's evidence continued - Jurors admonished and excused
                          for the weekend recess - Court to resume at 9:00 am on Tuesday, September 27th -
                          Defendant's remanded to custody. (Court Reporter Harry Hagopian) (Rudd, D.) (Entered:
                          09/23/2011)
 09/23/2011                 ORAL MOTION to Seal Document 1471 PROPOSED SEALED EX PARTE MOTION by
                        CaseMohammad   Omar Aly Document
                             5:09-cr-00216-FL   Hassan and Ziyad
                                                           2364 Yaghi.
                                                                 Filed (Rudd, D.) (Entered:
                                                                        03/25/21   Page 5609/23/2011)
                                                                                            of 74
https://ecf.nced.uscourts.gov/cgi-bin/DktRpt.pl?138298681748329-L_1_0-1                                                     56/74
3/25/2021                                                                 CM/ECF - NCED

 09/23/2011                    SEALED ORAL ORDER as to Mohammad Omar Aly Hassan and Ziyad Yaghi granting Oral
                               Motion to Seal. Entered in Open Court by Chief Judge Louise Wood Flanagan on 9/23/2011.
                               (Rudd, D.) (Entered: 09/23/2011)
 09/23/2011          1478 ORDER to provide lunch to jurors. Signed by Chief Judge Louise Wood Flanagan on
                          9/23/2011. (Rudd, D.) (Entered: 09/26/2011)
 09/27/2011          1480 Minute Entry for proceedings held before Chief Judge Louise Wood Flanagan in New Bern:
                          Jury Trial (Day 6) as to Hysen Sheriﬁ, Mohammad Omar Aly Hassan and Ziyad Yaghi held
                          on 9/27/2011 - Defendant's present with their counsel - Assistant US Attorney present for
                          USA - 15 jurors present - Government's evidence continued - Jurors admonished and excused
                          for the evening - Court to resume at 8:45 am on Wednesday, September 28th - Defendant's
                          remanded to custody. (Court Reporter Harry Hagopian) (Rudd, D.) (Entered: 09/27/2011)
 09/28/2011          1481 ORDER as to Hysen Sheriﬁ, Mohammad Omar Aly Hassan and Ziyad Yaghi - re: Summary
                          Exhibits. Signed by Chief Judge Louise Wood Flanagan on 9/27/2011. Paper copies to be
                          provided to counsel in the courtroom. (Rudd, D.) (Entered: 09/28/2011)
 09/28/2011          1483 Minute Entry for proceedings held before Chief Judge Louise Wood Flanagan in New Bern:
                          Jury Trial (Day 7) as to Hysen Sheriﬁ, Mohammad Omar Aly Hassan and Ziyad Yaghi held
                          on 9/28/2011 - Defendant's present with their counsel - Assistant US Attorney present for
                          USA - 15 jurors present - Government's evidence continued - Jurors admonished and excused
                          for the evening - Court to resume at 8:45 am on Thursday, September 29th - Defendant's
                          remanded to custody. (Court Reporter Harry Hagopian) (Rudd, D.) (Entered: 09/28/2011)
 09/29/2011          1484 Minute Entry for proceedings held before Chief Judge Louise Wood Flanagan in New Bern:
                          Jury Trial (Day 8) as to Hysen Sheriﬁ, Mohammad Omar Aly Hassan and Ziyad Yaghi held
                          on 9/29/2011 - Defendant's present with their counsel - Assistant US Attorney present for
                          USA - 15 jurors present - Government's evidence continued - Jurors admonished and excused
                          for the evening - Court to resume at 9:00 am on Friday, September 30th - Defendant's
                          remanded to custody. (Court Reporter Harry Hagopian) (Rudd, D.) (Entered: 09/29/2011)
 09/30/2011          1485 Minute Entry for proceedings held before Chief Judge Louise Wood Flanagan in New Bern:
                          Jury Trial (Day 9) as to Hysen Sheriﬁ, Mohammad Omar Aly Hassan and Ziyad Yaghi held
                          on 9/30/2011 - Defendant's present with their counsel - Assistant US Attorney present for
                          USA - 15 jurors present - Government's evidence continued - Jurors admonished and excused
                          for the weekend recess - Court to resume at 8:45 am on Tuesday, October 4th - Jury to report
                          at 11:00 am on Tuesday, October 4th - Defendant's remanded to custody. (Court Reporter
                          Harry Hagopian) (Rudd, D.) (Entered: 09/30/2011)
 10/04/2011          1488 Minute Entry for proceedings held before Chief Judge Louise Wood Flanagan in New Bern:
                          Jury Trial (Day 10) as to Hysen Sheriﬁ, Mohammad Omar Aly Hassan and Ziyad Yaghi held
                          on 10/4/2011 - Defendant's present with their counsel - Assistant US Attorney present for
                          USA - 15 jurors present - Government's evidence continued - Jurors admonished and excused
                          for evening recess - Court to resume at 9:00 am on Wednesday, October 5th - Defendant's
                          remanded to custody. (Court Reporter Donna Tomawski) (Rudd, D.) (Entered: 10/04/2011)
 10/05/2011          1489 Minute Entry for proceedings held before Chief Judge Louise Wood Flanagan in New Bern:
                          Jury Trial (Day 11) as to Hysen Sheriﬁ, Mohammad Omar Aly Hassan and Ziyad Yaghi held
                          on 10/5/2011 - Defendant's present with their counsel - Assistant US Attorney present for
                          USA - 15 jurors present - Government's evidence continued - Jurors admonished and excused
                          for evening recess - Court to resume at 9:00 am on Thursday, October 6th - Defendant's
                          remanded to custody. (Court Reporter Donna Tomawski) (Rudd, D.) (Entered: 10/05/2011)
 10/05/2011                    ORAL MOTION to Quash Subpoenas by USA as to Hysen Sheriﬁ, Mohammad Omar Aly
                               Hassan and Ziyad Yaghi. (Rudd, D.) (Entered: 10/05/2011)
 10/05/2011                 ORAL ORDER as to Hysen Sheriﬁ, Mohammad Omar Aly Hassan and Ziyad Yaghi
                        CaseDENYING   re ORAL MOTION
                             5:09-cr-00216-FL         to Quash
                                               Document  2364 ﬁled by03/25/21
                                                               Filed  USA. Entered
                                                                               Pagein open
                                                                                       57 ofcourt
                                                                                             74 by Chief Judge
https://ecf.nced.uscourts.gov/cgi-bin/DktRpt.pl?138298681748329-L_1_0-1                                             57/74
3/25/2021                                                                 CM/ECF - NCED

                               Louise Wood Flanagan on 10/5/2011. (Rudd, D.) (Entered: 10/05/2011)
 10/06/2011          1490 Minute Entry for proceedings held before Chief Judge Louise Wood Flanagan in New Bern:
                          Jury Trial (Day 12) as to Hysen Sheriﬁ, Mohammad Omar Aly Hassan and Ziyad Yaghi held
                          on 10/6/2011 - Defendant's present with their counsel - Assistant US Attorney present for
                          USA - 15 jurors present - Government's evidence continued - Jurors admonished and excused
                          for evening recess - Court to resume at 8:45 am on Friday, October 7th - Defendant's
                          remanded to custody. (Court Reporter Donna Tomawski) (Rudd, D.) (Entered: 10/06/2011)
 10/07/2011          1491 MOTION re conﬁrmation of admission of exhibits re: Facebook by USA as to Hysen Sheriﬁ,
                          Mohammad Omar Aly Hassan, Ziyad Yaghi. (Kocher, Barbara) (Entered: 10/07/2011)
 10/07/2011          1493 Minute Entry for proceedings held before District Judge Louise Wood Flanagan in New Bern:
                          (Day 13) Jury Trial as to Hysen Sheriﬁ, Mohammad Omar Aly Hassan and Ziyad Yaghi held
                          on 10/7/2011 - Defendant's present with their counsel - Assistant US Attorney present for
                          USA - 15 jurors present - Government's evidence continued - Juror #38 dismissed and
                          replaced by 1st alternate - Government rests - Jurors admonished and excused for the
                          weekend recess - Court goes forward on Defendant Hassan's written motion acquittal pursuant
                          to Rule 29 1492 and defendant's Sheriﬁ and Yaghi's Oral motions for acquittal pursuant to
                          Rule 29 at the close of the governments evidence - The Court hears from all parties - Court
                          denied - Court to reconvene at 9:00 am on Monday, 10/10/2011 - Defendant's remanded to
                          custody. (Court Reporter Donna Tomawski) (Rudd, D.) Modiﬁed on 10/10/2011 to correct
                          docket text (Rudd, D.) (Entered: 10/10/2011)
 10/07/2011                    ORAL MOTION for Acquittal pursuant to Rule 29 at the close of the government's evidence
                               by Ziyad Yaghi. (Rudd, D.) (Entered: 10/10/2011)
 10/07/2011                    ORAL ORDER as to Ziyad Yaghi DENYING re ORAL MOTION for Acquittal pursuant to
                               Rule 29 at the close of the government's evidence ﬁled by Ziyad Yaghi. Entered in open court
                               by Chief District Judge Louise Wood Flanagan on 10/7/2011. (Rudd, D.) (Entered:
                               10/10/2011)
 10/07/2011          1495 ORDER RETURNING EXHIBITS TO AGENT as to Hysen Sheriﬁ, Mohammad Omar Aly
                          Hassan and Ziyad Yaghi. Signed by Chief District Judge Louise Wood Flanagan on
                          10/7/2011. (Rudd, D.) (Entered: 10/10/2011)
 10/10/2011          1496 Minute Entry for proceedings held before District Judge Louise Wood Flanagan in New Bern:
                          Jury Trial (Day 14) as to Hysen Sheriﬁ, Mohammad Omar Aly Hassan and Ziyad Yaghi held
                          on 10/10/2011 - Defendant's present with their counsel - Assistant US Attorney present for
                          USA - 14 jurors present - Defendant Sheriﬁ's evidence begins - Defendant Sheriﬁ Rest - No
                          Evidence for Hassan - No Evidence for Yaghi - Defendant Hysen Sheriﬁ renewed his Oral
                          Motion for Acquittal Pursuant to Rule 29 at the Close of all the Evidence - Defendant
                          Mohammad Hassan renewed his Motion for Acquittal Pursuant to Rule 29 at the Close of all
                          the Evidence - Defendant Ziyad Yaghi renewed his Oral Motion for Acquittal Pursuant to
                          Rule 29 at the Close of all the Evidence - The Court hears from all the Parties - DENIES
                          Renewed Motions for Acquittal Pursuant to Rule 29 at the Close of all the Evidence - Charge
                          Conference - Court takes overnight recess to reconvene at 8:45 am on Tuesday, October 11th -
                          Defendant's remanded to custody. (Court Reporter Harry Hagopian.) (Rudd, D.) (Entered:
                          10/10/2011)
 10/10/2011                    RENEWED ORAL MOTION for Acquittal pursuant to Rule 29 at the close of all the
                               Evidence by Ziyad Yaghi. (Rudd, D.) (Entered: 10/10/2011)
 10/10/2011                    ORAL ORDER as to Ziyad Yaghi DENYING re RENEWED ORAL MOTION for Acquittal
                               pursuant to Rule 29 at the close of all the Evidence ﬁled by Ziyad Yaghi. Entered in open
                               court by District Judge Louise Wood Flanagan on 10/10/2011. (Rudd, D.) (Entered:
                               10/10/2011)
 10/10/2011                ORAL ORDER as to Hysen Sheriﬁ, Mohammad Omar Aly Hassan and Ziyad Yaghi
                        Case 5:09-cr-00216-FL Document 2364 Filed 03/25/21 Page 58 of 74
https://ecf.nced.uscourts.gov/cgi-bin/DktRpt.pl?138298681748329-L_1_0-1                                                  58/74
3/25/2021                                                                 CM/ECF - NCED

                               GRANTING re 1491 MOTION conﬁrmation of admission of exhibits re: Facebook ﬁled by
                               USA. Entered in open court by District Judge Louise Wood Flanagan on 10/10/2011. (Rudd,
                               D.) (Entered: 10/12/2011)
 10/11/2011          1497 Minute Entry for proceedings held before District Judge Louise Wood Flanagan in New Bern:
                          Jury Trial (Day 15) as to Hysen Sheriﬁ, Mohammad Omar Aly Hassan and Ziyad Yaghi held
                          on 10/11/2011 - Defendant's present with their counsel - Assistant US Attorney present for
                          USA - 14 jurors present - Closing arguments by the parties - Court takes overnight recess to
                          reconvene at 9:00 am on Wednesday, October 12th - Defendant's remanded to custody. (Court
                          Reporter Harry Hagopian) (Rudd, D.) (Entered: 10/11/2011)
 10/11/2011                    ORAL ORDER as to Ziyad Yaghi DENIED AS MOOT re 1128 MOTION for evidence under
                               Rule 404(b) Determination of Admissibility/Inadmissibility ﬁled by Ziyad Yaghi, FINDING
                               AS MOOT 1311 MEMORANDUM AND RECOMMENDATIONS as to Ziyad Yaghi re 1128
                               MOTION for evidence under Rule 404(b) Determination of Admissibility/Inadmissibility.
                               Entered in open court by District Judge Louise Wood Flanagan on 10/11/2011. (Rudd, D.)
                               (Entered: 10/12/2011)
 10/12/2011          1501 Minute Entry for proceedings held before District Judge Louise Wood Flanagan in New Bern:
                          Jury Trial (Day 16) as to Hysen Sheriﬁ, Mohammad Omar Aly Hassan and Ziyad Yaghi held
                          on 10/12/2011 - Defendant's present with their counsel - Assistant US Attorney present for
                          USA - 14 jurors present - Court charges jury - Deliberations begin - Court to reconvene at
                          9:00 am on Thursday, 10/13/2011 - Defendant's remanded to custody. (Court Reporter Harry
                          Hagopian) (Rudd, D.) (Entered: 10/12/2011)
 10/12/2011          1502 Sealed Document. Copy emailed to defense counsel. (Rudd, D.) (Entered: 10/12/2011)
 10/13/2011          1503 Minute Entry for proceedings held before District Judge Louise Wood Flanagan in New Bern:
                          Jury Trial (Day 17) as to Hysen Sheriﬁ, Mohammad Omar Aly Hassan and Ziyad Yaghi held
                          on 10/13/2011 - Defendant's present with their counsel - Assistant US Attorney present for
                          USA - 14 jurors present - Jury continue deliberations - Verdict rendered: Defendant Hysen
                          Sheriﬁ Guilty as to Counts 1ss, 2ss, 4ss, 8ss and 11ss; Defendant Mohammad Hassan Guilty
                          as to Count 1ss and Not Guilty as to Count 2ss; Defendant Ziyad Yaghi Guilty as to Counts
                          1ss and 2ss - Jury polled - Defendant's adjudged guilty by the court - Defendant's Renewed
                          their Oral Motion's for Acquittal pursuant to Rule 29 After Return of Verdict - Oral Order
                          Denying Oral Motion - Defendant's Omar Hassan and Ziyad Yaghi remanded to custody -
                          Court goes forward on the matter of Forfeiture as to defendant Hysen Sheriﬁ - The Court
                          charges the Jury on Issues of Forfeiture - The Jury Returns a Verdict of Adjudging the
                          Property to be Forfeited as to defendant Hysen Sheriﬁ - Jury polled - Jury dismissed by the
                          court - Defendant Hysen Sheriﬁ remanded to custody. (Court Reporter Harry Hagopian)
                          (Rudd, D.) (Entered: 10/13/2011)
 10/13/2011                    RENEWED ORAL MOTION for Acquittal pursuant to Rule 29 After Return of Verdict by
                               Ziyad Yaghi. (Rudd, D.) (Entered: 10/14/2011)
 10/13/2011                    ORAL ORDER as to Ziyad Yaghi DENYING re RENEWED ORAL MOTION for Acquittal
                               pursuant to Rule 29 After Return of Verdict ﬁled by Ziyad Yaghi. Entered in open court by
                               District Judge Louise Wood Flanagan on 10/13/2011. (Rudd, D.) (Entered: 10/14/2011)
 10/13/2011          1508 JURY VERDICT as to Ziyad Yaghi (8) Guilty on Count 1ss and 2ss. This document has been
                          redacted pursuant to the E-Government Act and the federal rules. The unredacted version of
                          this document has been ﬁled under seal. (Rudd, D.) (Entered: 10/14/2011)
 10/13/2011          1509 Unredacted Document re: 1508 Jury Verdict. (Rudd, D.) (Entered: 10/14/2011)
 10/13/2011          1513 TRIAL EXHIBIT LIST as to defendants Hysen Sheriﬁ, Mohammad Hassan and Ziyad Yaghi.
                          (Rudd, D.) (Entered: 10/14/2011)
 10/13/2011          1514 Jury Seating Arrangement as to Hysen Sheriﬁ, Mohammad Omar Aly Hassan and Ziyad
                       Case 5:09-cr-00216-FL Document 2364 Filed 03/25/21 Page 59 of 74
https://ecf.nced.uscourts.gov/cgi-bin/DktRpt.pl?138298681748329-L_1_0-1                                               59/74
3/25/2021                                                                 CM/ECF - NCED

                               Yaghi. Sealed Document (Rudd, D.) (Entered: 10/14/2011)
 10/18/2011          1526 NOTICE OF HEARING as to Hysen Sheriﬁ, Mohammad Omar Aly Hassan and Ziyad Yaghi
                          Sentencing set for 1/13/2012 at 9:30 AM in New Bern - Courtroom before District Judge
                          Louise Wood Flanagan. (Rudd, D.) (Entered: 10/18/2011)
 01/03/2012          1594 MOTION for Downward Departure or Variance by Ziyad Yaghi. (Ayers, James) (Entered:
                          01/03/2012)
 01/03/2012          1595 SENTENCING MEMORANDUM by Ziyad Yaghi (Attachments: # 1 Exhibit Deposition
                          Transcript) (Ayers, James) (Entered: 01/03/2012)
 01/03/2012                    Motion Submitted to District Judge Louise Wood Flanagan as to Ziyad Yaghi re 1594
                               MOTION for Downward Departure or Variance. (Rudd, D.) (Entered: 01/03/2012)
 01/04/2012          1602 NOTICE TO COUNSEL - re correspondence and character letters. Signed by District Judge
                          Louise Wood Flanagan on 1/4/2012. (Rudd, D.) (Entered: 01/05/2012)
 01/08/2012          1613 PRESENTENCE INVESTIGATION REPORT (Sealed) as to Ziyad Yaghi. (Davis, Dee)
                          (Entered: 01/08/2012)
 01/13/2012          1644 Minute Entry for proceedings held before District Judge Louise Wood Flanagan in New Bern:
                          Sentencing held on 1/13/2012 for Ziyad Yaghi (8) - Counts 1, 1s, 2, 2s - Dismissed by the
                          court - Count 1ss - Bureau of Prisons - 180 Months - Supervised Release - 3 Years - Special
                          Conditions on supervised release imposed - Pay $200.00 special assessment - Pay $8000.00
                          ﬁne - No interest - Recommendations include placement at the Federal Correctional
                          Institution at Butner, North Carolina - Advised of appeal rights - Defendant remanded to
                          custody - Count 2ss - Bureau of Prisons - 380 Months - to run concurrently - Supervised
                          Release - 5 years - all such terms of supervised release are to run concurrently. (Court
                          Reporter Harry Hagopian) (Rudd, D.) (Entered: 01/13/2012)
 01/13/2012                    ORAL ORDER as to Ziyad Yaghi granting re 1594 MOTION for Downward Departure or
                               Variance ﬁled by Ziyad Yaghi. Entered in open court by District Judge Louise Wood Flanagan
                               on 1/13/2012. (Rudd, D.) (Entered: 01/13/2012)
 01/13/2012          1666 JUDGMENT as to Ziyad Yaghi (8) - Count 1ss - Bureau of Prisons - 180 Months - Count 2ss
                          - Bureau of Prisons - 380 Months, to be served concurrently - Supervised Release - Count 1ss
                          - 3 Years - Count 2ss - 5 Years, such terms to run concurrently - Special Conditions on
                          supervised release imposed - Counts 1, 1s, 2, and 2s Dismissed by the Court - Pay $200.00
                          special assessment - Pay $8000.00 ﬁne - No interest - Recommendations include placement at
                          the Federal Correctional Institution at Butner, North Carolina - Defendant remanded to
                          custody. Signed by District Judge Louise Wood Flanagan on 1/13/12. (Tripp, S.) (Entered:
                          01/25/2012)
 01/18/2012          1655 MEMORANDUM OPINION as to Ziyad Yaghi. Signed by District Judge Louise Wood
                          Flanagan on 1/18/12. (Tripp, S.) (Entered: 01/18/2012)
 01/26/2012          1678 NOTICE OF APPEAL DE 1666 Judgment by Ziyad Yaghi (Ayers, James) (Entered:
                          01/26/2012)
 01/26/2012          1679 Appeal-Proposed CJA 24 (Ayers, James) (Entered: 01/26/2012)
 01/26/2012          1680 Appeal-Proposed CJA 24 (Ayers, James) (Entered: 01/26/2012)
 01/26/2012          1681 Transmission of Notice of Appeal and Docket Sheet as to Ziyad Yaghi to US Court of
                           Appeals re 1678 Notice of Appeal - Final Judgment. NOTE: The Docketing Statement,
                           Transcript Order Form and CJA-24 forms, if you are court appointed counsel, are available on
                           our website at website. If CJA-24 forms are applicable, complete items 1-14, and 18 for each
                           court reporter from whom you wish to order a transcript, and ﬁle each one separately in this
                           case with the event Appeal-Proposed CJA-24. The CJA-24 forms will then be processed by
                       Casethe U.S. District Court Clerk's
                             5:09-cr-00216-FL      DocumentOfﬁce. (Fogle,
                                                               2364       L.) 03/25/21
                                                                       Filed  (Entered: 01/26/2012)
                                                                                          Page 60 of 74
https://ecf.nced.uscourts.gov/cgi-bin/DktRpt.pl?138298681748329-L_1_0-1                                               60/74
3/25/2021                                                                 CM/ECF - NCED

 01/27/2012                    NOTICE OF DEFICIENCY re: 1679 Appeal-Proposed CJA 24. There were two reporters
                               present at the jury trial in this matter. Counsel is directed to reﬁle a separate CJA-24 Form and
                               Transcript Order Form for each reporter along with the dates that reporter was present.
                               (Thuemmel Proctor, S.) (Entered: 01/27/2012)
 01/27/2012          1682 Appeal-Proposed CJA 24 (Attachments: # 1 transcript order form) (Ayers, James) (Entered:
                          01/27/2012)
 01/27/2012          1683 Appeal-Proposed CJA 24 (Attachments: # 1 transcript order form) (Ayers, James) (Entered:
                          01/27/2012)
 01/30/2012          1690 US Court of Appeals Case Number as to Ziyad Yaghi 12-4063, Cathy Poulsen, Case Manager
                          for 1678 Notice of Appeal - Final Judgment ﬁled by Ziyad Yaghi. (Fogle, L.) (Entered:
                          01/30/2012)
 01/30/2012          1691 ORDER of US Court of Appeals (certiﬁed copy) - Appointing James McLean Ayers, II to
                          represent Ziyad Yaghi re 1678 Notice of Appeal - Final Judgment. (Fogle, L.) (Entered:
                          01/30/2012)
 01/30/2012          1693 ORDER of US Court of Appeals (certiﬁed copy) - CONSOLIDATING Case No. 12-4061 and
                          Case No. 12-4063, with the lead number being 12-4061(L) as to Mohammad Omar Aly
                          Hassan, Ziyad Yaghi re 1672 Notice of Appeal - Final Judgment, 1678 Notice of Appeal -
                          Final Judgment. (Fogle, L.) (Entered: 01/30/2012)
 01/31/2012          1696 ORDER of US Court of Appeals (certiﬁed copy) - The court consolidates Case Nos. 12-4061,
                          12-4063, and 12-4067. Entry of appearance forms and disclosure statements ﬁled by counsel
                          and parties to the lead case are deemed ﬁled in the secondary case as to Hysen Sheriﬁ,
                          Mohammad Omar Aly Hassan, Ziyad Yaghi re 1672 Notice of Appeal - Final Judgment, 1678
                          Notice of Appeal - Final Judgment, 1665 Notice of Appeal - Final Judgment. (12-4061)L
                          (Fogle, L.) (Entered: 01/31/2012)
 02/07/2012          1718 Appeal-Proposed CJA 24 (Ayers, James) (Entered: 02/07/2012)
 03/23/2012          1836 OFFICIAL TRANSCRIPT of Trial Proceedings, Day 10, as to Hysen Sheriﬁ, Mohammad
                          Omar Aly Hassan, Ziyad Yaghi held on October 4, 2011, before Chief Judge Louise W.
                          Flanagan. Court Reporter, Donna J. Tomawski, Telephone number (919) 645-1700. Transcript
                          may be viewed at the court public terminal or purchased through the Court Reporter before
                          the deadline for Release of Transcript Restriction. After that date it may be obtained through
                          PACER. Please review Attorney obligations regarding the redaction of electronic transcripts
                          of court proceedings available on the court's website. Redaction Request due 4/16/2012.
                          Redacted Transcript Deadline set for 4/26/2012. Release of Transcript Restriction set for
                          6/24/2012. (Tomawski, Donna) (Entered: 03/23/2012)
 03/23/2012                    NOTICE of Filing of Ofﬁcial Transcript 1836 Transcript. The parties have seven calendar
                               days from the ﬁling of the transcript to ﬁle a Notice of Intent to Request Redaction. The
                               parties must also serve a copy on the court reporter or transcriber. After ﬁling the Notice of
                               Intent to Request Redaction, a party must submit to the court reporter or transcriber, within 21
                               calendar days of the ﬁling of the transcript, a written statement indicating where the personal
                               data identiﬁers to be redacted appear in the transcript. (Tomawski, Donna) (Entered:
                               03/23/2012)
 03/23/2012          1837 OFFICIAL TRANSCRIPT of Trial Proceedings, Day 11, as to Hysen Sheriﬁ, Mohammad
                          Omar Aly Hassan, Ziyad Yaghi held on October 5, 2011, before Chief Judge Louise W.
                          Flanagan. Court Reporter, Donna J. Tomawski, Telephone number (919) 645-1700. Transcript
                          may be viewed at the court public terminal or purchased through the Court Reporter before
                          the deadline for Release of Transcript Restriction. After that date it may be obtained through
                          PACER. Please review Attorney obligations regarding the redaction of electronic transcripts
                          of court proceedings available on the court's website. Redaction Request due 4/16/2012.
                       Case 5:09-cr-00216-FL Document 2364 Filed 03/25/21 Page 61 of 74
https://ecf.nced.uscourts.gov/cgi-bin/DktRpt.pl?138298681748329-L_1_0-1                                                      61/74
3/25/2021                                                                 CM/ECF - NCED

                               Redacted Transcript Deadline set for 4/26/2012. Release of Transcript Restriction set for
                               6/24/2012. (Tomawski, Donna) (Entered: 03/23/2012)
 03/23/2012                    NOTICE of Filing of Ofﬁcial Transcript 1837 Transcript. The parties have seven calendar
                               days from the ﬁling of the transcript to ﬁle a Notice of Intent to Request Redaction. The
                               parties must also serve a copy on the court reporter or transcriber. After ﬁling the Notice of
                               Intent to Request Redaction, a party must submit to the court reporter or transcriber, within 21
                               calendar days of the ﬁling of the transcript, a written statement indicating where the personal
                               data identiﬁers to be redacted appear in the transcript. (Tomawski, Donna) (Entered:
                               03/23/2012)
 03/23/2012          1838 OFFICIAL TRANSCRIPT of Trial Proceedings, Day 12, as to Hysen Sheriﬁ, Mohammad
                          Omar Aly Hassan, Ziyad Yaghi held on October 6, 2011, before Judge Chief Judge Louise W.
                          Flanagan. Court Reporter, Donna J. Tomawski, Telephone number (919) 645-1700. Transcript
                          may be viewed at the court public terminal or purchased through the Court Reporter before
                          the deadline for Release of Transcript Restriction. After that date it may be obtained through
                          PACER. Please review Attorney obligations regarding the redaction of electronic transcripts
                          of court proceedings available on the court's website. Redaction Request due 4/16/2012.
                          Redacted Transcript Deadline set for 4/26/2012. Release of Transcript Restriction set for
                          6/24/2012. (Tomawski, Donna) (Entered: 03/23/2012)
 03/23/2012                    NOTICE of Filing of Ofﬁcial Transcript 1838 Transcript. The parties have seven calendar
                               days from the ﬁling of the transcript to ﬁle a Notice of Intent to Request Redaction. The
                               parties must also serve a copy on the court reporter or transcriber. After ﬁling the Notice of
                               Intent to Request Redaction, a party must submit to the court reporter or transcriber, within 21
                               calendar days of the ﬁling of the transcript, a written statement indicating where the personal
                               data identiﬁers to be redacted appear in the transcript. (Tomawski, Donna) (Entered:
                               03/23/2012)
 03/31/2012          1850 OFFICIAL TRANSCRIPT of Trial Proceedings, Day 13, as to Hysen Sheriﬁ, Mohammad
                          Omar Aly Hassan, Ziyad Yaghi for dates of October 7, 2011 before Chief Judge Louise W.
                          Flanagan, re 1672 Notice of Appeal - Final Judgment, 1678 Notice of Appeal - Final
                          Judgment, 1665 Notice of Appeal - Final Judgment Court Reporter, Donna J. Tomawski.
                          Transcript may be viewed at the court public terminal or purchased through the Court
                          Reporter before the deadline for Release of Transcript Restriction. After that date it may be
                          obtained through PACER. Does this satisfy all appellate orders for this reporter? - no. Please
                          review Attorney obligations regarding the redaction of electronic transcripts of court
                          proceedings available on the court's website. Redaction Request due 4/24/2012. Redacted
                          Transcript Deadline set for 5/4/2012. Release of Transcript Restriction set for 7/2/2012.
                          (Tomawski, Donna) (Entered: 03/31/2012)
 03/31/2012                    NOTICE of Filing of Ofﬁcial Transcript 1850 Transcript - Appeal. The parties have seven
                               calendar days from the ﬁling of the transcript to ﬁle a Notice of Intent to Request Redaction.
                               The parties must also serve a copy on the court reporter or transcriber. After ﬁling the Notice
                               of Intent to Request Redaction, a party must submit to the court reporter or transcriber, within
                               21 calendar days of the ﬁling of the transcript, a written statement indicating where the
                               personal data identiﬁers to be redacted appear in the transcript. (Tomawski, Donna) (Entered:
                               03/31/2012)
 06/08/2012          2026 ***SEALED*** OFFICIAL TRANSCRIPT of proceedings as to Hysen Sheriﬁ, Mohammad
                          Omar Aly Hassan, Ziyad Yaghi for dates of October 4, 2011 before Chief Judge Louise W.
                          Flanagan, regarding 1672 Notice of Appeal - Final Judgment, 1678 Notice of Appeal - Final
                          Judgment, 1665 Notice of Appeal - Final Judgment Does this satisfy all appellate orders for
                          this reporter? Please review Attorney obligations regarding the redaction of electronic
                          transcripts of court proceedings available at http://www.nced.uscourts.gov/cmecf/default.aspx
                          (Tomawski, Donna) (Entered: 06/08/2012)
 06/08/2012          2027 ***SEALED*** OFFICIAL TRANSCRIPT of Ex Parte proceedings as to Hysen Sheriﬁ,
                       Case 5:09-cr-00216-FL Document 2364 Filed 03/25/21 Page 62 of 74
https://ecf.nced.uscourts.gov/cgi-bin/DktRpt.pl?138298681748329-L_1_0-1                                                     62/74
3/25/2021                                                                 CM/ECF - NCED

                               Mohammad Omar Aly Hassan, Ziyad Yaghi for dates of October 5, 2011 before Chief Judge
                               Louise W. Flanagan, regarding 1672 Notice of Appeal - Final Judgment, 1678 Notice of
                               Appeal - Final Judgment, 1665 Notice of Appeal - Final Judgment Does this satisfy all
                               appellate orders for this reporter? Please review Attorney obligations regarding the redaction
                               of electronic transcripts of court proceedings available at
                               http://www.nced.uscourts.gov/cmecf/default.aspx (Tomawski, Donna) (Entered: 06/08/2012)
 06/08/2012          2028 ***SEALED*** OFFICIAL TRANSCRIPT of Proceedings as to Hysen Sheriﬁ, Mohammad
                          Omar Aly Hassan, Ziyad Yaghi for dates of October 6, 2011 before Chief Judge Louise W.
                          Flanagan, regarding 1672 Notice of Appeal - Final Judgment, 1678 Notice of Appeal - Final
                          Judgment, 1665 Notice of Appeal - Final Judgment Does this satisfy all appellate orders for
                          this reporter? Please review Attorney obligations regarding the redaction of electronic
                          transcripts of court proceedings available at http://www.nced.uscourts.gov/cmecf/default.aspx
                          (Tomawski, Donna) (Entered: 06/08/2012)
 06/08/2012          2029 ***SEALED*** OFFICIAL TRANSCRIPT of Ex Parte Proceedings as to Hysen Sheriﬁ,
                          Mohammad Omar Aly Hassan, Ziyad Yaghi for dates of October 6, 2011 before Chief Judge
                          Louise W. Flanagan, regarding 1672 Notice of Appeal - Final Judgment, 1678 Notice of
                          Appeal - Final Judgment, 1665 Notice of Appeal - Final Judgment Does this satisfy all
                          appellate orders for this reporter? Please review Attorney obligations regarding the redaction
                          of electronic transcripts of court proceedings available at
                          http://www.nced.uscourts.gov/cmecf/default.aspx (Tomawski, Donna) (Entered: 06/08/2012)
 06/08/2012          2030 ***SEALED*** OFFICIAL TRANSCRIPT of Proceedings as to Hysen Sheriﬁ, Mohammad
                          Omar Aly Hassan, Ziyad Yaghi for dates of October 7, 2011 before Chief Judge Louise W.
                          Flanagan, regarding 1672 Notice of Appeal - Final Judgment, 1678 Notice of Appeal - Final
                          Judgment, 1665 Notice of Appeal - Final Judgment Does this satisfy all appellate orders for
                          this reporter? Please review Attorney obligations regarding the redaction of electronic
                          transcripts of court proceedings available at http://www.nced.uscourts.gov/cmecf/default.aspx
                          (Tomawski, Donna) (Entered: 06/08/2012)
 06/08/2012                    NOTICE of Filing of Ofﬁcial Transcript 2027 SEALED Appeal Transcript,, 2030 SEALED
                               Appeal Transcript,, 2028 SEALED Appeal Transcript,, 2026 SEALED Appeal Transcript,,
                               2029 SEALED Appeal Transcript,,. The parties have seven calendar days from the ﬁling of
                               the transcript to ﬁle a Notice of Intent to Request Redaction. The parties must also serve a
                               copy on the court reporter or transcriber. After ﬁling the Notice of Intent to Request
                               Redaction, a party must submit to the court reporter or transcriber, within 21 calendar days of
                               the ﬁling of the transcript, a written statement indicating where the personal data identiﬁers to
                               be redacted appear in the transcript. (Tomawski, Donna) (Entered: 06/08/2012)
 06/10/2012          2032 OFFICIAL TRANSCRIPT OF PRETRIAL CONFERENCE AND MOTIONS HEARING as
                          to Hysen Sheriﬁ, Mohammad Omar Aly Hassan, Ziyad Yaghi for dates of 7/29/11 before
                          Judge Flanagan, regarding 1672 Notice of Appeal - Final Judgment, 1678 Notice of Appeal -
                          Final Judgment, 1665 Notice of Appeal - Final Judgment Court Reporter/Transcriber Harry
                          Hagopian, Telephone number (252) 637-1200. Transcript may be viewed at the court public
                          terminal or purchased through the Court Reporter/Transcriber before the deadline for Release
                          of Transcript Restriction. After that date it may be obtained through PACER. Does this satisfy
                          all appellate orders for this reporter? - Yes. Please review Attorney obligations regarding the
                          redaction of electronic transcripts of court proceedings available on the court's website.
                          Redaction Request due 7/4/2012. Redacted Transcript Deadline set for 7/14/2012. Release of
                          Transcript Restriction set for 9/11/2012. (Hagopian, Harry) (Entered: 06/10/2012)
 06/10/2012                NOTICE of Filing of Ofﬁcial Transcript 2032 Transcript - Appeal. The parties have seven
                           calendar days from the ﬁling of the transcript to ﬁle a Notice of Intent to Request Redaction.
                           The parties must also serve a copy on the court reporter or transcriber. After ﬁling the Notice
                           of Intent to Request Redaction, a party must submit to the court reporter or transcriber, within
                           21 calendar days of the ﬁling of the transcript, a written statement indicating where the
                        Case 5:09-cr-00216-FL Document 2364 Filed 03/25/21 Page 63 of 74
https://ecf.nced.uscourts.gov/cgi-bin/DktRpt.pl?138298681748329-L_1_0-1                                                      63/74
3/25/2021                                                                 CM/ECF - NCED

                               personal data identiﬁers to be redacted appear in the transcript. (Hagopian, Harry) (Entered:
                               06/10/2012)
 06/10/2012          2033 OFFICIAL TRANSCRIPT OF TRIAL DAY 1 as to Hysen Sheriﬁ, Mohammad Omar Aly
                          Hassan, Ziyad Yaghi for dates of 9/19/11, before Chief U.S. District Judge Louise W.
                          Flanagan, regarding 1672 Notice of Appeal - Final Judgment, 1678 Notice of Appeal - Final
                          Judgment, 1665 Notice of Appeal - Final Judgment Court Reporter Harry Hagopian,
                          Telephone number (252) 637-1200; E-mail: hhagopian@aol.com. Transcript may be
                          purchased through the Court Reporter or viewed at the court public terminal before the
                          deadline for Release of Transcript Restriction. After that date it may be obtained through
                          PACER. Does this satisfy all appellate orders for this reporter? - Yes. Please review Attorney
                          obligations regarding the redaction of electronic transcripts of court proceedings available on
                          the court's website. Redaction Request due 7/4/2012. Redacted Transcript Deadline set for
                          7/14/2012. Release of Transcript Restriction set for 9/11/2012. (Hagopian, Harry) (Entered:
                          06/10/2012)
 06/10/2012                    NOTICE of Filing of Ofﬁcial Transcript 2033 Transcript - Appeal. The parties have seven
                               calendar days from the ﬁling of the transcript to ﬁle a Notice of Intent to Request Redaction.
                               The parties must also serve a copy on the court reporter or transcriber. After ﬁling the Notice
                               of Intent to Request Redaction, a party must submit to the court reporter or transcriber, within
                               21 calendar days of the ﬁling of the transcript, a written statement indicating where the
                               personal data identiﬁers to be redacted appear in the transcript. (Hagopian, Harry) (Entered:
                               06/10/2012)
 06/10/2012          2034 OFFICIAL TRANSCRIPT OF TRIAL DAY 15 as to Hysen Sheriﬁ, Mohammad Omar Aly
                          Hassan, Ziyad Yaghi for dates of 10/11/11 before U.S. District Judge Louise W. Flanagan,
                          regarding 1672 Notice of Appeal - Final Judgment, 1678 Notice of Appeal - Final Judgment,
                          1665 Notice of Appeal - Final Judgment. Court Reporter Harry Hagopian, Telephone number
                          (252) 637-1200; E-mail: hhagopian@aol.com. Transcript may be purchased through the Court
                          Reporter or viewed at the court public terminal before the deadline for Release of Transcript
                          Restriction. After that date it may be obtained through PACER. Does this satisfy all appellate
                          orders for this reporter? - Yes. Please review Attorney obligations regarding the redaction of
                          electronic transcripts of court proceedings available on the court's website. Redaction Request
                          due 7/4/2012. Redacted Transcript Deadline set for 7/14/2012. Release of Transcript
                          Restriction set for 9/11/2012. (Hagopian, Harry) (Entered: 06/10/2012)
 06/10/2012          2035 OFFICIAL TRANSCRIPT OF TRIAL DAY 16 as to Hysen Sheriﬁ, Mohammad Omar Aly
                          Hassan, Ziyad Yaghi for dates of 10/12/11 before U.S. District Judge Louise W. Flanagan,
                          regarding 1672 Notice of Appeal - Final Judgment, 1678 Notice of Appeal - Final Judgment,
                          1665 Notice of Appeal - Final Judgment. Court Reporter Harry Hagopian, Telephone number
                          (252) 637-1200; E-mail: hhagopian@aol.com. Transcript may be purchased through the Court
                          Reporter or viewed at the court public terminal before the deadline for Release of Transcript
                          Restriction. After that date it may be obtained through PACER. Does this satisfy all appellate
                          orders for this reporter? - Yes. Please review Attorney obligations regarding the redaction of
                          electronic transcripts of court proceedings available on the court's website. Redaction Request
                          due 7/4/2012. Redacted Transcript Deadline set for 7/14/2012. Release of Transcript
                          Restriction set for 9/11/2012. (Hagopian, Harry) (Entered: 06/10/2012)
 06/10/2012                    NOTICE of Filing of Ofﬁcial Transcript 2035 Transcript - Appeal. The parties have seven
                               calendar days from the ﬁling of the transcript to ﬁle a Notice of Intent to Request Redaction.
                               The parties must also serve a copy on the court reporter or transcriber. After ﬁling the Notice
                               of Intent to Request Redaction, a party must submit to the court reporter or transcriber, within
                               21 calendar days of the ﬁling of the transcript, a written statement indicating where the
                               personal data identiﬁers to be redacted appear in the transcript. (Hagopian, Harry) (Entered:
                               06/10/2012)
 06/10/2012          2036 OFFICIAL TRANSCRIPT OF TRIAL DAY 17 as to Hysen Sheriﬁ, Mohammad Omar Aly
                       Case 5:09-cr-00216-FL Document 2364 Filed 03/25/21 Page 64 of 74
https://ecf.nced.uscourts.gov/cgi-bin/DktRpt.pl?138298681748329-L_1_0-1                                                     64/74
3/25/2021                                                                 CM/ECF - NCED

                               Hassan, Ziyad Yaghi for dates of 10/13/11 before U.S. District Judge Louise W. Flanagan,
                               regarding 1672 Notice of Appeal - Final Judgment, 1678 Notice of Appeal - Final Judgment,
                               1665 Notice of Appeal - Final Judgment. Court Reporter Harry Hagopian, Telephone number
                               (252) 637-1200; E-mail: hhagopian@aol.com. Transcript may be purchased through the Court
                               Reporter or viewed at the court public terminal before the deadline for Release of Transcript
                               Restriction. After that date it may be obtained through PACER. Does this satisfy all appellate
                               orders for this reporter? - Yes. Please review Attorney obligations regarding the redaction of
                               electronic transcripts of court proceedings available on the court's website. Redaction Request
                               due 7/4/2012. Redacted Transcript Deadline set for 7/14/2012. Release of Transcript
                               Restriction set for 9/11/2012. (Hagopian, Harry) (Entered: 06/10/2012)
 06/10/2012                    NOTICE of Filing of Ofﬁcial Transcript 2036 Transcript - Appeal. The parties have seven
                               calendar days from the ﬁling of the transcript to ﬁle a Notice of Intent to Request Redaction.
                               The parties must also serve a copy on the court reporter or transcriber. After ﬁling the Notice
                               of Intent to Request Redaction, a party must submit to the court reporter or transcriber, within
                               21 calendar days of the ﬁling of the transcript, a written statement indicating where the
                               personal data identiﬁers to be redacted appear in the transcript. (Hagopian, Harry) (Entered:
                               06/10/2012)
 06/10/2012          2037 OFFICIAL TRANSCRIPT OF SENTENCING PROCEEDINGS as to Hysen Sheriﬁ,
                          Mohammad Omar Aly Hassan, Ziyad Yaghi for dates of 1/13/12 before U.S. District Judge
                          Louise W. Flanagan, regarding 1672 Notice of Appeal - Final Judgment, 1678 Notice of
                          Appeal - Final Judgment, 1665 Notice of Appeal - Final Judgment. Court Reporter Harry
                          Hagopian, Telephone number (252) 637-1200; E-mail: hhagopian@aol.com. Transcript may
                          be purchased through the Court Reporter or viewed at the court public terminal before the
                          deadline for Release of Transcript Restriction. After that date it may be obtained through
                          PACER. Does this satisfy all appellate orders for this reporter? - Yes. Please review Attorney
                          obligations regarding the redaction of electronic transcripts of court proceedings available on
                          the court's website. Redaction Request due 7/4/2012. Redacted Transcript Deadline set for
                          7/14/2012. Release of Transcript Restriction set for 9/11/2012. (Hagopian, Harry) (Entered:
                          06/10/2012)
 06/10/2012                    NOTICE of Filing of Ofﬁcial Transcript 2037 Transcript - Appeal. The parties have seven
                               calendar days from the ﬁling of the transcript to ﬁle a Notice of Intent to Request Redaction.
                               The parties must also serve a copy on the court reporter or transcriber. After ﬁling the Notice
                               of Intent to Request Redaction, a party must submit to the court reporter or transcriber, within
                               21 calendar days of the ﬁling of the transcript, a written statement indicating where the
                               personal data identiﬁers to be redacted appear in the transcript. (Hagopian, Harry) (Entered:
                               06/10/2012)
 06/10/2012          2038 OFFICIAL TRANSCRIPT OF TRIAL DAY 2 as to Hysen Sheriﬁ, Mohammad Omar Aly
                          Hassan, Ziyad Yaghi for dates of 9/20/11 before Judge Flanagan, regarding 1672 Notice of
                          Appeal - Final Judgment, 1678 Notice of Appeal - Final Judgment, 1665 Notice of Appeal -
                          Final Judgment. Court Reporter Harry Hagopian, Telephone number (252) 637-1200; E-mail:
                          hhagopian@aol.com. Transcript may be purchased through the Court Reporter or viewed at
                          the court public terminal before the deadline for Release of Transcript Restriction. After that
                          date it may be obtained through PACER. Does this satisfy all appellate orders for this
                          reporter? - Yes. Please review Attorney obligations regarding the redaction of electronic
                          transcripts of court proceedings available on the court's website. Redaction Request due
                          7/4/2012. Redacted Transcript Deadline set for 7/14/2012. Release of Transcript Restriction
                          set for 9/11/2012. (Hagopian, Harry) (Entered: 06/10/2012)
 06/10/2012                NOTICE of Filing of Ofﬁcial Transcript 2038 Transcript - Appeal. The parties have seven
                           calendar days from the ﬁling of the transcript to ﬁle a Notice of Intent to Request Redaction.
                           The parties must also serve a copy on the court reporter or transcriber. After ﬁling the Notice
                           of Intent to Request Redaction, a party must submit to the court reporter or transcriber, within
                           21 calendar days of the ﬁling of the transcript, a written statement indicating where the
                        Case 5:09-cr-00216-FL Document 2364 Filed 03/25/21 Page 65 of 74
https://ecf.nced.uscourts.gov/cgi-bin/DktRpt.pl?138298681748329-L_1_0-1                                                     65/74
3/25/2021                                                                 CM/ECF - NCED

                               personal data identiﬁers to be redacted appear in the transcript. (Hagopian, Harry) (Entered:
                               06/10/2012)
 06/10/2012          2039 ***SEALED*** OFFICIAL TRANSCRIPT as to Hysen Sheriﬁ, Mohammad Omar Aly
                          Hassan, Ziyad Yaghi for dates of 9/19/11 before Chief U.S. District Judge Louise W.
                          Flanagan, regarding 1672 Notice of Appeal - Final Judgment, 1678 Notice of Appeal - Final
                          Judgment, 1665 Notice of Appeal - Final Judgment. Does this satisfy all appellate orders for
                          this reporter? Please review Attorney obligations regarding the redaction of electronic
                          transcripts of court proceedings available at http://www.nced.uscourts.gov/cmecf/default.aspx
                          (Hagopian, Harry) (Entered: 06/10/2012)
 06/10/2012                    NOTICE of Filing of Ofﬁcial Transcript 2039 SEALED Appeal Transcript. The parties have
                               seven calendar days from the ﬁling of the transcript to ﬁle a Notice of Intent to Request
                               Redaction. The parties must also serve a copy on the court reporter or transcriber. After ﬁling
                               the Notice of Intent to Request Redaction, a party must submit to the court reporter or
                               transcriber, within 21 calendar days of the ﬁling of the transcript, a written statement
                               indicating where the personal data identiﬁers to be redacted appear in the transcript.
                               (Hagopian, Harry) (Entered: 06/10/2012)
 06/10/2012          2040 ***SEALED*** OFFICIAL TRANSCRIPT as to Mohammad Omar Aly Hassan, Ziyad
                          Yaghi regarding 1672 Notice of Appeal - Final Judgment, 1678 Notice of Appeal - Final
                          Judgment. Does this satisfy all appellate orders for this reporter? Please review Attorney
                          obligations regarding the redaction of electronic transcripts of court proceedings available at
                          http://www.nced.uscourts.gov/cmecf/default.aspx (Hagopian, Harry) (Entered: 06/10/2012)
 06/10/2012                    NOTICE of Filing of Ofﬁcial Transcript 2040 SEALED Appeal Transcript. The parties have
                               seven calendar days from the ﬁling of the transcript to ﬁle a Notice of Intent to Request
                               Redaction. The parties must also serve a copy on the court reporter or transcriber. After ﬁling
                               the Notice of Intent to Request Redaction, a party must submit to the court reporter or
                               transcriber, within 21 calendar days of the ﬁling of the transcript, a written statement
                               indicating where the personal data identiﬁers to be redacted appear in the transcript.
                               (Hagopian, Harry) (Entered: 06/10/2012)
 06/10/2012          2041 ***SEALED*** OFFICIAL TRANSCRIPT as to Mohammad Omar Aly Hassan, Ziyad
                          Yaghi for dates of 9/29/11 before Judge Flanagan, regarding 1672 Notice of Appeal - Final
                          Judgment, 1678 Notice of Appeal - Final Judgment. Does this satisfy all appellate orders for
                          this reporter? Please review Attorney obligations regarding the redaction of electronic
                          transcripts of court proceedings available at http://www.nced.uscourts.gov/cmecf/default.aspx
                          (Hagopian, Harry) (Entered: 06/10/2012)
 06/10/2012                    NOTICE of Filing of Ofﬁcial Transcript 2041 SEALED Appeal Transcript. The parties have
                               seven calendar days from the ﬁling of the transcript to ﬁle a Notice of Intent to Request
                               Redaction. The parties must also serve a copy on the court reporter or transcriber. After ﬁling
                               the Notice of Intent to Request Redaction, a party must submit to the court reporter or
                               transcriber, within 21 calendar days of the ﬁling of the transcript, a written statement
                               indicating where the personal data identiﬁers to be redacted appear in the transcript.
                               (Hagopian, Harry) (Entered: 06/10/2012)
 06/10/2012          2042 ***SEALED*** OFFICIAL TRANSCRIPT as to Hysen Sheriﬁ, Mohammad Omar Aly
                          Hassan, Ziyad Yaghi regarding 1672 Notice of Appeal - Final Judgment, 1678 Notice of
                          Appeal - Final Judgment, 1665 Notice of Appeal - Final Judgment. Does this satisfy all
                          appellate orders for this reporter? Please review Attorney obligations regarding the redaction
                          of electronic transcripts of court proceedings available at
                          http://www.nced.uscourts.gov/cmecf/default.aspx (Hagopian, Harry) (Entered: 06/10/2012)
 06/10/2012                NOTICE of Filing of Ofﬁcial Transcript 2042 SEALED Appeal Transcript. The parties have
                           seven calendar days from the ﬁling of the transcript to ﬁle a Notice of Intent to Request
                           Redaction. The parties must also serve a copy on the court reporter or transcriber. After ﬁling
                        Case 5:09-cr-00216-FL Document 2364 Filed 03/25/21 Page 66 of 74
https://ecf.nced.uscourts.gov/cgi-bin/DktRpt.pl?138298681748329-L_1_0-1                                                     66/74
3/25/2021                                                                 CM/ECF - NCED

                               the Notice of Intent to Request Redaction, a party must submit to the court reporter or
                               transcriber, within 21 calendar days of the ﬁling of the transcript, a written statement
                               indicating where the personal data identiﬁers to be redacted appear in the transcript.
                               (Hagopian, Harry) (Entered: 06/10/2012)
 02/04/2014          2193 PUBLISHED Opinion from Fourth Circuit Court of Appeals as to Hysen Sheriﬁ, Mohammad
                          Omar Aly Hassan, Ziyad Yaghi. AFFIRMED by published opinion. Judge King wrote the
                          opinion, in which Judge Wilkinson and Judge Wilson joined. (Fogle, L.) (Entered:
                          02/04/2014)
 02/04/2014          2194 JUDGMENT of US Court of Appeals (certiﬁed copy) as to Hysen Sheriﬁ, Mohammad Omar
                          Aly Hassan, Ziyad Yaghi regarding 1672 Notice of Appeal - Final Judgment, 1678 Notice of
                          Appeal - Final Judgment, 1665 Notice of Appeal - Final Judgment. In accordance with the
                          decision of this court, the judgment of the district court is afﬁrmed. This judgment shall take
                          effect upon issuance of this court's mandate in accordance with Fed. R. App. P. 41. (Fogle, L.)
                          (Entered: 02/04/2014)
 02/26/2014          2195 MANDATE of US Court of Appeals (certiﬁed copy) as to Hysen Sheriﬁ, Mohammad Omar
                          Aly Hassan, Ziyad Yaghi regarding 2193 Opinion from USCA, 2194 USCA Judgment. The
                          judgment of this court, entered 2/4/2014, takes effect today.This constitutes the formal
                          mandate of this court issued pursuant to Rule 41(a) of the Federal Rules of Appellate
                          Procedure. (Fogle, L.) (Entered: 02/26/2014)
 10/02/2015          2207 MOTION to Vacate under 28 U.S.C. 2255 ﬁled by Ziyad Yaghi. (Attachment: # 1 Envelope)
                          (Castania, M.)
                          Civil case 5:15-cv-00523 opened. (Entered: 10/02/2015)
 10/02/2015          2208 Letter to the United States Attorney's Ofﬁce notifying of service of 2255 Motion as to Ziyad
                          Yaghi. (Castania, M.) (Entered: 10/02/2015)
 10/02/2015                    Remark - Case submitted to US District Judge Louise W. Flanagan as to Ziyad Yaghi
                               regarding motion to vacate. (Castania, M.) (Entered: 10/02/2015)
 10/05/2015          2209 ORDER as to Ziyad Yaghi regarding 2207 MOTION to Vacate under 28 U.S.C. 2255. Signed
                          by District Judge Louise Wood Flanagan on 10/5/2015. (Copy mailed to Ziyad Yaghi 51771-
                          056, McCreary - USP, P.O. Box 3000, Pine Knot, KY 42635.) (Castania, M.) (Entered:
                          10/05/2015)
 10/05/2015          2210 Notice of Attorney Appearance: Charles Davidson Swift appearing for Ziyad Yaghi . (Swift,
                          Charles) (Entered: 10/05/2015)
 10/05/2015          2211 MOTION for Leave to File Memorandum in Support of 2255 Habeas Petition ﬁled by Ziyad
                          Yaghi. (Attachments: # 1 Afﬁdavit of Charles D. Swift, # 2 Text of Proposed Order) (Swift,
                          Charles) (Entered: 10/05/2015)
 10/05/2015                    Motion Submitted to District Judge Louise Wood Flanagan as to Ziyad Yaghi: 2211 MOTION
                               for Leave to File Memorandum in Support of 2255 Habeas Petition. (Castania, M.) (Entered:
                               10/05/2015)
 10/06/2015          2212 ORDER granting 2211 Motion for Leave to File as to Ziyad Yaghi - The Memorandum of
                          Law in Support of the § 2255 Motion is due on January 19, 2016. The Government's reply to
                          the same is due on February 29, 2016. Signed by District Judge Louise Wood Flanagan on
                          10/5/2015. (Castania, M.) (Entered: 10/06/2015)
 10/06/2015          2213 NOTICE OF ATTORNEY APPEARANCE Seth Morgan Wood appearing for USA. (Wood,
                          Seth) (Entered: 10/06/2015)
 10/06/2015          2214 Certiﬁcate of Service ﬁled by USA as to Ziyad Yaghi regarding 2213 Notice of Attorney
                          Appearance - USA. Corrected (Wood, Seth) (Entered: 10/06/2015)
 11/13/2015          2215
                       CaseMOTION   for ExtensionDocument
                            5:09-cr-00216-FL      of Time to 2364
                                                             ﬁle Response to 2255 2207
                                                                    Filed 03/25/21     MOTION
                                                                                     Page 67 of to
                                                                                                74Vacate under 28
https://ecf.nced.uscourts.gov/cgi-bin/DktRpt.pl?138298681748329-L_1_0-1                                                   67/74
3/25/2021                                                                 CM/ECF - NCED

                               U.S.C. 2255, 2209 Order, until 2/29/16ﬁled by USA as to Ziyad Yaghi. (Attachments: # 1
                               Text of Proposed Order) (Wood, Seth) (Entered: 11/13/2015)
 11/13/2015          2216 ORDER granting 2215 Motion for Extension of Time as to Ziyad Yaghi. Response to
                          petitioner's motion under 28 USC § 2255 is due February 29, 2016. Signed by District Judge
                          Louise Wood Flanagan on 11/13/2015. (Castania, M.) (Entered: 11/13/2015)
 01/19/2016          2217 Memorandum in Support by Ziyad Yaghi regarding 2207 MOTION to Vacate under 28 U.S.C.
                          2255 ﬁled by Ziyad Yaghi. (Attachments: # 1 Index Table of Exhibits, # 2 Daubert Hearing, #
                          3 Trial Transcript Day 7, # 4 Trial Transcript Day 11, # 5 Trial Transcript Day 12, # 6 Trial
                          Transcript Day 2, # 7 Trial Transcript Day 6, # 8 Trial Transcript Day 14, # 9 Trial Transcript
                          Day 10, # 10 Trial Transcript Day 8, # 11 Trial Transcript Day 15, # 12 Declaration of Marwa
                          Elbially, # 13 Declaration of Ahmed Yaghi, # 14 Declaration of Mohammed Yaghi, # 15
                          Declaration of Aamir Tariq, # 16 Declaration of Amber Mohammad, # 17 Declaration of
                          Adnan Shishani, # 18 Declaration of Bryant Rivera, # 19 Declaration of Walid Al-Shishani, #
                          20 Declaration of Saleh Hamdan, # 21 Declaration of Naji Sarsour, # 22 Declaration of Jade
                          Ghanim, # 23 Declaration of Mosed Ghanim, # 24 FBI 302 - January 27, 2011, # 25 FBI 302 -
                          February 1, 2011, # 26 FBI 302 - March 10, 2011, # 27 Declaration of James Feldkamp, # 28
                          Declaration of Arun Kundnani, # 29 Declaration of Lisa Stampnitzky, # 30 Declaration of Jeff
                          Goodwin, # 31 Declaration of David Miller, # 32 Declaration of Joshua Dratel, # 33 US v.
                          Osmakac, # 34 US v. Kabir) (Swift, Charles) (Entered: 01/19/2016)
 01/20/2016                    Notice to Counsel regarding 2217 Memorandum in Support of Motion: Counsel is reminded
                               that ﬁlings pertaining to the Motion to Vacate under 28 U.S.C. 2255 should contain both the
                               criminal and civil case numbers. (See order at DE 2216 as an example.) In this speciﬁc
                               instance, do no re-ﬁle the document. (Castania, M.) (Entered: 01/20/2016)
 02/01/2016          2218 MOTION to Order Waiver of Attorney-Client and Work Product Privilege ﬁled by USA as to
                          Ziyad Yaghi. (Wood, Seth) (Entered: 02/01/2016)
 02/01/2016          2219 DISREGARD - REFILED AT DE 2220 - Memorandum in Support by USA as to Ziyad Yaghi
                          regarding 2218 MOTION to Order Waiver of Attorney-Client and Work Product Privilege
                          ﬁled by USA as to Ziyad Yaghi. (Attachments: # 1 Text of Proposed Order) (Wood, Seth)
                          Modiﬁed on 2/2/2016. (Castania, M.) (Entered: 02/01/2016)
 02/01/2016                    NOTICE OF DEFICIENCY as to Ziyad Yaghi regarding 2219 Memorandum in Support of
                               Motion ﬁled by USA. The document is not signed. Counsel is directed to reﬁle the document
                               with a signature. (Castania, M.) (Entered: 02/01/2016)
 02/02/2016          2220 Memorandum in Support by USA as to Ziyad Yaghi regarding 2218 MOTION to Order
                          Waiver of Attorney-Client and Work Product Privilege ﬁled by USA as to Ziyad Yaghi.
                          (Attachments: # 1 Text of Proposed Order) (Wood, Seth) (Entered: 02/02/2016)
 02/02/2016                    Motion Submitted to District Judge Louise Wood Flanagan as to Ziyad Yaghi (2255): 2218
                               MOTION to Order Waiver of Attorney-Client and Work Product Privilege. (Castania, M.)
                               (Entered: 02/02/2016)
 02/04/2016          2221 ORDER granting 2218 Motion to Order Waiver of Attorney-Client and Work Product
                          Privilege as to Ziyad Yaghi (2255). Signed by District Judge Louise Wood Flanagan on
                          2/4/2016. (Castania, M.) (Entered: 02/04/2016)
 02/22/2016          2222 MOTION for Extension of Time to ﬁle response to 2207 2255 Motion until March 28, 2016,
                          ﬁled ﬁled by USA as to Ziyad Yaghi. (Attachments: # 1 Text of Proposed Order) (Wood, Seth)
                          Modiﬁed on 2/23/2016 to link back to original motion. (Castania, M.) (Entered: 02/22/2016)
 02/23/2016                    Motion Submitted to District Judge Louise Wood Flanagan as to Ziyad Yaghi (2255)
                               regarding 2222 MOTION for Extension of Time. (Castania, M.) (Entered: 02/23/2016)
 02/23/2016          2223 ORDER granting 2222 Motion for Extension of Time as to Ziyad Yaghi. USA's response to
                          Petitioner's motion under 28 U.S.C. § 2255 due 3/28/2016. Signed by District Judge Louise
                       Case 5:09-cr-00216-FL Document 2364 Filed 03/25/21 Page 68 of 74
https://ecf.nced.uscourts.gov/cgi-bin/DktRpt.pl?138298681748329-L_1_0-1                                                  68/74
3/25/2021                                                                 CM/ECF - NCED

                               Wood Flanagan on 2/23/2016. (Castania, M.) (Entered: 02/23/2016)
 03/21/2016          2229 MOTION for Extension of Time US response to 2255 2212 Order on Motion for Leave to
                          File, until May 12, 2016ﬁled by USA as to Ziyad Yaghi. (Attachments: # 1 Text of Proposed
                          Order) (Wood, Seth) (Entered: 03/21/2016)
 03/21/2016                    Motion Submitted to District Judge Louise Wood Flanagan as to Ziyad Yaghi: Government's
                               2229 MOTION for Extension of Time to ﬁle response to 2255 Motion. (Castania, M.)
                               (Entered: 03/21/2016)
 03/22/2016          2230 ORDER granting 2229 Motion for Extension of Time as to Ziyad Yaghi (2255). Response to
                          Petitioner's Motion to Vacate due 5/12/2016. Signed by District Judge Louise Wood Flanagan
                          on 3/22/2016. (Castania, M.) (Entered: 03/22/2016)
 05/12/2016          2235 MOTION to Dismiss or, in the alternative, MOTION for Summary Judgment ﬁled by USA as
                          to Ziyad Yaghi. (Wood, Seth) (Entered: 05/12/2016)
 05/12/2016          2236 Memorandum in Support by USA as to Ziyad Yaghi regarding 2235 MOTION to Dismiss or,
                          in the alternative MOTION for Summary Judgment ﬁled by USA as to Ziyad Yaghi. (Wood,
                          Seth) (Entered: 05/12/2016)
 05/12/2016          2237 Statement of Material Facts ﬁled by USA as to Ziyad Yaghi regarding 2235 MOTION to
                          Dismiss or, in the alternative MOTION for Summary Judgment .ﬁled by USA as to Ziyad
                          Yaghi. (Wood, Seth) (Entered: 05/12/2016)
 05/12/2016          2238 SEE CORRECTED APPENDIX AT DE 2241 - Appendix to the Statement of Facts ﬁled by
                          USA as to Ziyad Yaghi regarding 2235 MOTION to Dismiss or, in the alternative MOTION
                          for Summary Judgment .ﬁled by USA as to Ziyad Yaghi. (Wood, Seth) Modiﬁed on
                          5/13/2016. (Castania, M.) (Entered: 05/12/2016)
 05/12/2016          2239 Notice of Filing of Classiﬁed Material - Government's Classiﬁed Appendix in Support of Its
                          Opposition to the Defendant's Motion for Relief Under Section 2255 regarding 2207
                          MOTION to Vacate under 28 U.S.C. 2255, 2235 MOTION to Dismiss or, in the alternative
                          MOTION for Summary Judgment . (Kellhofer, Jason) (Entered: 05/12/2016)
 05/12/2016          2240 REDACTION by USA as to Ziyad Yaghi to 2207 MOTION to Vacate under 28 U.S.C. 2255
                          ﬁled by Ziyad Yaghi, 2239 Notice of Filing of Classiﬁed Material, 2235 MOTION to Dismiss
                          or, in the alternative MOTION for Summary Judgment ﬁled by USA (Kellhofer, Jason)
                          (Entered: 05/12/2016)
 05/12/2016          2241 Appendix to the Statement of Facts ﬁled by USA as to Ziyad Yaghi regarding 2235 MOTION
                          to Dismiss or, in the alternative MOTION for Summary Judgment (Corrected Appendix
                          (Exhibit A)).ﬁled by USA as to Ziyad Yaghi. (Wood, Seth) (Entered: 05/12/2016)
 06/02/2016          2243 RESPONSE to Motion by Ziyad Yaghi regarding 2235 MOTION to Dismiss or, in the
                          alternative MOTION for Summary Judgment ﬁled by Ziyad Yaghi. (Swift, Charles) (Entered:
                          06/02/2016)
 06/21/2016                    Motion Submitted to District Judge Louise Wood Flanagan as to Ziyad Yaghi: 2207 MOTION
                               to Vacate under 28 U.S.C. 2255, 2235 MOTION to Dismiss or, in the alternative MOTION
                               for Summary Judgment. (Castania, M.) (Entered: 06/21/2016)
 06/22/2016                    Motions Referred to US Magistrate Judge James E. Gates as to Ziyad Yaghi: 2207 MOTION
                               to Vacate under 28 U.S.C. 2255; 2235 MOTION to Dismiss or, in the alternative MOTION
                               for Summary Judgment. (Castania, M.)(Matter was referred on 6/22/16. However, case
                               manager failed to make docket notation.) (Entered: 08/15/2016)
 12/21/2017          2267 TRANSCRIPT LOG as to Ziyad Yaghi. (Tripp, S.) (Entered: 12/21/2017)
 12/21/2017          2268 MEMORANDUM AND RECOMMENDATION as to Ziyad Yaghi regarding 2207
                          MOTION to Vacate under 28 U.S.C. 2255, 2235 MOTION to Dismiss or, in the
                       Case 5:09-cr-00216-FL Document 2364 Filed 03/25/21 Page 69 of 74
https://ecf.nced.uscourts.gov/cgi-bin/DktRpt.pl?138298681748329-L_1_0-1                                                69/74
3/25/2021                                                                 CM/ECF - NCED

                               alternative MOTION for Summary Judgment - IT IS RECOMMENDED that the
                               government's motion to dismiss or, in the alternative, for summary judgment be
                               ALLOWED; that petitioner's § 2255 motion be DISMISSED in its entirety pursuant to
                               Rule 12(b)(6); and alternatively, that certain claims also be DENIED pursuant to Rule
                               56. Objections due by 1/4/2018. Signed by Magistrate Judge James E. Gates on
                               12/21/2017. (Tripp, S.) (Entered: 12/21/2017)
 12/28/2017          2269 MOTION for Extension of Time Objections to Magistrate Judge's Memorandum and
                          Recommendation Unopposed Motion for Extension of Time to File Objections to 2268
                          MEMORANDUM AND RECOMMENDATIONS as to Ziyad Yaghi regarding 2207
                          MOTION to Vacate under 28 U.S.C. 2255, 2235 MOTION to Dismiss or, in the alternative
                          MOTION for Summary Judgment until February 2, 2017 ﬁled by Ziyad Yaghi. (Attachments:
                          # 1 Text of Proposed Order Proposed Order Granting Extension of Time) (Swift, Charles)
                          (Entered: 12/28/2017)
 12/29/2017          2270 ORDER granting 2269 Motion for Extension of Time to File Objections to
                          Memorandum and Recommendation as to Ziyad Yaghi. Objections due 2/2/2018. Signed
                          by District Judge Louise Wood Flanagan on 12/29/2017. (Castania, M) (Entered:
                          12/29/2017)
 01/05/2018          2271 MOTION To Access Sealed Documents ﬁled by Ziyad Yaghi. (Attachments: # 1 Text of
                          Proposed Order) (Swift, Charles) (Entered: 01/05/2018)
 01/22/2018          2272 *CORRECTED AND REFILED AT 2273 * MOTION to Withdraw as Attorney by Charles
                          Swift. ﬁled by Ziyad Yaghi. (Attachments: # 1 Afﬁdavit of Catherine McDonald, # 2 Text of
                          Proposed Order) (Swift, Charles) Modiﬁed on 2/5/2018 (Tripp, S.). (Entered: 01/22/2018)
 01/23/2018                    Motion Submitted to District Judge Louise Wood Flanagan as to Ziyad Yaghi: 2272 MOTION
                               to Withdraw as Attorney by Charles Swift. (Castania, M) (Entered: 01/23/2018)
 01/23/2018                    NOTICE OF DEFICIENCY as to Ziyad Yaghi regarding 2272 Motion to Withdraw as
                               Attorney. Counsel failed to select all of the motion events requested in the document. Counsel
                               is directed to re-ﬁle the document, selecting all motions that apply to the ﬁling (i.e. motion to
                               withdraw and motion for extension). See page 33 of the CM/ECF User's Manual for
                               instructions on how to select multiple motions. When reﬁling, a proposed order should be
                               supplied for both motions. (Castania, M) (Entered: 01/23/2018)
 01/23/2018                    Notice to Counsel regarding 2272 Motion to Withdraw as Attorney. Counsel is reminded that
                               the court prefers ﬂattened pdf ﬁllable forms. Counsel should "ﬂatten" the document prior to
                               attaching it in accordance with Section IV.B of the CM/ECF Policies and Procedures Manual.
                               (Castania, M) (Entered: 01/23/2018)
 01/23/2018          2273 MOTION for Extension of Time to File Objections to Magistrate's Memorandum and
                          Recommendations, MOTION to Withdraw as Attorney for Ziyad Yaghi by Charles D. Swift.
                          ﬁled by Ziyad Yaghi. (Attachments: # 1 Afﬁdavit of Catherine McDonald, # 2 Text of
                          Proposed Order Extension of Time, # 3 Text of Proposed Order Withdrawal of Attorney)
                          (Swift, Charles) (Entered: 01/23/2018)
 01/24/2018                    Motion Submitted to District Judge Louise Wood Flanagan as to Ziyad Yaghi: 2273 MOTION
                               for Extension of Time to File Objections to Magistrate's Memorandum and Recommendations
                               and MOTION to Withdraw as Attorney for Ziyad Yaghi by Charles D. Swift.. (Castania, M)
                               (Entered: 01/24/2018)
 01/24/2018          2274 MOTION to Withdraw as Attorney of Government Forfeiture Counsel by Stephen A.
                          West.ﬁled by USA as to Daniel Patrick Boyd, Hysen Sheriﬁ, Anes Subasic, Zakariya Boyd,
                          Dylan Boyd, Jude Kenan Mohammad, Mohammad Omar Aly Hassan, Ziyad Yaghi.
                          (Attachments: # 1 Text of Proposed Order) (West, Stephen) (Entered: 01/24/2018)
 01/24/2018          2275 ORDER granting 2274 Motion to Withdraw as Attorney. Stephen A. West withdrawn
                       Case 5:09-cr-00216-FL Document 2364 Filed 03/25/21 Page 70 of 74
https://ecf.nced.uscourts.gov/cgi-bin/DktRpt.pl?138298681748329-L_1_0-1                                                      70/74
3/25/2021                                                                 CM/ECF - NCED

                               from case as to Daniel Patrick Boyd, Hysen Sheriﬁ, Anes Subasic, Zakariya Boyd, Dylan
                               Boyd, Jude Kenan Mohammad, Mohammad Omar Aly Hassan, Ziyad Yaghi - Signed by
                               District Judge Louise Wood Flanagan on 1/24/2018. (Tripp, S.) (Entered: 01/24/2018)
 01/24/2018          2276 MOTION for Extension of Time to File Response/Reply as to 2271 MOTION To Access
                          Sealed Documents ﬁled by USA as to Ziyad Yaghi. (Attachments: # 1 Text of Proposed
                          Order) (Wood, Seth) (Entered: 01/24/2018)
 01/24/2018                    Motion Submitted to District Judge Louise Wood Flanagan as to Ziyad Yaghi regarding 2276
                               MOTION for Extension of Time to File Response/Reply as to 2271 MOTION To Access
                               Sealed Documents . (Tripp, S.) (Entered: 01/24/2018)
 01/26/2018          2277 RESPONSE in Opposition by USA as to Ziyad Yaghi regarding 2276 MOTION for Extension
                          of Time to File Response/Reply as to 2271 MOTION To Access Sealed Documents , 2271
                          MOTION To Access Sealed Documents ﬁled by USA as to Ziyad Yaghi. (Wood, Seth)
                          (Entered: 01/26/2018)
 01/26/2018                    Motion Submitted to District Judge Louise Wood Flanagan as to Ziyad Yaghi regarding 2271
                               MOTION To Access Sealed Documents. (Tripp, S.) (Entered: 01/26/2018)
 02/07/2018          2278 OBJECTIONS TO 2268 MEMORANDUM AND RECOMMENDATION by Ziyad Yaghi.
                          (Attachments: # 1 Declaration of Ziyad Yaghi, # 2 Envelope) (Castania, M) (Entered:
                          02/07/2018)
 02/08/2018          2279 ORDER as to Ziyad Yaghi denying as moot 2273 Motion for Extension of Time to File
                          objections; granting 2273 Motion to Withdraw as Attorney. Charles Davidson Swift
                          withdrawn from case; granting 2276 Motion for Extension of Time to File Response. The
                          government may ﬁle a supplement to its response on or before February 22, 2018.
                          Signed by District Judge Louise Wood Flanagan on 2/8/2018. Copy served via US Mail:
                          Ziyad Yaghi 51771-056, Florence - High USP, P.O. Box 7000, Florence, CO 81226. (Castania,
                          M) (Entered: 02/08/2018)
 02/13/2018          2280 RESPONSE to Objections by USA as to Ziyad Yaghi regarding 2278 OBJECTIONS to 2268
                          MEMORANDUM AND RECOMMENDATION as to Ziyad Yaghi regarding 2207 MOTION
                          to Vacate under 28 U.S.C. 2255, 2235 MOTION to Dismiss or, in the alternative MOTION
                          for Summary Judgment ﬁled by USA as to Ziyad Yaghi. (Wood, Seth) Modiﬁed on 2/23/2018
                          to clarify docket text.(Tripp, S.). (Entered: 02/13/2018)
 02/22/2018          2281 RESPONSE in Opposition by USA as to Ziyad Yaghi regarding 2271 MOTION To Access
                          Sealed Documents ﬁled by USA as to Ziyad Yaghi. (Wood, Seth) (Entered: 02/22/2018)
 02/23/2018                    Motions Submitted to District Judge Louise Wood Flanagan as to Ziyad Yaghi: 2207
                               MOTION to Vacate under 28 U.S.C. 2255; 2268 MEMORANDUM AND
                               RECOMMENDATION; 2271 MOTION To Access Sealed Documents; 2235 MOTION to
                               Dismiss or, in the alternative MOTION for Summary Judgment. (Castania, M) (Entered:
                               02/23/2018)
 03/05/2018          2282 NOTICE OF SPECIAL APPEARANCE FOR NON-DISTRICT COUNSEL Filed by local
                          counsel Robert J. Boyle appearing for Ziyad Yaghi (Boyle, Robert) (Entered: 03/05/2018)
 03/05/2018          2283 MOTION for Leave to File Supplemental Memorandum ﬁled by Ziyad Yaghi. (Boyle, Robert)
                          (Entered: 03/05/2018)
 03/06/2018                    Notice to Counsel regarding 2282 Notice of Special Appearance - Defendant - Non-District
                               Counsel as to Ziyad Yaghi. In addition to the notice of special appearance, Local Rule 83.1(d)
                               Counsel must ﬁle a notice of appearance with the clerk and serve all parties. (Castania, M)
                               (Entered: 03/06/2018)
 03/06/2018                Notice to Counsel regarding 2283 Motion for Leave to File Supplement memorandum.
                           Counsel is reminded that the proposed order should be ﬁled as an attachment to the
                        Case 5:09-cr-00216-FL Document 2364 Filed 03/25/21 Page 71 of 74
https://ecf.nced.uscourts.gov/cgi-bin/DktRpt.pl?138298681748329-L_1_0-1                                                   71/74
3/25/2021                                                                 CM/ECF - NCED

                               underlying motion (not included as the last page of the motion). No action by counsel is
                               necessary. (Castania, M) (Entered: 03/06/2018)
 03/07/2018          2284 Notice of Attorney Appearance: Raymond C. Tarlton appearing for Ziyad Yaghi as Local Civ.
                          R. 83.1(d) Counsel. (Tarlton, Raymond) (Entered: 03/07/2018)
 03/26/2018          2285 Memorandum in Opposition by USA as to Ziyad Yaghi regarding 2283 MOTION for Leave
                          to File Supplemental Memorandum ﬁled by USA as to Ziyad Yaghi. (Wood, Seth) (Entered:
                          03/26/2018)
 03/30/2018          2286 REPLY TO RESPONSE to Motion by Ziyad Yaghi regarding 2283 MOTION for Leave to
                          File Supplemental Memorandum ﬁled by Ziyad Yaghi. (Boyle, Robert) (Entered: 03/30/2018)
 04/02/2018                    Motion Submitted to District Judge Louise Wood Flanagan as to Ziyad Yaghi: 2283 MOTION
                               for Leave to File Supplemental Memorandum. (Castania, M) (Entered: 04/02/2018)
 07/13/2018          2289 ORDER granting 2283 Motion as to Ziyad Yaghi (2255). It is hereby ORDERED that
                          the petitioner have up to and including July 23, 2018, to ﬁle a supplemental
                          memorandum. The government may ﬁle a response thereto on or before August 13,
                          2018. Signed by District Judge Louise Wood Flanagan on 7/13/2018. (Castania, M)
                          (Entered: 07/13/2018)
 07/23/2018          2290 Petitioner's Supplemental Memorandum of Law in Support of his OBJECTIONS TO 2268
                          MEMORANDUM AND RECOMMENDATION ﬁled by Ziyad Yaghi (Boyle, Robert)
                          Modiﬁed on 7/23/2018 . (Castania, M) (Entered: 07/23/2018)
 08/07/2018          2293 RESPONSE IN OPPOSITION TO PETITIONER'S OBJECTIONS regarding 2268
                          MEMORANDUM AND RECOMMENDATION as to Ziyad Yaghi ﬁled by USA . (Wood,
                          Seth) Modiﬁed on 8/7/2018 for brevity. (Castania, M) (Entered: 08/07/2018)
 11/27/2018          2299 Notice of Substitution of Counsel ﬁled by Amy N. Okereke on behalf of USA substituting for
                          Seth M. Wood. (Okereke, Amy) (Entered: 11/27/2018)
 11/27/2018                    Attorney update in case as to Daniel Patrick Boyd, Hysen Sheriﬁ, Anes Subasic, Zakariya
                               Boyd, Dylan Boyd, Jude Kenan Mohammad, Mohammad Omar Aly Hassan, Ziyad Yaghi.
                               Attorney Seth Morgan Wood terminated. (Tripp, S.) (Entered: 11/27/2018)
 03/29/2019                    NOTICE of Filing of Classiﬁed Material - The court has entered a classiﬁed order
                               denying petitioner's 2207 motion to vacate, set aside, or correct his sentence; granting
                               the 2235 government's motion to dismiss or in the alternative for summary judgment;
                               denying as moot petitioner's 2271 motion for access to sealed documents; denying a
                               certiﬁcate of appealability; and directing the clerk to close the case. The order will be
                               provided to the Court Security Ofﬁcer on April 2, 2019. Signed by District Judge Louise
                               W. Flanagan. (Tripp, S.) (Entered: 03/29/2019)
 03/29/2019          2306 JUDGMENT ON 2255 MOTION as to Ziyad Yaghi. Issued by Peter A. Moore, Jr, Clerk
                          of Court. Signed by Peter A. Moore, Jr., Clerk of Court on 3/29/2019. (Tripp, S.)
                          (Entered: 03/29/2019)
 04/12/2019          2307 Notice of Appeal ﬁled by Ziyad Yaghi as to 2306 Judgment on 2255. Filing fee $ 505.00,
                          receipt number 0417-4905773. (Boyle, Robert) (Entered: 04/12/2019)
 04/15/2019          2308 Transmission of Notice of Appeal and Docket Sheet as to Ziyad Yaghi to US Court of
                          Appeals regarding 2307 Notice of Appeal. NOTE: The Docketing Statement and Transcript
                          Order Form, if you are court appointed counsel, are available on our website at website.
                          (Foell, S.) (Entered: 04/15/2019)
 04/16/2019          2309 US Court of Appeals Case Number 19-6500 (Cathi Bennett, Case Manager) for defendant
                          Ziyad Yaghi as to 2307 Notice of Appeal. (Foell, S.) (Entered: 04/16/2019)
 04/16/2019          2310 Assembled Electronic Record on Appeal to 4th Circuit Court of Appeals as to Ziyad Yaghi
                       Case 5:09-cr-00216-FL Document 2364 Filed 03/25/21 Page 72 of 74
https://ecf.nced.uscourts.gov/cgi-bin/DktRpt.pl?138298681748329-L_1_0-1                                                   72/74
3/25/2021                                                                 CM/ECF - NCED

                               transmitted to 4th Circuit Court of Appeals regarding 2307 Notice of Appeal. (Foell, S.)
                               (Entered: 04/16/2019)
 04/19/2019                    SUPPLEMENT to 3/29/2019 NOTICE of Filing of Classiﬁed Material - In said classiﬁed
                               order, the government was directed to serve on petitioner a redacted copy of the order within
                               21 days, which deadline expires today, 4/19/2019. At time of ﬁling of said order, the Court
                               Security Ofﬁcer separately was requested to provide to the court a redacted copy of the
                               classiﬁed order for its entry on the public docket. This remains outstanding. If no redacted
                               order timely is served by the government, the court's order will follow requiring the
                               government to show cause for said failure. The court notes on 4/18/2019, case manager at the
                               United States Court of Appeals inquired of this court as to the status of any redacted copy of
                               order. Signed by District Judge Louise Wood Flanagan on 4/19/2019. (Tripp, S.) (Entered:
                               04/19/2019)
 04/19/2019                    Notiﬁcation to Appeals Court of Filing regarding 4/19/2019 SUPPLEMENT to 3/29/2019
                               NOTICE of Filing of Classiﬁed Material. (Copy also emailed to Cathi Bennett, Case Manager
                               at the Fourth Circuit Court of Appeals) (Tripp, S.) (Entered: 04/19/2019)
 04/19/2019          2313 Notice - Redacted Unclassiﬁed Version of Classiﬁed Order regarding 3/29/2019 NOTICE of
                          Filing of Classiﬁed Material, 2306 JUDGMENT, and 4/19/2019 SUPPLEMENT ﬁled by
                          USA as to Ziyad Yaghi (Kellhofer, Jason) Modiﬁed on 4/19/2019 to clarify docket text.
                          (Tripp, S.). (Entered: 04/19/2019)
 04/19/2019                    Notiﬁcation to Appeals Court of Filing regarding 2313 Notice - Redacted Unclassiﬁed
                               Version of Classiﬁed Order, ﬁled by USA (Tripp, S.) (Entered: 04/19/2019)
 04/22/2019          2314 REDACTED ORDER as to Ziyad Yaghi regarding 3/29/2019 Notice of Filing of
                          Classiﬁed Material - Signed by District Judge Louise Wood Flanagan on 3/29/2019.
                          (Tripp, S.) (Entered: 04/22/2019)
 04/24/2019                    Notiﬁcation to Appeals Court of Filing regarding 2314 Redacted Order. (Foell, S.) (Entered:
                               04/24/2019)
 02/25/2020          2328 Unpublished Opinion from Fourth Circuit Court of Appeals as to Ziyad Yaghi regarding 2307
                          Notice of Appeal. Dismissed. (Foell, S.) (Entered: 02/25/2020)
 02/25/2020          2329 JUDGMENT of US Court of Appeals as to Ziyad Yaghi regarding 2307 Notice of Appeal.
                          (Foell, S.) (Entered: 02/25/2020)
 04/14/2020          2336 Stay of Mandate as to Ziyad Yaghi regarding 2307 Notice of Appeal. (Foell, S.) (Entered:
                          04/14/2020)
 04/28/2020          2337 ORDER of US Court of Appeals as to Ziyad Yaghi regarding 2307 Notice of Appeal. The
                          court denies the petition for rehearing and rehearing en banc. (Foell, S.) (Entered: 04/28/2020)
 05/06/2020          2338 MANDATE of US Court of Appeals as to Ziyad Yaghi regarding 2307 Notice of Appeal.
                          (Foell, S.) (Entered: 05/06/2020)
 10/09/2020          2342 Appeal Remark as to Ziyad Yaghi. Petition for Writ of Certiorari ﬁled in the US Supreme
                          Court on 9/22/2020. (Foell, S.) (Entered: 10/14/2020)
 10/28/2020          2343 Pro Se MOTION to Amend 2207 MOTION to Vacate under 28 U.S.C. 2255 ﬁled by Ziyad
                          Yaghi. (Attachments: # 1 Cover Letter, # 2 Envelope) (Castania, M) (Entered: 10/28/2020)
 11/02/2020          2346 COPY REQUEST from Ziyad Yaghi requesting a copy of an amendment ﬁled in this matter.
                          (Attachments: # 1 Envelope) (Edwards, S.) (Entered: 11/03/2020)
 11/04/2020          2347 Letter to Ziyad Yaghi regarding copy request. (Tripp, S.) (Entered: 11/04/2020)
 11/09/2020          2348 Appeal Remark as to Ziyad Yaghi. Petition for Writ of Certiorari denied by the US Supreme
                          Court. (Foell, S.) (Entered: 11/10/2020)
                       Case 5:09-cr-00216-FL Document 2364 Filed 03/25/21 Page 73 of 74
https://ecf.nced.uscourts.gov/cgi-bin/DktRpt.pl?138298681748329-L_1_0-1                                                    73/74
3/25/2021                                                                     CM/ECF - NCED

 11/19/2020                    Motion Submitted to District Judge Louise Wood Flanagan as to Ziyad Yaghi regarding 2343
                               MOTION to Amend 2207 MOTION to Vacate under 28 U.S.C. 2255 ﬁled by Ziyad Yaghi.
                               (Castania, M) (Entered: 11/19/2020)
 12/01/2020          2350 ORDER dismissing 2343 Motion to Amend Motion to Vacate as to Ziyad Yaghi. Signed
                          by District Judge Louise Wood Flanagan on 12/1/2020. Copy served via US Mail: Ziyad
                          Yaghi 51771-056, Ray Brook - F.C.I., P.O. Box 300, Ray Brook, NY 12977. (Castania, M)
                          (Entered: 12/01/2020)
 12/22/2020          2356 Notice of Appeal ﬁled by Ziyad Yaghi as to 2350 Order. (Attachments: # 1 Application for a
                          Certiﬁcate of Appealability, # 2 Cover Letter, # 3 Copy of 12/1/2020 Order, # 4 Envelope)
                          (Tripp, S.) (Entered: 12/22/2020)
 12/22/2020          2357 Transmission of Notice of Appeal and Docket Sheet as to Ziyad Yaghi to US Court of
                          Appeals regarding 2356 Notice of Appeal - Final Judgment.NOTE: The Docketing Statement
                          and Transcript Order Form, if you are court appointed counsel, are available on our website at
                          website. (Foell, S.) (Entered: 12/22/2020)
 12/22/2020                    Assembled Electronic Record on Appeal to 4th Circuit Court of Appeals as to Ziyad Yaghi
                               transmitted to 4th Circuit Court of Appeals regarding 2356 Notice of Appeal. (Parts 1 & 2)
                               (Foell, S.) (Entered: 12/22/2020)
 12/23/2020          2358 US Court of Appeals Case Number 20-7880 (Jeffrey Neal, Case Manager) for defendant
                          Ziyad Yaghi as to 2356 Notice of Appeal. (Foell, S.) (Entered: 12/23/2020)
 12/28/2020          2359 Assembled Supplemental Electronic Record on Appeal to 4th Circuit Court of Appeals as to
                          Ziyad Yaghi transmitted to 4th Circuit Court of Appeals regarding 2356 Notice of Appeal -
                          Final Judgment (Tripp, S.) (Entered: 12/28/2020)
 03/22/2021          2362 Motion for Compassionate Release - First Step Act - ﬁled by Ziyad Yaghi. (Attachments: # 1
                          Exhibit A - Email to Warden, # 2 Exhibit B - Blog Article, # 3 Exhibit C - Individualized
                          Needs Plan, # 4 Cover Letter, # 5 Envelope) (Castania, M) (Entered: 03/22/2021)
 03/22/2021          2363 ORDER APPOINTING FEDERAL PUBLIC DEFENDER as to Ziyad Yaghi - Pursuant
                          to 19-SO-3, the Federal Public Defender is appointed as counsel to determine whether
                          the defendant may qualify to seek a reduction of sentence. Signed by District Judge
                          Terrence W. Boyle on 1/25/2019. Copy served via US Mail: Ziyad Yaghi 51771-056, Ray
                          Brook - F.C.I., P.O. Box 300, Ray Brook, NY 12977. (Castania, M) (Entered: 03/22/2021)



                                                              PACER Service Center
                                                                  Transaction Receipt
                                                                     03/25/2021 08:45:31
                                       PACER
                                                          gulaw333:3327666:0 Client Code:
                                       Login:
                                                                                Search        5:09-cr-00216-
                                       Description:       Docket Report
                                                                                Criteria:     FL
                                       Billable Pages: 30                       Cost:         3.00




                        Case 5:09-cr-00216-FL Document 2364 Filed 03/25/21 Page 74 of 74
https://ecf.nced.uscourts.gov/cgi-bin/DktRpt.pl?138298681748329-L_1_0-1                                                     74/74
